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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

     Civil Action No. 1:22-cv-01129-NYW-SKC

     ERIC COOMER, PhD.,

            Plaintiff

     v.

     MICHAEL J. LINDELL, FRANKSPEECH LLC,
     AND MY PILLOW, INC.,

            Defendants


                                  EXHIBIT 1
          PLAINTIFF’S MOTION TO COMPEL DEPOSITION TESTIMONY FROM
          DEFENDANT MICHAEL J. LINDELL AND MOTION FOR SANCTIONS
                     PURSUANT TO F.R.C.P. 30 AND F.R.C.P. 37


                           Deposition Transcript of Michael J. Lindell
                                        Dated 08-23-23


                                      CONFIDENTIAL
                                   FILED UNDER SEAL
                           and submitted to Court via USB flash drive
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     1
     2
     3                   IN THE UNITED STATES DISTRICT COURT
     4                         FOR THE DISTRICT OF COLORADO
     5               ----------------------------------------
     6
                         Eric Coomer, Ph.D.,
     7
                                      Plaintiff,
     8
                         vs.                  No. 1:22-cv-01129-NYW-SKC
     9
    10                   Michael J. Lindell, Frankspeech LLC,
                         and My Pillow, Inc.,
    11
                                      Defendants.
    12
    13                   ----------------------------------------
    14
    15                                   DEPOSITION
    16
    17                   of Michael Lindell, taken pursuant to
    18                   notice to take oral deposition, at the
    19                   Law Office of Parker Daniels Kibort, 888
    20                   Colwell Building, 123 North Third
    21                   Street, Minneapolis, Minnesota, on the
    22                   23rd day of August, 2023, before Nathan
    23                   D. Engen, a notary public in and for the
    24                   State of Minnesota.
    25

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     1
     2
     3
     4
     5
     6
     7                    APPEARANCES:
     8
     9                    Mr. Charlie J. Cain
                          CAIN & SKARNULIS, PLLC
    10                    Attorneys at Law
                          101 N. F Street
    11                    Suite 207
                          Salida, CO 81201 81201
    12                    Appearing on behalf of the Plaintiff
    13
    14                    Mr. Ryan P. Malone
                          PARKER DANIELS KIBORT
    15                    Attorneys at Law
                          888 Colwell Building
    16                    123 North Third Street
                          Minneapolis, MN 55401
    17                    Appearing on behalf of the Defendant
    18
    19
    20
    21
    22
    23
    24
    25

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     1                                 (Whereupon, the deposition
                         commenced at 9:22 a.m.)
     2
     3                                   THE VIDEOGRAPHER:             Good
     4                   morning.      We're going on the record at
     5                   9:22 a.m. on August 23rd, 2023.
     6                                   Please note the microphones
     7                   are sensitive and may pick up
     8                   whispering and private conversations.
     9                   Please mute your phones at this time.
    10                                   Audio and video recording
    11                   will continue to take place unless all
    12                   parties agree to go off the record.
    13                                   This is Media Unit 1 of the
    14                   video recorded deposition of Michael
    15                   Lindell taken by counsel for the
    16                   Plaintiffs in the matter of Dr. Eric
    17                   Coomer versus Michael Lindell,
    18                   Frankspeech, LLC and My Pillow,
    19                   Incorporated, filed in the United
    20                   States District Court for the District
    21                   of Colorado, Case Number
    22                   1:22-cv-01129-NYW-SKC.
    23                                   This deposition is happening
    24                   in Minneapolis, Minnesota.                 My name is
    25                   Dave Young, I'm the videographer.                    Our

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     1                   court reporter is Nate Engen.                     We are
     2                   both representing Veritext Legal
     3                   Solutions.
     4                                   I am not related to any
     5                   party in this action nor am I
     6                   financially interested in the outcome.
     7                   If there are any objections to this
     8                   proceeding please state them at the
     9                   time of your appearance.
    10                                   Will counsel now state their
    11                   appearances and affiliations for the
    12                   record, beginning with the noticing
    13                   attorney.
    14                                   MR. CAIN:            My name is
    15                   Charlie Cane.          I represent Dr. Eric
    16                   Coomer, who is present here today.
    17                                   MR. MALONE:            This is Ryan
    18                   Malone.     I'll be representing the
    19                   witness, Michael Lindell, as well as
    20                   the other defendants in this action.
    21                                   THE VIDEOGRAPHER:             And will
    22                   the court reporter please swear in the
    23                   witness and then we can proceed.
    24
    25                               Michael Lindell

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     1                   Called as a witness and having been
     2                   first duly sworn, testifies as follows:
     3
     4                                   EXAMINATION
     5
     6                   By Mr. Cain:
     7           Q       Can you give us your full name?
     8           A       Michael James Lindell.
     9           Q       Good morning, Mr. Lindell.                 How are you
    10                   feeling today?
    11           A       None of your business.
    12           Q       Mr. Lindell, are you taking any drugs
    13                   or other medications that would affect
    14                   your ability to give truthful --
    15           A       No.
    16           Q       -- testimony today?
    17           A       No.
    18           Q       Mr. Lindell, you need to let me finish
    19                   my question before you answer; do you
    20                   understand that?
    21           A       Yes.
    22           Q       All right.        And that's just courtesy to
    23                   Nate, who's our court reporter.
    24                   Apparently it's his first deposition,
    25                   so we'll have to go slow and help him

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     1                   out.    Apparently he only types at 40
     2                   words a minute.           So we'll need to go
     3                   slowly; okay?
     4           A       Is that a question?
     5           Q       Yeah.     It ended with a question.
     6           A       What's the question, rephrase it
     7                   please.
     8           Q       I think you will heard it.
     9           A       Okay.
    10           Q       We need to go slow; do you understand
    11                   that?
    12           A       Yes.
    13           Q       All right.        Did you do anything to
    14                   prepare to give testimony today?
    15           A       No.
    16           Q       Did you review any documents?
    17           A       No.
    18           Q       You have a document next to you by your
    19                   right hand; what is that?
    20           A       This document (indicating)?
    21           Q       This one (indicating).
    22                                   THE WITNESS:          What is this?
    23                                   MR. MALONE:          Mike, you can
    24                   testify, you can -- you can enter it as
    25                   an exhibit --

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     1                                    THE WITNESS:           -- oh, it's a
     2                   -- it's like a new -- it's a new
     3                   complaint you guys did.                 The -- the --
     4                   the criminals versus Mike Lindell; is
     5                   that -- is this right?                 Yes.
     6                                    MR. CAIN:           That's not the
     7                   style.
     8
     9                   By Mr. Cain:
    10           Q       When you say the 'criminals,' who are
    11                   you referring to?
    12           A       You.
    13           Q       Me, specifically?
    14           A       Yeah, you specifically.
    15           Q       Yeah.
    16           A       The ambulance chasing lawyer, you,
    17                   so...
    18           Q       Mr. Lindell, as I did in your other
    19                   deposition when you were representing
    20                   My Pillow, I'm gonna admonish you not
    21                   to use language like that.                    This is a
    22                   proceeding --
    23           A       -- criminal's a swear word?
    24           Q       This is -- let me finish.
    25           A       You said stuff in my thing here saying

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     1                    I (inaudible) --
     2            Q       -- let me finish, sir.               Let me finish.
     3                    This is a proceeding in Federal Court.
     4                    There are rules associated with this;
     5                    do you understand that?
     6            A       You didn't tell -- yep.                You called me
     7                    a liar in here, and I can call you a
     8                    criminal for calling me a liar.                    It's
     9                    freedom of speech.
    10            Q       You need to answer my questions, sir.
    11            A       Okay.     What's the question?
    12            Q       So it's obvious to me that we need to
    13                    go through some additional ground
    14                    rules.
    15                                    I think we did that before.
    16                    But let me make myself clear.                    Number
    17                    1, there are federal rules that govern
    18                    the conduct of this deposition; do you
    19                    understand that?
    20            A       Yes.
    21            Q       Do you understand that your testimony
    22                    might be played both to Judge Wang and
    23                    the jury?
    24            A       Yes.
    25            Q       Okay.

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     1           A       Hope it is.
     2           Q       And do you understand that in terms of
     3                   your conduct here today, to the extent
     4                   that you are operating in bad faith or
     5                   being abusive in your responses, that
     6                   that's a matter that we can bring to
     7                   Judge Wang's attention; do you
     8                   understand that?
     9           A       Yes.
    10           Q       Okay.     Now, with respect to your claims
    11                   that I am a criminal, what specifically
    12                   are you referring to?
    13           A       I just seen your new thing here where
    14                   it says I falsely said this.                  I didn't
    15                   falsely said anything which you're the
    16                   lawyer that wrote it, which makes you a
    17                   criminal.
    18                                   You're coming after me
    19                   criminally.        You are criminal for the
    20                   attacks you've done on myself...
    21                   (phone ringing).            On myself.
    22                                   You -- I consider anyone
    23                   you've -- you've attacked my business,
    24                   you've attacked employees there; that's
    25                   criminal behavior.             You're an ambulance

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     1                   chasing criminal lawyer, that's what
     2                   you are.
     3                                   And not a criminal case,
     4                   just a criminal yourself.
     5           Q       You're obviously not listening to what
     6                   I said to you.
     7           A       Well, I -- you asked me a question, I'm
     8                   answering why I called you a criminal.
     9           Q       Okay.
    10           A       I -- I just read what you said about
    11                   me.     You said I falsely said something
    12                   on my show.        I didn't say anything
    13                   falsely on my show.              You're -- you're
    14                   -- you're saying -- you're calling me a
    15                   liar.
    16           Q       I'm gonna -- I'm gonna interrupt you,
    17                   sir --
    18           A       -- you're calling me a liar, before you
    19                   even sit down you sent a new sheet
    20                   calling me a liar.
    21           Q       Did you review that by any chance?
    22           A       I reviewed that part that you said --
    23                   that you added, yes, I did.
    24           Q       You just told me that you didn't look
    25                   at --

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     1           A       -- I reviewed one sheet.                 I didn't know
     2                   it was this sheet, sir.                 I didn't know
     3                   it was this paper.
     4                                   THE WITNESS:            Is this the
     5                   paper that you showed me that one piece
     6                   I asked for?
     7                                   MR. MALONE:            Mike, again,
     8                   I'm not here to testify.
     9                                   THE WITNESS:            Okay.
    10                                   MR. MALONE:            Just answer the
    11                   question if you know the answer.
    12                                   MR. CAIN:            Okay.
    13
    14                   By Mr. Cain:
    15           Q       I just asked you under oath if you
    16                   reviewed anything and you said, "No."
    17                   Now you're telling us you did look
    18                   at (inaudible) --
    19                                   THE WITNESS:            -- I looked at
    20                   one --
    21                                   MR. MALONE:            -- object to
    22                   the form.
    23                                   THE WITNESS:            -- piece of
    24                   paper from my lawyer.
    25                                   MR. MALONE:            Mike, wait

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     1                   until he finishes, so I can get my
     2                   objection heard.
     3                                   THE WITNESS:          Okay.        All
     4                   right.
     5                                   MR. MALONE:          Okay.        Object
     6                   to the form.
     7
     8                   By Mr. Cain:
     9           Q       So when you interrupt me, I'm gonna
    10                   stop talking because we can't talk over
    11                   each other and Nate can't take that
    12                   down especially because it's his first
    13                   deposition; okay?             Stop interrupting
    14                   me, let me finish.
    15                                   Now, I asked you if you had
    16                   reviewed anything and you said, "No."
    17                   That wasn't correct; is it?
    18           A       Define 'review'.            I did not read this
    19                   document.       I had one piece of paper
    20                   that I asked him for and one -- and
    21                   some numbers that I asked my lawyer
    22                   for.
    23           Q       Okay.
    24           A       That's all I did.             And I've -- I -- I
    25                   haven't reviewed those papers, no, I

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     1                   have not.
     2           Q       Okay.
     3           A       I got two of them right before you
     4                   walked in the room.
     5           Q       What one piece of paper did you look
     6                   at?
     7                                   THE WITNESS:          Can I ask him
     8                   what page it's on?
     9                                   MR. MALONE:          Mike, you don't
    10                   want to tell him anything that we
    11                   talked about.
    12                                   THE WITNESS:          Okay.
    13                                   MR. MALONE:          If you know the
    14                   answer --
    15                                   THE WITNESS:          Okay.
    16                                   MR. MALONE:          -- then you can
    17                   say it.      If you don't know the answer,
    18                   then that's your answer.
    19                                   THE WITNESS:          Well, I can
    20                   try and find it if you want -- if you
    21                   want me to go through it.                I don't know
    22                   if it came from here or not.
    23                                   I asked him, my lawyer,
    24                   something for a very specific.                     I
    25                   didn't review this -- this complaint or

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     1                   any papers.        I asked him for two
     2                   things.
     3                                   I asked him how much money
     4                   that My Pillow had lost to get me that
     5                   piece of paper which we had that we had
     6                   lost because of your client.
     7                                   And then I also asked him
     8                   what was said, or what did they have,
     9                   that was said on my show.                And -- and
    10                   can he -- and he went and either he
    11                   printed it off, whatever, I can't find
    12                   it.
    13                                   And he said, it was just a
    14                   quote and it said --
    15                                   MR. MALONE:          Mike --
    16                                   THE WITNESS:          -- you falsely
    17                   accused me.        I falsely said something.
    18                   Which I didn't.
    19
    20                   By Mr. Cain:
    21           Q       The information that you requested with
    22                   respect to My Pillow, and the money
    23                   that you claimed you lost, you reviewed
    24                   that to prepare today --
    25           A       -- no, I just wrote down two numbers.

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     1                   I said what are those numbers again.
     2           Q       What are the those numbers again?
     3           A       That -- the numbers that from Newsmax
     4                   from January to April that I -- that
     5                   was taken as $3,055,534.18.
     6                                   And then after your -- after
     7                   Eric Coomer, the dirty deal made with
     8                   Chris Rutty, from that point on the
     9                   Newsmax would not have My Pillow on.
    10                                   And from my -- from the same
    11                   time period, Monday until August
    12                   another four-month time period, we took
    13                   in $300,661, 10 percent, a 90% percent
    14                   loss.
    15                                   Ninety percent My Pillow was
    16                   tanked because of -- directly because
    17                   of you.
    18           Q       Okay.     Let's -- let's break that down.
    19                   What -- and you -- you went through
    20                   that fairly quickly.                 So I'm gonna slow
    21                   you down again.
    22                                   You wrote down multiple
    23                   numbers that you're claiming.
    24           A       No, there's only two numbers, sir,
    25                   don't say multiple.              Two.

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     1           Q       Well, multiple is more than one.
     2           A       Okay.
     3           Q       All right.        The first is $3 million...
     4                   Repeat that?
     5           A       $3,055,534.18.
     6           Q       And what does that number represent?
     7           A       That number is sales for My Pillow from
     8                   January to April, January 1st to end of
     9                   April, a four-month period.
    10           Q       Okay.
    11           A       Leading up to when you -- when Chris
    12                   Ruddy no -- told me I could no longer
    13                   come on Newsmax because of some
    14                   settlement with your client.
    15                                   And he -- and -- and then
    16                   I'm -- from May 1st to August 31st,
    17                   that now number instead of being our
    18                   normal $3 million fifty five whatever,
    19                   it went to $300,661.59.
    20                                   And the reason for that is
    21                   because he would no longer let me come
    22                   on to talk about My Pillow products,
    23                   period.
    24                                   And that's what I was upset
    25                   about on -- when I made the one

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     1                   statement I've ever made about Eric
     2                   Coomer.
     3           Q       Well, you've made multiple, but...
     4           A       Now after you -- after I was served
     5                   papers.      See you're lying.
     6                                   THE WITNESS:          This -- I'm
     7                   wanna -- I wanna put that in there.
     8                   He's -- he's lying right there.                     I made
     9                   -- every statement I made was after
    10                   that.     I made one statement ever about
    11                   him, everything else was after I was
    12                   served papers on the Capital in
    13                   Colorado.
    14           Q       Do you --
    15           A       -- everything came after that.                     He --
    16                   he attacked me, not the other way
    17                   around.
    18           Q       Do you think it matters --
    19           A       -- he attacked My Pillow.
    20           Q       Do you think it matters if -- if you
    21                   defame someone publicly whether --
    22           A       -- I didn't defame him publically.
    23           Q       Let --
    24           A       -- he served me papers.
    25           Q       Let me finish --

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     1                                   MR. MALONE:          -- Mike wait,
     2                   so I can object.
     3
     4                   By Mr. Cain:
     5           Q       This is a timing question, Mr. Lindell.
     6                   Did -- do you think that it matters if
     7                   hypothetically you defame someone
     8                   whether it's before or after a lawsuit
     9                   was filed?
    10           A       I never defamed him ever --
    11                                   MR. MALONE:          -- object to
    12                   form.     Mike?
    13                                   THE WITNESS:          What?
    14                                   MR. MALONE:          I need to get
    15                   my objections.
    16                                   THE WITNESS:          Okay.
    17                                   MR. MALONE:          Okay.        Object
    18                   to form; legal conclusion.                 Now you can
    19                   answer.
    20                                   THE WITNESS:          I never
    21                   defamed anyone.
    22
    23                   By Mr. Cain:
    24           Q       No. I'm asking --
    25           A       -- period.

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     1           Q       -- about timing -- timing.                 Listen to
     2                   my --
     3           A       -- no, timing of what?
     4           Q       Don't -- don't interrupt me and listen
     5                   to my question.
     6                                   I said 'hypothetically,'
     7                   because I know you're not gonna agree
     8                   with me, I'm just asking about timing.
     9                   Hypothetically, do you think it matters
    10                   if you defame someone whether it's
    11                   before or after a lawsuit is filed?
    12           A       Here's my answer.             When a criminal like
    13                   you, an ambulance chasing lawyer, has a
    14                   client that is also whatever he's
    15                   trying to attack me for, attacks me and
    16                   serves me papers, I'm gonna tell the
    17                   world about that.             Absolutely.
    18                                   You can call it whatever you
    19                   want.     It was not deflamation.                  It was
    20                   the facts, you served me papers and
    21                   attacked My Pillow to take me out of
    22                   business or whatever you're doing this
    23                   for.
    24                                   You've an ambulance chasing,
    25                   money hungry, criminal lawyer.                     It's

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     1                   that simply.         So I'll say it all day
     2                   long, if you think --
     3           Q       Okay.
     4           A       -- that's defaming.              No, you guys sued
     5                   me on the steps of the capital for no
     6                   reason.      I don't even know this guy.
     7                   I've never met him before in my life
     8                   until right now.
     9                                   I said one thing once
    10                   because he tried to take out of My
    11                   Pillow making a dirty deal with Newsmax
    12                   and cost me over $3 million dollars.
    13                                   And I have employees I have
    14                   to look out for.            There's your answer.
    15           Q       I'm gonna continue the deposition for
    16                   the time being, subject to filing our
    17                   motion for sanctions for your
    18                   deposition conduct.
    19                                   But for now I'm not going to
    20                   be suspending it.             And it's
    21                   defamation --
    22           A       -- making more criminal threats are
    23                   you, Mr. Lawyer?
    24           Q       It's not deflamation, it is defamation
    25                   that I was asking you about.

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     1                                   But let's go back to your
     2                   claim about Newsmax.                 January 1 to
     3                   April the first sales period that
     4                   you're referring to that's in 2021;
     5                   correct?
     6           A       Right.
     7           Q       And May through August, the 90-percent
     8                   reduction that you just referred to,
     9                   that's also in 2021?
    10           A       Correct.
    11           Q       And what you're referring to in terms
    12                   of the reduction, is that tracked
    13                   through a promo code?
    14           A       Yes.     The promo code Newsmax that we
    15                   always use.        Yes.
    16           Q       Okay.     Now, I asked you what you did to
    17                   prepare to give testimony.                 Did you
    18                   review Mr. Ruddy's deposition?
    19           A       No.
    20           Q       Do you know that he have testified
    21                   about this --
    22           A       Yes.
    23           Q       -- very same issue?
    24           A       Yes.
    25           Q       Do you know that he disagrees with what

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     1                   your contention is here?
     2           A       From what I heard, he doesn't really
     3                   disagree.       I -- in front of -- I've
     4                   talked to my lawyers and we -- and he
     5                   doesn't disagree at all.
     6                                   MR. MALONE:            Mike, you have
     7                   to --
     8                                   THE WITNESS:            Okay.
     9                                   MR. MALONE:            -- tell them
    10                   what we talked about.
    11                                   THE WITNESS:            Got it.      No,
    12                   he doesn't disagree.                 He knows what we
    13                   talked about; he just don't have it in
    14                   writing.
    15                                   MR. CAIN:            Well, let's --
    16                                   THE WITNESS:            -- he's --
    17                   he's never let me on since -- to this
    18                   day.     And we just talked another three
    19                   months ago.        He said, "I'm not -- I
    20                   can't have you back on yet, Mike."
    21                   Fact.
    22
    23                   By Mr. Cain:
    24           Q       Let's break this down a little bit
    25                   more.     I took your deposition before on

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     1                   behalf -- when you were acting on
     2                   behalf of My Pillow, and you made this
     3                   same claim in your prior deposition;
     4                   didn't you?
     5           A       (Indicating).
     6           Q       Is that a yes?
     7           A       Yes.
     8           Q       Okay.
     9           A       If it -- it's night and day whatever
    10                   Ruddy says, the proof is in the
    11                   pudding.      He's never had me back on.
    12                                   So, you can sit there and
    13                   say, "Oh, I'd have him on," and he
    14                   never has.        He won't let me on.               I've
    15                   asked numerous, numerous times.
    16                                   So -- even to talk about
    17                   bringing pillows to the hurricane
    18                   victims down there.              "No you can't come
    19                   on, Mike."        "No, you can't come on,
    20                   Mike."
    21           Q       Now in your prior deposition you
    22                   claimed the same thing that there was
    23                   some agreement between Dr. Coomer and
    24                   Newsmax to keep you off the air; right?
    25           A       Sure seems --

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     1                                   MR. MALONE:            -- object to
     2                   the form.
     3                                   THE WITNESS:            Sure seems
     4                   like that; doesn't it?
     5
     6                   By Mr. Cain:
     7           Q       That's -- and that's very clearly
     8                   angered you; is that a fair statement?
     9           A       When he told me -- when Chris Ruddy
    10                   told me at the beginning of May of
    11                   2021, "Mike, I can no longer have you
    12                   on," and I was very upset.
    13                                   I said because you made a
    14                   dirty deal with a -- with a -- this
    15                   Eric Coomer guy, whoever he is?                     And
    16                   Chris says, "Mike, I'm sorry.                     I have
    17                   other lawsuits going on."
    18                                   And I said, "Well, what does
    19                   that have to do with My Pillow?"                     He
    20                   says, "I'm sorry."
    21                                   That's what he said numerus
    22                   times, "I'm sorry, I can't have you on
    23                   even to talk about pillows like I've
    24                   always said, but --"                 "Mike, I've
    25                   always backed you.

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     1                                   "I'm sorry.          I'm in -- I'm
     2                   in a position here now.               I no longer
     3                   can do that."          That's his quote, "Mike,
     4                   I'm sorry, you know I've always had
     5                   your back."
     6                                   I said, "Well, now you're
     7                   changes overnight because some Eric
     8                   Coomer guy, whoever that it, attacks
     9                   you and you make a deal?"                And says
    10                   Mike Lindell can't come on.
    11                                   Whether you guys have that
    12                   in writing or not, I don't care what
    13                   you got.      That's my reality; that's
    14                   what happened.           From that day forward I
    15                   lost two hundred -- $2 million just on
    16                   that code alone lost almost $2.7
    17                   million dollars.
    18                                   This is a family-owned
    19                   company, a -- a employee-owned company.
    20                   Don't you care about all these
    21                   families, there's over a -- over a
    22                   thousand families that have been there
    23                   and they have to suffer because you --
    24                   whatever you guys did with -- with
    25                   Newsmax, it's -- the proof is in the

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     1                   pudding.
     2                                   There are the numbers,
     3                   numbers don't lie.             And that's the only
     4                   time I came out against Eric Coomer and
     5                   said how dare he go on there and I -- I
     6                   probably bad mouthed his lawyer more
     7                   than him.
     8                                   MR. CAIN:            Objection;
     9                   non-responsive.
    10                                   THE WITNESS:            As you know.
    11
    12                   By Mr. Cain:
    13           Q       Do you remember what my question was?
    14           A       Yeah.     You said -- you -- you said --
    15                   you said the same thing back then about
    16                   -- and I'm saying the same thing now.
    17           Q       Yeah.     And -- and this episode made you
    18                   angry and made you want to go on -- on
    19                   public television or through your
    20                   Lindell TV to talk about --
    21           A       -- it was -- it was concerning --
    22           Q       -- let me finish.
    23                                   MR. MALONE:            Mike.      Mike.
    24
    25

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     1                   By Mr. Cain:
     2           Q       And talk about Eric Coomer; right?
     3           A       (Indicating).          Not at all.         That's not
     4                   true.     I went on to talk about Newsmax;
     5                   I didn't know who Eric Coomer was.
     6           Q       Okay.
     7           A       I went on and talked about Newsmax for
     8                   probably a month straight, bashing
     9                   Newsmax, to the point where Chris Ruddy
    10                   called me up and said, "Mike will you
    11                   quit bashing Newsmax?"
    12                                   I said, "Okay," so I went on
    13                   to bash Chris Ruddy.                 And said, "This
    14                   is horrible what you're doing to My
    15                   Pillow."      And that -- and you can look
    16                   up all those things.                 It's one after
    17                   another I get.
    18                                   I only mentioned your client
    19                   once because people had to know what --
    20                   where this came from.                 His lawyers,
    21                   some lawyers and Eric Coomer attacked
    22                   My Pillow for no reason, and make is so
    23                   -- so Newsmax won't put me on.                     That
    24                   was directly -- Chris Ruddy told me
    25                   this.

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     1                                   MR. CAIN:            Objection,
     2                   non-responsive.
     3
     4                   By Mr. Cain:
     5           Q       But let me ask you about one thing you
     6                   said in -- in that last statement.                     You
     7                   only attacked Eric Coomer once?
     8           A       I didn't attack Eric Coomer; I only
     9                   mentioned his name once.
    10           Q       Once?
    11           A       Once.     Once.      Until the steps of the
    12                   capital when he served me papers.                     Only
    13                   once.
    14                                   The rest was all Newsmax.
    15                   You can -- you can track it, go back in
    16                   time.     Go back in time and look at it;
    17                   I didn't know who Eric Coomer was.
    18                                   Now that's -- that's --
    19                   whatever Newsmax did, whatever you two
    20                   had going, I still don't know what you
    21                   all had going.           But I do know that I --
    22                   that it affected My Pillow immediately.
    23                                   All of a sudden I'm -- it
    24                   felt like I was getting cancelled
    25                   everywhere and another way to cancel

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     1                   me.     I don't know what you guys do, I
     2                   don't know what your evil does.                     You
     3                   guys go to cancel My Pillow that's the
     4                   only thing I can think of why you're
     5                   even doing this at all.
     6                                   MR. CAIN:            Objection,
     7                   non-responsive.
     8
     9                   By Mr. Cain:
    10           Q       You mention, as you said, Eric Coomer
    11                   once before you found out about this,
    12                   as you called it earlier, this dirty
    13                   deal with Newsmax and Eric Coomer.
    14                                   After your deposition where
    15                   you talked about that, your capable
    16                   lawyer, Mr. Malone, obtained a copy of
    17                   the settlement agreement between Dr.
    18                   Coomer and Newsmax; are you aware of
    19                   that?
    20           A       Say that again.
    21           Q       After your deposition where you talked
    22                   about as you called it, this dirty
    23                   deal, between Coomer and Newsmax.
    24           A       Right.
    25           Q       You're attorneys obtained a copy of the

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     1                   settlement agreement between Dr. Coomer
     2                   and Newsmax.
     3           A       Okay.
     4           Q       Do you know that?
     5           A       No.
     6                                   MR. MALONE:            Object to
     7                   foundation.        Okay.
     8                                   THE WITNESS:            And I -- I've
     9                   never see it.
    10                                   MR. CAIN:            Okay.
    11
    12                   By Mr. Cain:
    13           Q       You -- you haven't asked to see a copy
    14                   of that?
    15           A       No, I haven't asked to see a copy of
    16                   it.
    17           Q       Okay.     Do you know as you sit here
    18                   whether or not there is a provision in
    19                   the settlement agreement that prevents
    20                   you from going on Newsmax or talk --
    21           A       I --
    22           Q       -- let me finish, that -- that prevents
    23                   you from going on Newsmax as a result
    24                   of the settlement agreement between Dr.
    25                   Coomer and Newsmax?

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     1           A       I -- I don't know if it's written there
     2                   in writing; I only know what Chris
     3                   Ruddy told me.
     4           Q       Okay.
     5           A       But that's -- so you got -- that was
     6                   part of the deal.
     7           Q       And you didn't bother to -- to
     8                   investigate that portion of this
     9                   allegation by even looking at the
    10                   settlement agreement itself; did you?
    11                                   MR. MALONE:            I'm gonna
    12                   object to foundation.                 Also raising
    13                   objection pursuant to the protective
    14                   order that that document was identified
    15                   as attorneys-eyes-only and produced on
    16                   the condition that it wouldn't be
    17                   shared with Mr. Lindell.                 So that's the
    18                   foundation objection.
    19                                   THE WITNESS:            So I have no
    20                   idea.     What my lawyer said.
    21                                   MR. CAIN:            That's -- that's
    22                   fair.
    23
    24                   By Mr. Cain:
    25           Q       You haven't been provided with a copy

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     1                   of that?
     2           A       No.
     3           Q       Okay.     And -- and you haven't looked at
     4                   the deposition transcript which we now
     5                   have of Mr. Ruddy to see what he had to
     6                   say about this; did you?
     7           A       No.
     8           Q       Okay.     Now Mr. Ruddy -- well, let me
     9                   back up.
    10                                   You recall when you went on
    11                   Newsmax in February of 2021 when the
    12                   anchor stormed off the set during your
    13                   -- your segment; do you remember that?
    14           A       Yes.
    15           Q       Okay.     And that was several months
    16                   before this so called dirty deal that
    17                   Eric Coomer made with Newsmax; wasn't
    18                   it?
    19           A       That had nothing to do with Eric
    20                   Coomer.      That was my Twitter account
    21                   getting cancelled.
    22           Q       No, sir.      When you went on Newsmax and
    23                   I'll play you the clip if you -- if you
    24                   --
    25           A       -- oh, I'm -- I'm very familiar, it was

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     1                   the Number 1 story in the world.                     Yes.
     2           Q       Right.     That wasn't -- I believe
     3                   February 2nd of 2021 --
     4           A       (Indicating).
     5           Q       -- is that consistent?
     6           A       February 2nd or 3rd, I think it was
     7                   2nd.
     8           Q       Okay.     And during that appearance, you
     9                   started talking about your election
    10                   fraud claims; do you recall that?
    11           A       That's -- that's -- no.               What I said
    12                   was -- I was saying why I got cancelled
    13                   on Twitter.
    14                                   "Mike, you lost your Twitter
    15                   account."       And I started telling him,
    16                   "Yes, I lost that because I said stuff
    17                   on Twitter about the election crimes."
    18                   And then he -- they right away cut me
    19                   off.
    20                                   And then I -- you know, they
    21                   -- they wanted me to come on and talk
    22                   about why -- you know, my Twitter
    23                   account.
    24           Q       Do you remember the -- the anchor
    25                   reading a statement that --

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     1           A       (Indicating).
     2           Q       -- Newsmax had prepared?
     3           A       Yeah, I couldn't hear it though because
     4                   they had me muted.             If you watched the
     5                   segment, I couldn't hear that.
     6           Q       Okay.     Let's -- let's listen to it.
     7           A       I don't need to listen to it.                     I
     8                   watched it a million times.                 I know
     9                   what he says.          'Thou shall not talk
    10                   about Dominion,' or some blah, blah,
    11                   blah.
    12           Q       Okay.
    13           A       'Because we here at Newsmax believe
    14                   there was no crime'.
    15           Q       Right.     And that was February, that was
    16                   months before this so called deal to
    17                   keep you off of Newsmax; right?
    18           A       What's that?         Yeah.
    19           Q       Yeah.     And you knew in February, at
    20                   least as early as February of 2021,
    21                   that if you were gonna go on Newsmax
    22                   that you were not allowed to talk about
    23                   election fraud issues; isn't that
    24                   right?
    25           A       He -- at -- from that point he said,

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     1                   "You can't talk about election fraud,
     2                   but you can talk about My Pillow."                     So
     3                   I did, I came right back on there, even
     4                   the same day, and talked about My
     5                   Pillow.
     6           Q       Right.     And --
     7           A       -- so they -- so this is what -- this
     8                   is the differences you're trying to do
     9                   here.     Here they said don't talk about
    10                   that, but I could still go on with My
    11                   Pillow.
    12                                   What you guys did is from
    13                   May 1st on I can't even go on there at
    14                   all.     And that's disgusting.               Thank
    15                   you.
    16           Q       Mr. Ruddy testified that in between the
    17                   segment that -- where the anchor walked
    18                   off the set, and -- you actually did
    19                   another segment later in the day on
    20                   these things; didn't you?
    21           A       Yeah, I did.         Yeah.
    22           Q       Okay.     But you had a discussion with
    23                   Mr. Ruddy about you coming on and
    24                   talking about election fraud issues; do
    25                   you remember having that --

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     1           A       -- no, what he said -- he said --
     2           Q       -- no, no, no.           Do you remember having
     3                   that discussion?
     4           A       When?
     5           Q       Between the two segments.
     6           A       Yes, I called him.
     7           Q       All right.
     8           A       That's correct.
     9           Q       And you, according to Mr. Ruddy,
    10                   apologized to him for talking about the
    11                   election fraud issues because you had
    12                   been told that that was not to be a
    13                   topic --
    14           A       -- that's not true, 100 percent not
    15                   true.     I was not told I could not talk
    16                   about why I was cancelled on Twitter.
    17                                   That was his -- their
    18                   mistake that they made, they didn't
    19                   tell me about that before I went on.
    20                   And I said, "Chris," I said, "Your
    21                   anchor pulled his thing off, and left
    22                   the thing.        What's going on?"
    23                                   And I said -- and he said to
    24                   me quote he says, "Well, I don't know,"
    25                   he says.      And I said -- I said, "I -- I

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     1                   went on to tell him about why my
     2                   Twitter was cancelled because of the --
     3                   the attack with these machines -- and
     4                   these -- and the election crime."
     5                                   And he goes, "Well, Mike,
     6                   they can't -- we have a thing at
     7                   Newsmax, we can't say that now."
     8                                   And I said, "Okay."                I said,
     9                   "Well, I didn't know that.                 You never
    10                   told me ahead of time."               And he goes,
    11                   "It's our anchor's fault."
    12                                   And he went after his -- he
    13                   said, "It's our anchor's fault."                     And I
    14                   said, "If you want, I'll come on and --
    15                   and help you out.             I didn't know I
    16                   wasn't supposed to say that."
    17                                   And so I went on to help
    18                   him.     He says, "You've helped me,
    19                   Mike," or, "I've helped you before with
    20                   My Pillow, and I'll continue to."
    21                                   So I went back on, and --
    22                   and did another show, and many shows
    23                   after that of just about My Pillow.
    24                   All the way up to May 1st, that's when
    25                   we took in $3 million.

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     1                                   After that $300 thousand for
     2                   four months because of you guys.                     Since
     3                   that point in May 1st, I've never been
     4                   able to go on there again ever.
     5                                   And he's even said it in
     6                   front of his lawyer.                 He said it just
     7                   four months ago.            I said, "Are you
     8                   ready to have me on?                 Can I come on and
     9                   talk about pillow?"
    10                                   "No, Mike, we're not quite
    11                   ready -- there yet.              We, you know, we
    12                   have lawsuits out there," blah-blah
    13                   blah.
    14                                   Apparently he's got -- he
    15                   sued by other people too besides
    16                   Coomer.
    17           Q       Okay.     My question was, you apologized
    18                   to --
    19           A       -- I didn't apologize, that's not true.
    20           Q       That's -- that's his testimony.
    21           A       Okay.
    22           Q       You're saying --
    23           A       -- I'm the one that called him.                     And I
    24                   -- all I said was, "Hey, if there's
    25                   something wrong, your guy didn't tell

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     1                   me."     And I said, "I'm sorry if I did
     2                   something wrong."             I did -- I might
     3                   have said that.
     4                                   And he goes, "No, Mike, you
     5                   didn't know; it's our guy's fault."
     6                   And I thought he was gonna fire the
     7                   guy.
     8                                   I'm the one that called him.
     9                   I'm going, "What just happened?"                     I
    10                   said this is an embarrassment to the
    11                   world.     The guy rips his thing off.                    I
    12                   can't go and say why my Twitter was
    13                   cancelled.
    14                                   MR. MALONE:            Mike.
    15                                   THE WITNESS:            I was just
    16                   stating a fact.           My Twitter was
    17                   cancelled because I put evidence up
    18                   there on the sheet, period.                    On -- on
    19                   Twitter and that's when it was
    20                   cancelled.
    21                                   So everybody's calling me to
    22                   come on these shows.                 Come on the show,
    23                   come on tell us why your Twitter was
    24                   cancelled.
    25                                   What am I supposed to go on

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     1                   there, "Oh, Twitter -- my Twitter was
     2                   cancelled because I'm a -- they just
     3                   don't like me."           You know Jack Dorsey
     4                   just doesn't like me.
     5                                   No, it was cancelled because
     6                   they didn't want to hear about election
     7                   crime.     That's -- period.              And that --
     8                   and -- and Ruddy I did nothing wrong,
     9                   and Ruddy will tell you that.
    10                                   They -- they didn't -- they
    11                   didn't tell me.           That's like having
    12                   someone come on, 'Tell us why you lost
    13                   your Twitter,' and I'm supposed to lie?
    14                                   MR. CAIN:            (Inaudible).
    15                                   THE WITNESS:            I was supposed
    16                   to lie.      (Laughing).             I lost my Twitter
    17                   because I just a -- I called Jack
    18                   Dorsey a criminal, I don't know.                     I
    19                   mean, no, I didn't -- that's not what
    20                   happened.
    21
    22                   By Mr. Cain:
    23           Q       Mr. Lindell, I was -- I was asking
    24                   about Mr. Ruddy's testimony that you
    25                   apologized to him.             And you were

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     1                   non-responsive once again.
     2           A       I'm -- I'm saying -- with the apology
     3                   -- I -- there's my answer.                 I called
     4                   him up because I didn't understand why
     5                   this host ripped off a microphone.
     6           Q       Did you apologize to him or not?
     7           A       I just -- I didn't apologize.                     I said I
     8                   didn't know if you -- and he goes, "No,
     9                   Mike, it's not your fault, it's our
    10                   fault, our host."
    11                                   And I go, "What's going on?"
    12                   That's what I said to him, I said,
    13                   "What's going on?             Why would he tear
    14                   his microphone off?"
    15                                   "Well, we can't talk about
    16                   election crime."            I go, "Then how --
    17                   then why'd you have me on to talk about
    18                   Twitter?"
    19           Q       All right.
    20           A       And then he asked me, he said, "Could
    21                   you go back on?"            And -- and I said,
    22                   "To do what?"          And he said, "Could you
    23                   come back on and say that Newsmax has
    24                   always helped you out?               It'll help My
    25                   Pillow."

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     1                                   And that -- and I said,
     2                   "Yeah, I'll do that for you."                     And I
     3                   said -- you know-- and he goes, "We're
     4                   gonna -- we're gonna reprimand that
     5                   guy."
     6                                   He -- he's the guy that did
     7                   something wrong, not me.                 Do you
     8                   understand that?
     9                                   MR. CAIN:            Objection;
    10                   non-responsive.
    11
    12                   By Mr. Cain:
    13           Q       I just asked about the apology and --
    14           A       -- well, that's not true.                 That's not
    15                   the way it went down.
    16           Q       Okay.     I've -- I've got a lot to cover
    17                   with you.
    18           A       Okay.
    19           Q       Which is why --
    20           A       -- well, then don't and put lies in --
    21                   in the -- in the thing because Chris
    22                   did not say that.             Chris knows what was
    23                   said.
    24                                   Chris knows exactly what was
    25                   said.     I did nothing wrong.              Why would

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     1                   I apologize, I did nothing wrong.                     I
     2                   was confused why his host did that.
     3           Q       You're not responding to a question
     4                   that's on the table.
     5           A       Okay.     The answer's no.
     6           Q       All right.        So Mr. Ruddy testified that
     7                   you apologized to him, that's why I
     8                   asked the question.              You're saying --
     9           A       -- (indicating).            But that's not what
    10                   he said.      If I read his transcript --
    11                   if I read his transcript, I don't
    12                   believe Chris would lie like that.
    13           Q       Okay.
    14           A       He said -- he told me straight up, he
    15                   apologized to me for that host's
    16                   behavior.
    17                                   He apologized to me and
    18                   said, "I'm really sorry, Mike.                     That
    19                   guy, he should never have done that,
    20                   and you should've been let known ahead
    21                   of time not to say anything that I
    22                   didn't want you to say."
    23                                   And I'm going, "Yeah."                I
    24                   mean, you don't bring someone on to say
    25                   why did you lose your Twitter?                     What am

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     1                   I supposed to lie?             Well, I don't know
     2                   it just lost, you know, My Pillow lost
     3                   their Twitter account.
     4                                   I mean, and -- and I -- and
     5                   I said, "Chris, that's okay, you've
     6                   helped me out.           If you want me to go
     7                   back on and say how you've covered My
     8                   Pillow..."
     9                                   It was more of him
    10                   apologizing for his host -- for his
    11                   horrible host that did that.                  And Chris
    12                   will tell you that.
    13           Q       During the deposition I'll represent to
    14                   you I asked Mr. Ruddy at Page 60 of the
    15                   current transcript, "Subsequent to that
    16                   segment, parenthetically (I was
    17                   referring to the February 2nd segment
    18                   that you came on) you had a
    19                   conversation with him," referring to
    20                   you, "Where Number 1 Mr. Lindell
    21                   apologized to you for raising those
    22                   issues and Number 2 agreed to not raise
    23                   them in the future appearances on
    24                   Newsmax; is that fair?"
    25                                   And do you know what Mr.

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     1                   Ruddy's response was?                "Yes."       So Mr.
     2                   Ruddy's sworn testimony is that you had
     3                   a conversation, you apologized to him,
     4                   and that you agreed to raise -- to not
     5                   raise the election fraud issues in
     6                   future appearances.              That's his
     7                   testimony.
     8           A       Okay.
     9           Q       Is he lying?
    10           A       Yes.
    11           Q       And --
    12           A       -- so that it's not -- he's twisting
    13                   it.     I told you exactly -- here's word
    14                   for word.
    15           Q       You've already explained --
    16           A       -- no, word for word.                So you could --
    17                   he could say that, and I'm going, he's
    18                   -- and he says -- and I -- here's what
    19                   he said.
    20                                   He said -- I didn't
    21                   apologize, he said -- I said, "Well can
    22                   I come on and talk about pillows and
    23                   stuff?"      He says, "Yeah, just don't
    24                   bring up election stuff anymore."
    25                   That's what he said.

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     1           Q       All right.
     2           A       That wasn't an apologize -- what am I
     3                   apologizing for?            I never apologized
     4                   because I didn't do anything wrong.
     5                                   If I'd had been told by him
     6                   -- he had done a for My Pillow, I'm not
     7                   gonna go there if I'm told to not --
     8                   100 percent if I was told, "Mike, you
     9                   can come on but you can't talk about
    10                   this."     I would not do that to him.
    11                                   Newsmax had done a lot to
    12                   help My Pillow, so that's a complete
    13                   lie what you're saying there.                     I did
    14                   not apologize to him.                I was baffled,
    15                   like why did your host do that?
    16                                   I go "Chris," and he goes,
    17                   "What?"      He was surprised because he
    18                   hadn't seen it, you know.
    19           Q       You're not -- you're not responsive --
    20           A       -- well, you're telling -- you're --
    21                   you're twisting it.
    22           Q       No.    I asked you if he was lying, and
    23                   you said, "Yes."            (Inaudible) --
    24           A       -- he's -- it's misconstrued, lying
    25                   whatever, doesn't remember, whatever

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     1                   you want to call it.                 I don't think
     2                   he's maliciously lying, but I never
     3                   apologized for something I didn't do.
     4                   I was never told I couldn't say that,
     5                   are you kidding me?
     6           Q       I'm just --
     7           A       -- that's the craziest thing I've ever
     8                   heard that you're trying to twist this.
     9                   I was never told that I could not talk
    10                   about why my Twitter was cancelled
    11                   because I put up stuff about the
    12                   elections.        That's a fact.
    13                                   MR. CAIN:            Object to the --
    14                                   THE WITNESS:            -- and if --
    15                   and if you asked him that he would tell
    16                   you the same thing.              If he said that's
    17                   not true, then he's lying.
    18                                   MR. CAIN:            Object to the
    19                   lack of responsiveness.
    20
    21                   By Mr. Cain:
    22           Q       Mr. Lindell, again, so we're clear.                     I
    23                   only have so much time with you and I
    24                   have --
    25           A       -- I'm sorry.          I'm so sorry.

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     1           Q       And I'm --
     2           A       -- I'm so sorry, Your Highness.
     3                                   MR. MALONE:          Mike, why don't
     4                   -- why don't you answer --
     5                                   THE WITNESS:          -- give me a
     6                   break.
     7                                   MR. MALONE:          -- answer the
     8                   question.
     9                                   THE WITNESS:          You only have
    10                   so much time.
    11                                   MR. MALONE:          Mike.
    12                                   THE WITNESS:          I'm sorry.
    13                   I'm trying to run a company with a --
    14                   a thousands of employees and their
    15                   families that you've ruined, but I took
    16                   my time to come down here.
    17                                   MR. MALONE:          Mike, let him
    18                   finish what's he's gonna say.
    19                                   THE WITNESS:          Yeah.        Okay.
    20                                   MR. MALONE:          (Inaudible),
    21                   we'll object.
    22                                   THE WITNESS:          All right.
    23
    24                   By Mr. Cain:
    25           Q       Meaning under -- under the Federal

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     1                   rules, sir, I don't expect you to be
     2                   familiar with that, my point is that if
     3                   I don't cover the topics here today, I
     4                   am going to be asking for more time
     5                   with you --
     6           A       -- good for you.
     7                                   MR. MALONE:          Mike, let him
     8                   finish.
     9
    10                   By Mr. Cain:
    11           Q       And -- and for expenses associated with
    12                   this.     It's going to go a lot faster if
    13                   you just respond to what I'm asking
    14                   you; okay?
    15           A       (No response).
    16           Q       Can we have that agreement?
    17           A       Yes.
    18           Q       Thank you.        Okay.       Now, as of February
    19                   2nd when this segment aired, you knew
    20                   that you were not to bring up election
    21                   fraud issues if you went on Newsmax's
    22                   air; didn't you?
    23           A       100 percent, no, I did not.                 100
    24                   percent.      I never was told I couldn't
    25                   bring up elections, are you kidding?                        I

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     1                   was on all before that -- the months
     2                   before that.         I was on every other
     3                   station in the country asking me this.
     4                   This is crazy.           What do you mean I
     5                   didn't know?
     6           Q       You just said you were told you
     7                   couldn't raise election issues by Mr.
     8                   Ruddy.
     9           A       No, this was after I was on.                  Do you
    10                   understand that?            He asked me, "Mike,
    11                   if I -- could you please not bring up
    12                   election stuff again?"               After I was on.
    13                                   Don't try and twist it that
    14                   I knew going into that segment, because
    15                   I didn't.       As God as my witness, I did
    16                   not know because I wouldn't have
    17                   brought it up.
    18                                   Do you get it?           You're
    19                   trying to twist this, yourself, and
    20                   Ruddy never -- and Ruddy would testify,
    21                   "Did Mike know going in?"                And he would
    22                   say, "Absolutely not."
    23                                   And if you're saying he said
    24                   anything different, then he's lying.
    25                   That's a fact.           I don't know what else

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     1                   -- how else to write it out for you.
     2                                   When I went into that
     3                   segment I would never go on there and
     4                   say, "Oh, yeah, a machine whatever and
     5                   takes off this thing."                 To just to
     6                   blast Chris Ruddy.             Are you kidding me?
     7                                   MR. CAIN:            Objection,
     8                   non-responsive.
     9                                   THE WITNESS:            He had done a
    10                   lot -- he had done a for My Pillow, and
    11                   he would not -- and if I'd -- if I'd
    12                   had been told I wouldn't have said
    13                   anything.       That's fact.
    14                                   You know, I'd still want to
    15                   go on and talk about My Pillow to...
    16                   You know.
    17                                   MR. CAIN:            Still
    18                   non-responsive.           So I'll object again.
    19
    20                   By Mr. Cain:
    21           Q       After you appeared on that segment the
    22                   first time in February 2nd.
    23           A       Right.
    24           Q       You knew that you were not to bring up
    25                   election fraud issues if you were gonna

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     1                   appear on Newsmax; isn't that true?
     2           A       He asked me, he said, "Mike, in future
     3                   appearances, please don't bring up
     4                   election crime, election fraud."
     5                                   And I said -- I go -- I go,
     6                   "Okay," you know, I agreed with him.
     7                   And I even did it right away.                     I said,
     8                   "If you want I'll go on there."
     9                                   He goes, "Mike we've helped
    10                   you out, please -- I'm getting sued,"
    11                   blah, blah, blah.             And I said, "Okay."
    12                   I said, "I'll -- I'll go on and just
    13                   keep going on with My Pillow.                     And I --
    14                   I don't have to talk about election
    15                   fraud.
    16                                   I'm not, you know, I'm not
    17                   gonna hurt Newsmax, and so I wouldn't
    18                   ever be able to go on there again for
    19                   My Pillow."        You know?         I'm not gonna
    20                   get it -- if I -- if I did that -- if I
    21                   didn't make those -- agreement with
    22                   him, I'd never be able to go on with My
    23                   Pillow.
    24           Q       Mr. Ruddy also testified that Eric
    25                   Coomer had nothing to do with whether

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     1                   or not you were to appear on the air at
     2                   Newsmax, that's his testimony.
     3           A       Okay.
     4           Q       Do you -- do you believe he's lying
     5                   about that as well?
     6           A       All I know is this.              Okay.     All I know
     7                   is this, the proof is in the pudding.
     8                   From the time Eric Coomer did this deal
     9                   with Ruddy, I've never been able to go
    10                   on Newsmax again.
    11                                   I can't do e-mail blasts; I
    12                   can't do anything that I used to be
    13                   able to do before to promote My Pillow.
    14                   He hasn't had me on to talk about
    15                   hurricane victims, bringing blankets
    16                   and pillows down to Florida.                  Zero.
    17                                   And Chris has told me
    18                   straight out, "Mike --"               He can sit and
    19                   tell you all you want.               "Oh, we'll have
    20                   him on."      That's not true; because I've
    21                   asked and asked and asked.                 And for two
    22                   years -- or for -- I've never been able
    23                   to go on, not once.
    24           Q       Specifically, Mr. Ruddy was asked, "Was
    25                   there an agreement that you were

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     1                   involved with with Eric Coomer, or his
     2                   representatives, to keep Mike Lindell
     3                   off Newsmax?"          And do you know what his
     4                   answer was?        No.
     5           A       Okay.     So what are my numbers here?                  I
     6                   don't know, you know.                You know, the
     7                   numbers are here.             You can sit and tell
     8                   my employees, no, all you want.
     9                                   I don't know what you guys
    10                   did.     Just because there's nothing in
    11                   writing, I don't know what -- what you
    12                   people do.
    13           Q       So you don't know as you sit here today
    14                   any -- any factual basis for the --
    15           A       -- he told me in a -- okay, yes, I do.
    16                   He told me in a phone call -- this is
    17                   before I went on, when I started
    18                   bashing your client, the one statement
    19                   I made, this -- I called Ruddy before I
    20                   went on air.
    21                                   And Ruddy said, "I'm sorry,
    22                   Mike, I can never have you on again.
    23                   You can't come on.             Period."       He told
    24                   me that straight out in a phone call;
    25                   100 percent.

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     1                                   He goes, "I'm sorry you
     2                   can't ever come only again," blah,
     3                   blah, blah and I'm going, "What?"                     I
     4                   couldn't believe it.
     5                                   I cannot go on there again
     6                   because I'm associated with election
     7                   fraud.     And I said -- because they --
     8                   then -- and I said the e-mail blast,
     9                   all this stuff.
    10                                   It was a big no.            So I don't
    11                   know.     The only variable to me was your
    12                   little lawsuit because you had just
    13                   made a settlement.
    14                                   And when I called him up
    15                   when I heard about it, I said, "What's
    16                   the deal here?"           And he goes, "Mike I'm
    17                   sorry.     I can't have you -- I can't
    18                   have you on."
    19                                   From that point on, I lost
    20                   $2.7 million dollars.                 I've never been
    21                   able to go on Newsmax again.                  I can't
    22                   do e-mail blasts from their e-mail
    23                   list.
    24                                   I can't do anything I used
    25                   to do before Coomer.                 And even after

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     1                   the -- even after the thing, I was on
     2                   there all the time, and doing e-mail
     3                   blasts after your February 2nd thing.
     4                   The only variable was your client, and
     5                   that's why I made the statement, when
     6                   he attacks My Pillow to -- to -- for no
     7                   reason to attack my company?                  It's
     8                   disgusting.
     9                                   MR. CAIN:            Objection;
    10                   non-responsive.
    11
    12                   By Mr. Cain:
    13           Q       Did Mr. Ruddy ever tell you that you
    14                   could not go on the air at Newsmax
    15                   because of Eric Coomer?
    16           A       Yes.
    17           Q       Okay.
    18           A       Because of the settlement.                 I didn't
    19                   know -- I -- I didn't ask him
    20                   specifically who the settlement was,
    21                   and then he said -- I said, "With who?"
    22                   He didn't say -- and then he said,
    23                   "Eric Coomer."           So I guess, yes, he did
    24                   say --
    25           Q       When did that --

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     1           A       -- Eric Coomer.
     2           Q       When did that -- that's completely
     3                   contrary to his sworn testimony.
     4           A       I'm -- I can't tell you, this was a
     5                   phone call, and he said it straight
     6                   out.
     7                                   That's why I went on my show
     8                   that day.       That's why I said what I
     9                   did.     And I bashed him for a month
    10                   straight.       Not Coomer, I bashed -- I
    11                   bashed Newsmax.
    12                                   This was my -- I do ads on
    13                   Newsmax.      It was one of my biggest
    14                   accounts.       I didn't care, I bashed
    15                   them, I go, "How can you sensor me like
    16                   all the retail stores did?"
    17                                   That's what he did because
    18                   of your client.           And Eric and -- and
    19                   Coomer -- Ruddy told me straight out.
    20                   You think I just fell -- fell out of
    21                   the trees?
    22                                   He told me straight out, "I
    23                   can't have on any more."                 And, "Because
    24                   of this settlement."
    25                                   MR. CAIN:            Objection;

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     1                   non-responsive.
     2                                   THE WITNESS:            You asked me.
     3
     4                   By Mr. Cain:
     5           Q       (Inaudible) --
     6           A       -- did he ever say that.                 That's not
     7                   responsive [sic], that's straight out
     8                   answer.
     9           Q       Yeah.
    10           A       Eric Coomer told -- or I mean Chris
    11                   Ruddy told me that fact --
    12           Q       Okay.
    13           A       -- on the phone.
    14           Q       And you're claiming that that was the
    15                   same day that you went and bashed Dr.
    16                   Coomer on your Lindell TV?
    17           A       It was either that day or the day
    18                   before, the call with Ruddy.
    19           Q       Okay.
    20           A       It was probably the day before, but I
    21                   don't know for sure.                 That I can't say.
    22                   It was within one day, within 24 hours.
    23                   In fact, I probably talked to him
    24                   multiple times I was so upset.
    25           Q       And you're claiming then that you lost

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     1                   $2.7 million dollars as a result of Dr.
     2                   Coomer's settlement in essence?
     3           A       Yeah.     Yeah, or it was just over the
     4                   next four months.             It's become millions
     5                   and millions since then.
     6                                   I can't even put a number on
     7                   it, it's probably upwards of 10 to 15
     8                   million.      If you -- if you take Newsmax
     9                   -- I even -- I even asked three or four
    10                   months ago if I buy through an e-mail
    11                   blast, I asked if I could come on.
    12                                   And all his lawyers and his
    13                   marketing were in the room and he said,
    14                   "No, Mike."        N-O.       "We can't have you
    15                   on.     We're not ready for you yet."
    16                   That was his quote.
    17                                   And I -- and there's
    18                   witnesses in the room.               His lawyers and
    19                   his marketing team because I asked
    20                   about -- he goes, "Mike, we're really
    21                   gaining -- we're really getting more
    22                   people than Fox.
    23                                   And I said, "Well, can I
    24                   come on and talk about pillows and
    25                   stuff?"      No, because his lawyers advise

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     1                   him not to.
     2                                   Now whether there's you guys
     3                   or not, I don't care.                 It all comes
     4                   back to Coomer on May 1st of 2021.
     5           Q       All right.
     6           A       Here's our numbers before Coomer;
     7                   here's the numbers after Coomer.                     And I
     8                   never did anything to this guy.                     Ever.
     9           Q       Let's break it down.                 We've -- we've
    10                   established that your testimony is you
    11                   blame Dr. Coomer for the $2.7 million
    12                   dollars in revenue loss at My Pillow;
    13                   right?
    14           A       Whatever you and -- whatever him and --
    15                   whatever -- this is what Ruddy told me,
    16                   whatever you're telling him -- whatever
    17                   that manifested to, this is what it
    18                   was.
    19           Q       Okay.
    20           A       Correct.
    21           Q       And you blame --
    22           A       -- it's more than that.                 That's over
    23                   four months.
    24           Q       Right.
    25           A       Remember you take that multiplier --

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     1                   now it's been two years.                There's a lot
     2                   of money.       I can't -- Newsmax -- we
     3                   lost I'll bet now it's probably upwards
     4                   of $20 million dollars.
     5           Q       But you just said 10 to 15, now it's
     6                   20.
     7           A       Well, it's 2.7; okay.                We'll do --
     8                   figure, we'll do the math.                 3 million
     9                   times -- let's just say 3 million times
    10                   24, I guess, it's between, probably
    11                   between, let's see...                3 million times
    12                   4 is 12 million.            And it's been two
    13                   years.
    14                                   $24 million dollar is what
    15                   it looks like on paper if -- if -- if
    16                   all things were created equal.                     But
    17                   obviously it's even gone down further
    18                   because as you don't get to be -- as
    19                   you don't get to pump like pump -- put
    20                   more fire on the -- on the -- or more
    21                   coals on the fire so to speak.
    22                                   When I would make
    23                   appearances or My Pillow is donating
    24                   all this -- here's their employees down
    25                   in Florida.        Here's My Pillow out doing

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     1                   this.     We do stuff for people all over
     2                   the world -- I mean all over the
     3                   country.
     4                                   And we're not able to do
     5                   that and talk about that on Newsmax
     6                   again.
     7                                   MR. CAIN:            Object to the
     8                   responsiveness after you did your math.
     9                                   THE WITNESS:            So I would say
    10                   it's about 24 million, it looks like on
    11                   here.     If it -- if it -- if it stayed
    12                   the same of $2.7 million loss, I think
    13                   it's probably worse now because we've
    14                   lot hundreds of millions now at My
    15                   Pillow.
    16                                   MR. CAIN:            Okay.
    17
    18                   By Mr. Cain:
    19           Q       Just humor me, let's talk about the
    20                   numbers for a second; okay?                  Not about
    21                   --
    22           A       Yep.
    23           Q       -- anything other than the numbers.
    24           A       Yep.
    25           Q       The two years -- that time period is

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     1                   May of 2021 through May of 2023; is
     2                   that the 24-month period that you're
     3                   talking about?
     4           A       I -- the said -- if we -- I haven't
     5                   looked at -- this goes from May to
     6                   August, where we know there was a $2.7
     7                   million dollar deficit from January to
     8                   April.
     9           Q       Okay.
    10           A       So now, if you take that from there,
    11                   and you take from -- from there -- and
    12                   if the numbers, I believe they're lower
    13                   now anyway because My Pillow has lost
    14                   hundreds of millions of dollars.
    15                                   I've had to borrow 10s of
    16                   millions of dollars because of all --
    17                   because of this.            So it could even be
    18                   more.
    19                                   But I'm just taking, if you
    20                   take 24 -- if you take 12 more quarters
    21                   and times it by $2.7 million you're
    22                   well over $24 million.
    23           Q       So I asked you just about the time
    24                   period.
    25                                   MR. CAIN:            Again, it's

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     1                   non-responsive, so I'll object.                     Then
     2                   --
     3                                   THE WITNESS:            -- okay.      This
     4                   is August, so take it from -- from May
     5                   to August of 2023 -- from May 1st to
     6                   August of 2023.
     7                                   MR. CAIN:            Okay.
     8                                   THE WITNESS:            If these
     9                   numbers are the same, but I believe
    10                   they're lower, take $2.7 million times
    11                   -- times every four months, so four
    12                   months that would be -- let's see what
    13                   do we got here?
    14                                   Twenty-four -- 28 months,
    15                   take 28 months, divide it by 4 is 7, 7
    16                   times $2.7 million.              There's your
    17                   answer.      So it's about $16.8 million or
    18                   $16.7 million.
    19                                   So that's if the numbers --
    20                   if the numbers here.                 They're
    21                   definitely, probably lower the May
    22                   through August, they're probably lower
    23                   than that.
    24                                   As we go -- as we get into
    25                   these months now because it's -- it

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     1                   just keep going down.                 The Newsmax code
     2                   now it's like virtually zero everyday.
     3                   So this -- this $300 thousand has
     4                   virtually dipped down to zero.
     5                                   MR. CAIN:            Okay.
     6
     7                   By Mr. Cain:
     8           Q       But now it's $16.7 million in loss?
     9                   You --
    10           A       -- yeah, I don't have the books in
    11                   front of me.         I'm just saying if I
    12                   extrapolate that number, I know that --
    13                   I know where My Pillow's at, it just
    14                   keep going down, down, down, down.
    15           Q       And this is just with respect to
    16                   Newsmax?
    17           A       Yes.     The Newsmax.          The one that your
    18                   client did, yes.
    19           Q       All right.        And you blame Dr. Coomer
    20                   for, whether it's 16.7 or 24 million,
    21                   but you blame Dr. Coomer for that loss
    22                   to My Pillow?
    23           A       I -- I'm saying whatever happened
    24                   between Ruddy --
    25           Q       Okay.

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     1           A       -- and your client.              Because Ruddy told
     2                   me I can't come on anymore.                 That's the
     3                   only variable.           You need a different
     4                   input to get a different output.
     5                                   On May 1st the number
     6                   changes.      Anybody in the world can see
     7                   what happened on May 1st?                 You go, "Oh,
     8                   I see this guy named Eric Coomer sued
     9                   My Pillow or -- or made a deal with
    10                   Newsmax and destroyed My Pillow."
    11                                   MR. CAIN:            Object to --
    12                                   THE WITNESS:            -- it's pretty
    13                   cut and dry.
    14                                   MR. CAIN:            Object to the
    15                   responsiveness.
    16
    17                   By Mr. Cain:
    18           Q       Now, my -- my simple question was, you
    19                   blame Dr. Coomer for that loss; don't
    20                   you?
    21           A       I blame whatever deal was made.                     I
    22                   don't know Mr. Coomer.                 I blame
    23                   whatever deal was made with Chris Ruddy
    24                   at Newsmax.
    25                                   Because of whatever deal was

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     1                   made what Ruddy told me over the phone,
     2                   I can't go on there anymore.
     3           Q       And -- and you say this despite Mr.
     4                   Ruddy's testimony that there was no
     5                   deal?
     6           A       Mr. Ruddy's phone call with me, two
     7                   phone calls, multiple phone calls is
     8                   since then.
     9                                   I've been on -- I've been --
    10                   I've asked him so many times and with
    11                   people in the room, his marketing team,
    12                   his lawyers, I can't go on and it all
    13                   started with May 1st of 2021.
    14                                   Is that so simple?                I don't
    15                   blame your client; I blame the deal
    16                   that Ruddy made with your client.                     With
    17                   you actually, sir.
    18           Q       Okay.
    19           A       With you.
    20           Q       Is that why --
    21           A       -- you.      That's who -- that's who made
    22                   the deal with him, apparently, you
    23                   lawyers.
    24                                   And they -- and do I --
    25                   whether you have it in writing or not

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     1                   -- "Gee, whatever you do, do this."                     I
     2                   don't know what you did, but Chris
     3                   Ruddy told me straight out on the
     4                   phone, he can't have me on anymore even
     5                   with My Pillow.           So that's that.
     6           Q       Well, I'm -- I'm -- when I asked you
     7                   whether you blamed Dr. Coomer --
     8           A       -- I blame the deal.                 Whatever deal was
     9                   made, whatever happened then.
    10           Q       Okay.
    11           A       (Inaudible).         I don't know if you guys
    12                   have some malicious intent to destroy
    13                   me and destroy My Pillow.                 I don't
    14                   know.
    15                                   I don't know.            But all I
    16                   know is what Chris Ruddy told me and
    17                   the proof is in the pudding.                  I can't
    18                   go on Newsmax.           It cost me $16 million
    19                   minimum, that's fact.
    20                                   If this hadn't happened, if
    21                   you wouldn't have went there on May
    22                   1st, if you wouldn't have did whatever
    23                   you did, those numbers would've kept
    24                   the same.
    25                                   I've got a track record

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     1                   going back ten years boom, boom, boom,
     2                   boom.     The number don't change unless
     3                   you have a different input.
     4           Q       Did Dr. Coomer also, to your knowledge,
     5                   make a deal with the big box stores to
     6                   cancel your products --
     7                                   MR. MALONE:          Objection.
     8
     9                   By Mr. Cain:
    10           Q       -- as well?        Was he --
    11           A       No.     No.
    12           Q       -- do you blame him that for?
    13           A       No, I didn't even know Dr. Coomer then.
    14                   All I know is what -- the one I know
    15                   that he affected because the guy told
    16                   me that owns the station.
    17                                   The other box stores had
    18                   nothing -- they didn't say that Eric --
    19                   this guy named Eric Coomer who I didn't
    20                   even know.        Absolutely not.
    21           Q       So that's a no?
    22           A       That's a No.
    23           Q       Okay.     And you were cancelled by the
    24                   big box stores because of your election
    25                   fraud narrative; weren't you?

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     1                                   MR. MALONE:          Object to form.
     2                                   THE WITNESS:          You'd have to
     3                   ask them.
     4
     5                   By Mr. Cain:
     6           Q       But after this so-called deal that
     7                   you're talking about, you went on air
     8                   and called Dr. Coomer a traitor; do you
     9                   remember that?
    10           A       If that's what it says there, yeah.
    11           Q       So that's why I asked you whether you
    12                   blame him or not for this agreement.
    13                   Why did you call him a traitor?
    14           A       Well, both him and -- and Newsmax.                     If
    15                   you were remember I -- I hit them both.
    16                   I probably -- I think I even hit you
    17                   up.
    18                                   Because when you're
    19                   attacking a company, USA made company,
    20                   and employees and you go after that for
    21                   some reason.         We -- I didn't know him
    22                   from Adam.
    23                                   Yeah, you're a traitor of
    24                   the United States.             You're a complete
    25                   traitor.      Or are you kidding me?                 You

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     1                   attack a company that -- for no reason
     2                   whatsoever.        I did nothing, I didn't
     3                   know this man.
     4                                   I never heard his name in my
     5                   life up to this point.               That was
     6                   disgusting what he did to My Pillow.
     7                   Absolutely insane.
     8           Q       It seems to me, at the risk of stating
     9                   the obvious, that you harbor some ill
    10                   will against me and Dr. Coomer; is that
    11                   a fair statement?
    12           A       I think what you -- I think you're one
    13                   of slimiest lawyers that ever walked
    14                   the planet in the United States.                     One
    15                   of the slimiest.
    16                                   Anybody, you and your
    17                   client, for whatever gain you got to
    18                   try and -- to extract people and hurt
    19                   people for your own monetary gain.
    20                                   I think it's the slimiest,
    21                   scummiest lawyer -- you're the reasons
    22                   that our law system in this country
    23                   should be looked at because ambulance
    24                   chasing, slimy lawyers like yourself.
    25                   Absolutely.

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     1           Q       And --
     2           A       -- what you've done to My Pillow, these
     3                   innocent people, these innocent
     4                   employees that have careers that they
     5                   make stuff here in our country and you
     6                   go attack them for no reason?                     This is
     7                   bizarre.
     8                                   This whole thing it bizarre.
     9                   This is probably one of most bizarre
    10                   things I've ever seen in my life.                     That
    11                   anybody would be so slimy to go after.
    12                   Someone -- I don't even know that your
    13                   client -- well, let's pick My Pillow
    14                   because I bet Mike Lindell's got money.
    15                   Disgusting.
    16                                   MR. CAIN:            Objection; the
    17                   lack of responsiveness.
    18                                   THE WITNESS:            You asked me.
    19
    20                   By Mr. Cain:
    21           Q       My question -- well, let me ask you
    22                   this --
    23           A       -- do you have any ill will?                  I just
    24                   told you -- yeah, you're a slimy
    25                   lawyer.

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     1                                   MR. MALONE:          Let him ask him
     2                   questions.
     3                                   THE WITNESS:          Okay, I'll
     4                   wait for the next question.
     5
     6                   By Mr. Cain:
     7           Q       And you included Dr. Coomer in that,
     8                   you have ill will.             In fact, you called
     9                   him, before we even started the
    10                   deposition, when you went to greet you,
    11                   a disgusting slime; didn't you?
    12           A       Huh?
    13           Q       You called him disgusting slime before
    14                   we started --
    15           A       -- I -- I was -- I was looking down.
    16                   Did I say that to him?               Is that what
    17                   he's telling you?
    18           Q       Yeah.
    19           A       I think -- let me just tell you,
    20                   anybody that would do what you and this
    21                   guy have done is disgusting, it's
    22                   slimily, you're an ambulance chasing,
    23                   slimy, scumbag lawyer.
    24                                   And you're a money-grubbing,
    25                   evil person.         And your client there for

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     1                   him going after My Pillow and my
     2                   employees, same thing.               End of story.
     3                                   To attack a USA company like
     4                   this, yeah, you're a traitor to the
     5                   United States.           You are disgusting.
     6           Q       All right.
     7           A       End of story; there's no way around it.
     8                   You guys can't explain yourself.
     9           Q       Let's get back to --
    10           A       -- I don't care if you put something in
    11                   writing or not with Ruddy, he told me
    12                   what the deal was.
    13           Q       Mr. Lindell, I've now told you -- I --
    14                   I haven't marked it down, but several
    15                   times that you need to respond to my
    16                   questions and not --
    17           A       -- you asked me if I have any ill will.
    18                                   MR. MALONE:          Wait -- don't
    19                   -- just --
    20                                   THE WITNESS:          -- that was
    21                   the question that I heard.
    22                                   MR. MALONE:          Just wait for
    23                   his next question.
    24
    25

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     1                   By Mr. Cain:
     2           Q       I asked you a yes or no question which
     3                   was, didn't you call Dr. Coomer
     4                   disgusting slime before we started this
     5                   deposition?
     6           A       Here I'll call him right -- he's a
     7                   disgusting slime.
     8           Q       All right.
     9           A       For what he did.
    10           Q       Okay.
    11           A       And what he's doing.                 Currently doing.
    12           Q       And you say that without having seen
    13                   the settlement agreement between
    14                   Newsmax and Dr. Coomer, Number 1;
    15                   right?
    16           A       Chris Ruddy told me, yes.                 I haven't
    17                   seen it in writing.              I -- I go by what
    18                   a guy -- when a guy said you can't come
    19                   on anymore and here's the evidence.
    20                                   But I don't have to see your
    21                   agreement.        He said it and the proof is
    22                   in the pudding.           If the numbers -- if
    23                   he'd a let me on, I would've said,
    24                   "Okay, maybe he's just saying that."
    25                   But he's not.

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     1                                   This is real to me.                This is
     2                   -- we have suffered millions and
     3                   millions of dollars because of you and
     4                   him.     Do I -- is that considered a
     5                   slimy for your own little game?                     It's
     6                   disgusting.
     7                                   MR. CAIN:            Objection;
     8                   non-responsive.
     9
    10                   By Mr. Cain:
    11           Q       Mr. Ruddy testified that he told you
    12                   that your election fraud claims didn't
    13                   hold water, and that's why he didn't
    14                   want you on the air.
    15           A       Not true.
    16           Q       Did he tell you that?
    17           A       No, not true at all.                 Not true at all.
    18                   But you want me to tell you what Mr.
    19                   Ruddy said?
    20           Q       No.
    21           A       Okay.
    22           Q       That's not what I asked you.
    23           A       That's not true at all.
    24           Q       The last time you appeared on --
    25           A       -- ask me, I want to put it in the

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     1                   record.
     2                                   THE WITNESS:          Can you ask me
     3                   something?
     4                                   MR. MALONE:          Mike, I can ask
     5                   you questions at the end.
     6                                   THE WITNESS:          Okay.
     7                                   MR. MALONE:          Okay.
     8                                   THE WITNESS:          I want to put
     9                   it in the record what Chris Ruddy said
    10                   about the election crime.
    11                                   MR. MALONE:          Okay.        In the
    12                   meantime --
    13                                   THE WITNESS:          Yeah.
    14                                   MR. MALONE:          -- answer his
    15                   questions.
    16                                   THE WITNESS:          Make sure I
    17                   put that in the there at the end.
    18                   Because he did not say that at all.
    19
    20                   By Mr. Cain:
    21           Q       So Coomer's disgusting; I'm disgusting.
    22                   You also called Judge Wang disgusting
    23                   in your first deposition; do you recall
    24                   that?
    25           A       100 percent.         She was disgusting,

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     1                   because she didn't make a ruling to
     2                   either dismiss this case or not.                     So
     3                   she finally did after I made it public
     4                   that she should.
     5                                   That's disgusting that she
     6                   did not do that for nine or ten months.
     7                   If somebody was out there that didn't
     8                   have money and that just that somebody
     9                   was suing this frivolous, insane
    10                   lawsuit you guys are putting up against
    11                   my employees, she should've made a
    12                   decision and she finally did after I
    13                   called her out.
    14                                   Disgusting.          Absolutely
    15                   disgusting.        Which she could -- every
    16                   judge in the country could start doing
    17                   that.     'Oh, just go ahead and do all
    18                   your stuff and spend all your money and
    19                   then I'll rule if it's a frivolous case
    20                   or not'.
    21           Q       And she denied your motion to dismiss;
    22                   right?
    23           A       Yes.     But at least she made a motion
    24                   instead of sitting on her butt and not
    25                   doing nothing.

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     1           Q       Okay.     And do you think she's disgust
     2                   -- disgusting as well because of her
     3                   rulings in your case?
     4           A       No, absolutely not.              It's because she
     5                   didn't make a ruling.                Do -- did you
     6                   listen?      You got ears?            She did make a
     7                   ruling and she made me -- people spend
     8                   all this money.
     9                                   If -- if judges started
    10                   doing that in our country, it would --
    11                   people would go broke.                Anybody can go,
    12                   "You better give us money; I'm an
    13                   ambulance chasing lawyer," because
    14                   otherwise the judge is not gonna make a
    15                   -- a rule that's it's a frivolous case.
    16                                   And we're gonna go out nine
    17                   months and you're gonna have to do
    18                   discovery, and everything else, and
    19                   spend money, and I'm gonna ruin you.
    20                   But if you give me a couple hundred
    21                   thousand, I won't do it."
    22                                   That's what -- that's what's
    23                   wrong.     And she was wrong.              Judge Wang
    24                   or whatever her name was, should've
    25                   made that ruling last summer, and she

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     1                   didn't.      And I had to call her out on
     2                   it.
     3                                   What she did was -- by not
     4                   making that ruling was disgusting to
     5                   the judicial system in the United
     6                   States.      She finally did it because I
     7                   called her out publicly.                There's your
     8                   answer.
     9                                   REPORTER'S NOTE:            Whereupon,
                                         a discussion is conducted
    10                                   off the record.
    11
    12                   By Mr. Cain:
    13           Q       Is this episode with Mr. Ruddy also the
    14                   reason that you have said that Dr.
    15                   Coomer committed treason?
    16           A       Committed what?
    17           Q       Treason.
    18           A       I didn't say -- what are you talking
    19                   about?     Show me the quote where I said
    20                   that.     I called him a traitor.
    21           Q       Okay.     You said that he committed
    22                   treason.      He was treasonous.
    23           A       Count -- show me the quote?
    24           Q       You don't remember saying that?
    25           A       I'd -- I'd have to see the quote

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     1                   because I only made one quote about
     2                   him.     Period.
     3           Q       Well, let me ask it this way.                     Do you
     4                   recall ever saying that Dr. Coomer was
     5                   treasonous?
     6           A       I -- if it -- if it was said -- there
     7                   only two quotes I made -- or one quote
     8                   I ever made of him before he served me
     9                   papers.
    10                                   If I said it had after he
    11                   served me papers, yeah, then -- then
    12                   what he's done is just disgusting what
    13                   he's done to U.S. employees.
    14           Q       I'm just asking you whether --
    15           A       -- I don't know if I said it or not,
    16                   you'd have to show me the quote.                     I
    17                   don't recall.
    18           Q       To the extent that you've said that Dr.
    19                   Coomer either committed treason or was
    20                   treasonous, is that because of this
    21                   episode with Newsmax?                Or something
    22                   else?
    23                                   MR. MALONE:           Object to the
    24                   form.
    25                                   THE WITNESS:           I don't know

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     1                   when -- if -- if I said it, and if I --
     2                   if -- if -- if I know -- if you give me
     3                   the quote that I called him a traitor,
     4                   that was directly -- that's the only
     5                   time I ever said anything about it
     6                   until he served me papers on the
     7                   capital of Colorado.
     8                                   Everything I said from then
     9                   on he served me papers for no reason,
    10                   and went after My Pillow, again, for no
    11                   reason.
    12                                   So that's -- is that
    13                   treasonous in my mind?                 The -- the only
    14                   thing I could think he's attacking me
    15                   for is for a -- a hidden agenda at that
    16                   time.     There'd be no reason to come
    17                   after me and do anything because I
    18                   never did anything to him.
    19                                   So that -- would that be
    20                   treasonous to our country?                 I don't
    21                   know, probably.
    22                                   MR. CAIN:            All right.
    23
    24                   By Mr. Cain:
    25           Q       On May 9th, 2021 --

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     1            A       (Indicating).
     2            Q       -- you went on Frankspeech --
     3            A       Right.
     4            Q       -- and -- and claimed of course that,
     5                    as you've done many times, that the
     6                    Dominion machines were used to rig the
     7                    election; do you remember doing that?
     8            A       I do it all the time.
     9            Q       Right.
    10            A       Dominion, Smartmatic, Hart -- all of
    11                    them, ES&S, I'm not -- I'm not --
    12                    they're all the same.
    13            Q       And in that segment you said that Dr.
    14                    Coomer's treasonous and that he's a
    15                    traitor to the United States of
    16                    America.
    17            A       Okay.
    18            Q       All right.
    19            A       What does that have to do with
    20                    Dominion?       It has nothing to do with
    21                    Dominion.       What -- what does that have
    22                    to do with Dominion?
    23            Q       I didn't --
    24                                    MR. MALONE:          -- Mike, you
    25                    don't have to ask him questions --

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     1                                   THE WITNESS:          Well, that's
     2                   just crazy.        (Laughing).
     3                                   MR. MALONE:          -- he doesn't
     4                   have to answer your questions.                     If --
     5                   if you answer his questions --
     6                                   THE WITNESS:          Okay.        All
     7                   right.
     8                                   MR. MALONE:          -- (inaudible).
     9                   Okay.
    10
    11                   By Mr. Cain:
    12           Q       My question was, you said those things,
    13                   you said that the Dominion machines
    14                   were used to rig the election?
    15           A       I say that everyday.
    16           Q       Okay.     And you also called Dr. Coomer
    17                   treasonous?
    18           A       On the same show?
    19           Q       Yes.
    20           A       So who cares what does that have to do
    21                   -- one have to do with other?                     What he
    22                   did with Newsmax has nothing to do with
    23                   Dominion.
    24           Q       And do you know at least at --
    25           A       -- that's just --

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     1           Q       -- one point, Mr. Lindell, it was
     2                   you're belief that Dr. Coomer was the
     3                   president of Dominion?
     4           A       I heard that later on.               Some people
     5                   said -- I said, "Who is this Coomer?"
     6                                   That was way later on, that
     7                   was like two months later -- a month
     8                   later, I went after Newsmax.                  I had
     9                   nothing to do with where he worked
    10                   before.
    11           Q       Okay.     That's -- that's why I'm asking
    12                   you these questions.
    13           A       Uh-huh.
    14           Q       I'm trying to understand what your --
    15           A       Right.
    16           Q       -- state of mind was at the time, or at
    17                   least how you -- you claim it was.
    18                                   When you went on Frankspeech
    19                   and said that Dr. Coomer was
    20                   treasonous --
    21           A       Right.
    22           Q       -- this was May 9th of 2021?
    23           A       Right.
    24           Q       It's your testimony, as I understand it
    25                   now, that that relates to this

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     1                   so-called deal with Newsmax; is that
     2                   right?
     3           A       Don't say now, because you knew that in
     4                   our previous two depositions.                     I
     5                   haven't budged from that.
     6                                   It's the truth, Chris Ruddy
     7                   and I talked on the phone and he told
     8                   me, My Pillow, I could not -- no longer
     9                   going on.       Absolutely.
    10                                   I said, "Who?"           He says, "I
    11                   -- I had a settlement agreement with
    12                   this guy, Eric Coomer."               I'm going,
    13                   "What the heck does that have to do
    14                   with My Pillow?           And who is this Coomer
    15                   guy?"
    16                                   I couldn't believe it that
    17                   some guy would just attack me and My
    18                   Pillow for no reason, out of the blue.
    19                   So that's when I went on my show, and
    20                   that's when I said what I said.
    21                                   And I was right, it cost me
    22                   -- honestly, you know what, I knew that
    23                   this was gonna happen -- there it is,
    24                   right there (indicating).
    25                                   I knew by what Ruddy told me

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     1                   on the phone it was a huge hit, and I
     2                   was gonna -- I'm going why would he do
     3                   this?     Why would you do this, sir, to
     4                   me?
     5                                   That's disgusting, I'm
     6                   telling you.         I can't even believe it
     7                   to this day.
     8                                   MR. CAIN:            Tell you what,
     9                   since you've referred to that multiple
    10                   times.     Let's mark that.              Mr. Lindell,
    11                   can you take that sheet out?
    12                                   THE WITNESS:            No, I'm not
    13                   giving you my sheet.
    14                                   MR. MALONE:            Mike?
    15                                   THE WITNESS:            What?
    16                                   MR. CAIN:            Yeah, that's part
    17                   of the --
    18                                   MR. MALONE:            -- it's okay.
    19                                   MR. CAIN:            -- record of this
    20                   deposition.
    21                                   THE WITNESS:            What?      No, I'm
    22                   not giving you my notes.                 You have no
    23                   right to my notes.
    24                                   MR. CAIN:            I actually do.
    25                                   THE WITNESS:            Oh, you -- he

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     1                   does, huh?
     2                                   MR. MALONE:            He does, Mike.
     3                   And it's not legal notes.
     4                                   THE WITNESS:            (Complying).
     5                                   MR. MALONE:            If you -- if it
     6                   helps you to write things down, keep
     7                   doing it, it's just part of the record;
     8                   okay?
     9                                   MR. CAIN:            Yeah, you can use
    10                   the -- the back of it.
    11                                   THE WITNESS:            Oh, good, you
    12                   can keep it.         It's your gift to me
    13                   [sic].
    14                                   MR. CAIN:            So you look --
    15                                   THE WITNESS:            -- you look
    16                   and see if I wrote something.                     Here,
    17                   I'll write a nice note to you.                     Is that
    18                   what you want?
    19                                   MR. MALONE:            Mike
    20                   (inaudible).
    21                                   THE WITNESS:            (Laughing).
    22                                   MR. CAIN:            You can -- you
    23                   can write down whatever you want, it's
    24                   gonna be part of the case.                    It's not a
    25                   big deal.

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     1                                   REPORTER'S NOTE:              Whereupon,
                                         Michael Lindell Deposition
     2                                   Exhibit Number 187 was
                                         marked for identification.
     3
     4                                   MR. CAIN:            All right.      So
     5                   184?
     6                                   MR. MALONE:            184.
     7                                   MR. CAIN:            All right.
     8
     9                   By Mr. Cain:
    10           Q       According to Exhibit 184, which are
    11                   your notes, on the top, I'm trying to
    12                   read your handwriting it says,
    13                   "Dominion," and it says, "May 3rd,
    14                   2001."
    15                                   I don't know if you meant
    16                   2021.     Can you clarify that?
    17           A       No, this was -- that's -- that was a
    18                   note I had for something else --
    19           Q       Okay.
    20           A       -- we were talking about.
    21           Q       Okay.
    22           A       This is notes I took when him and I
    23                   were talking about another thing; it
    24                   had nothing to do with this.                   This was
    25                   the top of my notebook.

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     1           Q       All right.        "May 8th, Real Apology,"
     2                   what does that mean?
     3           A       You just told me that they -- that
     4                   Ruddy said real apology or something.
     5                   I don't know what it means.                 I'm taking
     6                   notes as you're babbling.
     7           Q       Okay.     So that wasn't taken before or
     8                   written down before your deposition?
     9           A       I don't know.          You'll have to rewind
    10                   the tape.       I don't know.           I'm just
    11                   jotting stuff down as you're bringing
    12                   them up.
    13                                   The only thing that's on
    14                   here -- this -- before I wrote these
    15                   two numbers down and I asked my lawyer
    16                   beforehand those two numbers and what
    17                   it cost me.
    18           Q       So when -- and we'll get to that --
    19                                   THE WITNESS:           -- this might
    20                   have been notes that I had taken down
    21                   when we were talking.                I don't know.
    22                                   MR. MALONE:           We can redact
    23                   those appropriately, Mike.                 I'll have
    24                   to review to see what was noted during
    25                   the deposition and what wasn't.                     It's

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     1                   the same piece of paper --
     2                                   THE WITNESS:          Yeah.
     3                                   MR. MALONE:          -- but if you
     4                   know the answers to --
     5                                   THE WITNESS:          -- I don't
     6                   know the answer.
     7                                   MR. MALONE:          -- (inaudible).
     8                                   THE WITNESS:          You know we
     9                   were talking earlier --
    10                                   MR. MALONE:          If you know the
    11                   --
    12                                   THE WITNESS:          -- I thought
    13                   that's very (inaudible).
    14                                   MR. MALONE:          If you know the
    15                   answer, you can answer to those
    16                   questions.
    17
    18                   By Mr. Cain:
    19           Q       Back to my topic that we were
    20                   discussing before we marked your notes.
    21                                   When you referred to Dr.
    22                   Coomer as treasonous, you've now
    23                   testified as to why you made that
    24                   statement.        Are there any other basis
    25                   with respect to Dr. Coomer's

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     1                   association with Dominion, his work at
     2                   Dominion, or anything along those lines
     3                   that you consider to be treasonous?
     4           A       No, I never -- I didn't even know he
     5                   worked there then when I made those
     6                   statements.
     7           Q       When --
     8           A       -- I didn't know who he was, and I've
     9                   said that numerus times to you.                     No
    10                   idea.
    11           Q       But you made those statements about Dr.
    12                   Coomer after you learned about his role
    13                   with Dominion; didn't you?
    14           A       No.     No, I made those statements --
    15                   I've only made one statement about him,
    16                   I made them because you did a direct
    17                   attack on My Pillow, Chris Ruddy told
    18                   me on the phone, I could no longer go
    19                   on, and hurting my company.
    20                                   And I went on and attacked
    21                   -- I only used Coomer's name that one
    22                   -- that one -- in that one session.
    23                                   For the next month I
    24                   attacked Newsmax and Chris Ruddy for
    25                   making a deal where I can never go on

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     1                   his show again.
     2                                   And then -- and then
     3                   anything else I said is because your
     4                   client and you sued me on the steps of
     5                   Colorado state capital.
     6                                   That's it.           I don't -- I
     7                   don't care what his past jobs were or
     8                   whatever.       I got sued and you did it on
     9                   purpose.
    10                                   You -- there was some crazy
    11                   intent there to sue me on the steps of
    12                   the capital, so I don't know what your
    13                   hidden agendas are.
    14           Q       Okay.     On -- on April 5th of 2022
    15                   you're referring to an appearance you
    16                   made at an election fraud event in
    17                   Denver; correct?
    18           A       No idea what you're talking about.
    19           Q       You said the steps of the capital,
    20                   you're referring to the event in Denver
    21                   that you spoke at?
    22           A       I was in front of the state capital.
    23                   And, yes, I don't know if you call an
    24                   event, there was people gathered.                     I
    25                   don't -- yes, there was all the media

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     1                   there, yeah --
     2           Q       All right.
     3           A       -- that's when I was served papers.
     4           Q       It was publicized as an event with you
     5                   and Tina Peters and others.
     6           A       Okay.     I don't know, I spoke there.                  I
     7                   don't know, I'd have to look back and
     8                   see who even spoke there.
     9           Q       Right.     And you in discussing the --
    10                   the election fraud narrative that you
    11                   re -- you were talking about, again,
    12                   April 5th of 2022, you were quoted as
    13                   saying quote, "It started with Eric
    14                   Coomer and Dominion based right here in
    15                   Colorado."        (Inaudible) --
    16           A       -- that was after -- I said that after
    17                   he served me papers before I even got
    18                   on the stage; do you understand that?
    19           Q       Let me finish.
    20           A       (Laughing).
    21           Q       You seem to be caught up in the timing
    22                   of this.
    23           A       No, you are -- you are.
    24           Q       I'm not.
    25           A       Go ahead.

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     1           Q       I'm not, actually.
     2           A       Okay.     Go ahead.
     3           Q       Let me finish the quote.                I'll start
     4                   from the top.          "It started with Eric
     5                   Coomer and Dominion based right here in
     6                   Colorado."
     7           A       Okay.
     8           Q       Now, what were you referring to when
     9                   you were talking about, 'it started
    10                   with Eric Coomer' --
    11           A       Okay.     I will answer this --
    12           Q       -- and Dominion (inaudible) --
    13           A       -- I will answer this as clear as I can
    14                   get it through your thick skull.                     I was
    15                   served papers before I went on those
    16                   capital steps and said that.
    17                                   I get these papers and I go,
    18                   "What are these?"             We -- I opened them
    19                   up and it's a lawsuit from a guy named
    20                   Eric Coomer.         I said, "Who the heck's
    21                   Eric Coomer?"
    22                                   And I get told by a bunch of
    23                   people, "Oh, he was the president of
    24                   Dominion.       It started here in Colorado
    25                   with him and Dominion."

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     1                                   This is all like what, 20
     2                   minutes before I go on stage or a half
     3                   hour maybe even an hour before I go on
     4                   stage.     I'm served this manila envelope
     5                   with these papers, I open it up and
     6                   your client served me papers.
     7                                   I go, "Who the heck is this
     8                   guy?"     And then all -- they tell me
     9                   over there -- and I go on stage and
    10                   it's fresh in my mind.
    11                                   This is where it all
    12                   started, everyone's telling me that,
    13                   "Oh, yeah, he was with Dominion.                     It
    14                   started here in Colorado."                 That's
    15                   where I heard it.
    16                                   So, and when you say the
    17                   timing, this is very important.                     He
    18                   served me papers, you did, before I got
    19                   on that stage.
    20                                   I have never said one thing
    21                   bad about your client until I was
    22                   served papers, other than when he
    23                   attacked My Pillow.              There's your
    24                   answer.
    25           Q       When you said it started with Eric

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     1                   Coomer and Dominion based right here in
     2                   Colorado, you were referring to the
     3                   election fraud claims that you were
     4                   making; weren't you?
     5           A       This is what people -- what the claims
     6                   I was making -- that -- what do you
     7                   mean the claims I was making?
     8           Q       Yeah, that -- that there were
     9                   fraudulent --
    10           A       -- you'd -- you'd have to see the
    11                   contents of my speech.               I don't know,
    12                   I'd have to see the contents of the
    13                   speech.
    14                                   All I know is I had just
    15                   been served papers, I'm reading --
    16                   probably reading it right off the dang
    17                   thing.     "It started right here in
    18                   Colorado."
    19                                   I said, "Who is this guy?"
    20                   "Well, he's -- he was with Dominion."
    21           Q       Okay.     You've said many, many times,
    22                   you've already referred to this in this
    23                   deposition, that Dominion was involved
    24                   in the election fraud in 2020.
    25           A       100 percent.         And that had nothing to

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     1                   do with him until that day when I found
     2                   out that he was with them.                 After he
     3                   served me papers.
     4           Q       All right.
     5           A       So in other words, in my mind, it's
     6                   going Dominion's serving me papers
     7                   again using this guy's name -- this
     8                   Eric Coomer.
     9                                   I didn't even remember his
    10                   name probably from back with Ruddy when
    11                   he did that.         All of a sudden two years
    12                   later here this guy served me more
    13                   papers from Dominion.
    14           Q       But since the time that you realized
    15                   that Eric Coomer was with Dominion,
    16                   when you were referring to what
    17                   Dominion was doing, you were also
    18                   referring to Eric Coomer?
    19           A       No.   Only that on the capital steps
    20                   because I had just been served them
    21                   papers.
    22                                   I have never referred to
    23                   Eric Coomer in any Dominion stuff,
    24                   period.     Ever.        Other than that capital
    25                   steps when he just served me papers.

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     1                                   It was 20 minutes later, 15
     2                   minutes later, it's kind of fresh if my
     3                   head.    "Who the heck's this Eric
     4                   Coomer?"      "Oh, yeah, he was with
     5                   Dominion."
     6                                   So in my mind it was another
     7                   lawsuit against me from Dominion, and
     8                   then I find out this Eric Coomer is the
     9                   same guy that attacked me back with
    10                   Ruddy.
    11           Q       You go on to say, after you said, "It
    12                   started with Eric Coomer and Dominion
    13                   based..."       Oh, actually, let me -- let
    14                   me circle back to that.               "It started
    15                   with Eric Coomer..."
    16           A       I got to go on (inaudible), so you're
    17                   gonna -- we can get one more question
    18                   and I go got to go on TV.
    19                                   MR. MALONE:          You want to
    20                   request a break?
    21                                   THE WITNESS:          What's that?
    22                                   MR. MALONE:          Mike, he'll ask
    23                   his question, you'll give an answer and
    24                   then we'll take a break.
    25                                   THE WITNESS:          Yeah, that's

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     1                   what I said.
     2                                   MR. MALONE:            Okay.
     3                                   THE WITNESS:            I'm just
     4                   looking.      I'm -- I'm -- that's fine.
     5                                   MR. MALONE:            Okay.
     6
     7                   By Mr. Cain:
     8           Q       You have to go on TV, is that what you
     9                   said?
    10           A       Yeah, my show I do everyday.                    Yes.
    11           Q       For how long?
    12           A       It'll be until 11 o'clock.
    13                                   THE WITNESS:            You were
    14                   supposed to have told him; did you?
    15                                   MR. CAIN:            He said we had a
    16                   break --
    17                                   THE WITNESS:            Okay.     Yeah.
    18                                   MR. CAIN:            -- at 10:40.
    19                                   THE WITNESS:            It's 10 --
    20                   it's at 10 -- it's at 10:50, but if you
    21                   -- when they Skype, yeah, I got to make
    22                   sure it's working, I've never done it
    23                   here.
    24                                   MR. CAIN:            Okay.
    25                                   THE WITNESS:            You probably

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     1                   got a couple questions.               Let's see what
     2                   time...     Yeah.
     3
     4                   By Mr. Cain:
     5           Q       Are you saying to the jury, since
     6                   they'll likely be watching this --
     7           A       (Indicating).
     8           Q       -- when you said on the steps of the
     9                   capital in Denver --
    10           A       Right.
    11           Q       -- "...it started with Eric Coomer and
    12                   Dominion based right here in Colorado."
    13           A       Right.
    14           Q       The 'it' that you're referring to isn't
    15                   the election fraud claims that you were
    16                   making?     "It started here, right in
    17                   Colorado with Eric Coomer"?
    18           A       I don't know, I'd have to see what --
    19                   what -- what was before that.                     They
    20                   could've been talking about why he
    21                   served me papers.
    22                                   I hadn't read the complaint,
    23                   I opened it up when I was served right
    24                   in front of all the media and it says,
    25                   "Eric Coomer versus Mike Lindell," I'm

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     1                   going, "What the heck?"
     2                                   And My Pillow and all this
     3                   stuff and I'm going, "Who is this guy?"
     4                   Everybody filled me in.               They go, "Oh,
     5                   it started...", they go, "It right here
     6                   -- all this stuff started right here in
     7                   Colorado."
     8                                   All (inaudible) -- you could
     9                   call is law fair, I guess, that's what
    10                   -- you could call it law fair, I think
    11                   that's what I was talking about, law
    12                   fair.
    13                                   That's what these -- law
    14                   fair, that it started in Colorado, the
    15                   law fair.       That's what it was.               That's
    16                   probably it.         Law fair suing people for
    17                   -- for free speech.              That's what I was
    18                   referring to.
    19           Q       So then as you sit here today, Mr.
    20                   Lindell --
    21           A       (Indicating).
    22           Q       -- you are aware of no facts to support
    23                   any allegation of election fraud by Dr.
    24                   Coomer during or leading up to the 2020
    25                   election?

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     1           A       I didn't accuse him of that.                  I accused
     2                   him of suing me -- that law fair
     3                   stated.     That's when you say, 'it,' I'm
     4                   sure that's what it was.
     5                                   It started here in Colorado,
     6                   people are telling me that he started
     7                   lawsuits, he was the first one to start
     8                   lawsuits that's -- that's what they
     9                   were telling me.
    10                                   Now you did refresh my
    11                   memory.     Yes, absolutely.              Him and
    12                   Dominion started law fair suing people
    13                   for no reason.           That's what -- that's
    14                   when he -- and he sued me 20 minutes
    15                   earlier before I got up there and said
    16                   that.
    17                                   MR. CAIN:            Objection;
    18                   non-responsive.
    19                                   THE WITNESS:            I never
    20                   accused him of anything other than
    21                   being a -- attacking My Pillow and then
    22                   after he serves me papers for no
    23                   reason.
    24                                   MR. CAIN:            Objection;
    25                   non-responsive.

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     1                   By Mr. Cain:
     2           Q       As you sit here today, isn't it true
     3                   that you are aware of no facts that Dr.
     4                   Coomer was involved in rigging the 2020
     5                   presidential election, either before
     6                   the election --
     7           A       -- absolutely not.             I have no clue
     8                   about what he did.             It had nothing to
     9                   do with what we're talking about.                   But,
    10                   yes, absolutely not.
    11           Q       Okay.
    12           A       I don't know of anything.
    13           Q       And the same question for Dominion.
    14           A       Dominion, I got enough on them they
    15                   could -- I can fill it from here to the
    16                   sun and back.
    17                                   Dominion is not that -- of
    18                   course, Dominion's got -- I've got
    19                   stuff on them.           It has nothing to do
    20                   with your -- your client.
    21           Q       In -- in general --
    22           A       What?
    23           Q       -- what facts do you claim, as you sit
    24                   here today, that support the -- the
    25                   allegation that Dominion was involved?

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     1           A       I have -- I have so much and I'm not
     2                   gonna sit here, it would take a week to
     3                   debrief you -- to give you everything.
     4                   It would take a week, it would take a
     5                   month.
     6           Q       Let's do the top three.
     7           A       What?
     8           Q       Give me the top three.
     9           A       Cast Vote records that come right out
    10                   of the machines, we have one third of
    11                   the country in the United States.
    12                                   Cast Vote records they --
    13                   they have come right out of the
    14                   machines.       100 percent, all of them
    15                   show computer manipulation with
    16                   Dominion.       Inside their machines.
    17           Q       Can you spell that?
    18           A       What?
    19                                   MR. CAIN:            For Nate.
    20                                   THE WITNESS:            Cast Vote
    21                   records.      Cast, C-A-S-T.             Cast Vote
    22                   records you get them from the Secretary
    23                   of States, under the Freedom of
    24                   Information Act.
    25                                   MR. CAIN:            All right.

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     1                                   THE WITNESS:          The registered
     2                   voter rolls that I have from every
     3                   state.     We've got that, that's fact.
     4                   They come right from the machines.
     5                                   I have -- I also have -- we
     6                   have -- I have a Mesa County image
     7                   right up on Frankspeech that came right
     8                   out of the machines right there.
     9                                   That shows two sets of books
    10                   where Dominion went in with Sec -- ah,
    11                   Governor Griswold, Jena Griswold, went
    12                   in and called the trusted build and
    13                   deleted all of the evidence for all
    14                   these Dominion cases, which is illegal.
    15                                   It's called you can't delete
    16                   evidence in a case.              And you certainly
    17                   can't delete them before 22 month are
    18                   up by Federal law.             They in went in and
    19                   deleted, we have 100 percent proof of
    20                   that.
    21                                   That's a -- so there your
    22                   top three.        They all come right out of
    23                   the machines.          Period.
    24
    25

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     1                   By Mr. Cain:
     2           Q       Cast Vote records --
     3           A       -- Cast Vote records, the registered
     4                   voter who voted --
     5                                   MR. CAIN:            -- objection.
     6                                   THE WITNESS:            And because
     7                   that -- that shows an algorithm and --
     8                   and every place there was dominion
     9                   machines.
    10                                   And we have also the Mesa
    11                   County image on Frankspeech and we have
    12                   proof that they deleted all of the
    13                   evidence, which I call in my case -- in
    14                   Colorado, this if for my Dominion case.
    15                                   They deleted it, and they
    16                   can't -- and they had to hold it until
    17                   -- by -- I think Colorado is even 24
    18                   months, by Federal law they had to hold
    19                   it until September 3rd of 2022.
    20                                   They didn't.            They deleted
    21                   it all -- all over Colorado deleted it
    22                   illegally a year earlier.
    23
    24                   By Mr. Cain:
    25           Q       'They' being?

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     1           A       Jena Griswold and Dominion.
     2           Q       Okay.    And she's not the governor,
     3                   she's -- she's secretary --
     4           A       -- I said the Secretary of State, Jena
     5                   Griswold.
     6           Q       Well, you said the governor.
     7           A       Okay.    I made a mistake, excuse me.
     8           Q       Okay.    And you're claiming then also
     9                   that Dominion machines have registered
    10                   voter roll data --
    11           A       -- no, no, no, we've got the rolls
    12                   right from the state.                These are things
    13                   we got that you can't -- they won't let
    14                   us look in the machines.
    15                                   We actually have the image
    16                   that came from the machines and the
    17                   registered -- all these stuff that who
    18                   voted, when they voted, before, during
    19                   and after.
    20                                   So you show computer
    21                   manipulation.          We have all of this.            We
    22                   have piles of evidence.                We also have
    23                   Dennis Montgomery's ev -- we have so
    24                   much -- they're -- we have piles -- I
    25                   can sit here -- I -- we have more

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     1                   evidence against these machine
     2                   companies than you'll ever need in
     3                   history.
     4           Q       Okay.
     5           A       It has nothing to do with (inaudible).
     6           Q       I just, again, I know you have your
     7                   break, let me follow up on this line.
     8                   (Clearing throat).
     9                                   What does Dominion have to
    10                   do with the registered voter rolls
    11                   maintained by the Colorado Secretary of
    12                   State, for example?
    13           A       What's that?
    14           Q       What does Dominion have to do with the
    15                   registered voter rolls maintained by
    16                   the State?
    17           A       Because -- no, we -- we get them.                   We
    18                   got them all under the Freedom of
    19                   Information Act.
    20                                   I had to pay for them and
    21                   stuff, it shows computer manipulation,
    22                   it shows all this, that inside machine
    23                   manipulation.
    24           Q       I asked -- I asked you about what
    25                   Dominion did, and you're saying that

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     1                   the registered voter rolls were
     2                   manipulated by presumably some external
     3                   factor; right?
     4           A       They -- they -- the inside that they --
     5                   them -- inside the machines, they were
     6                   -- they were manipulated all the -- all
     7                   of our voting, all of your evidence of
     8                   the -- the -- our 2020 election was
     9                   manipulated.
    10                                   And -- and in -- and in
    11                   Colorado we even have more because
    12                   there was a down -- a down election
    13                   that was manipulated.
    14                                   This is hard evidence
    15                   sitting up on Frankspeech.                 It says,
    16                   "Inside the machine," 100 percent
    17                   evidence.       There's -- you can't get
    18                   around it, it's just it's never gotten
    19                   any media attention because it's been
    20                   suppressed and suppressed.
    21                                   That's why if you remember I
    22                   asked Dominion to sue me, remember that
    23                   part?    Do you remember that?                Do you
    24                   recall that?         When I asked them to sue
    25                   me and so I could get all the evidence

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     1                   out there.
     2                                   It had nothing to do with
     3                   Eric Coomer.
     4                                   THE WITNESS:            I got to get
     5                   on my show.        So we're going to have to
     6                   take a break.          I can't get around --
     7                                   MR. CAIN:            -- let me just --
     8                                   THE WITNESS:            -- I'm not
     9                   gonna have you cost me more money.
    10                                   MR. CAIN:            I understand.
    11
    12                   By Mr. Cain:
    13           Q       Are -- are you saying though that
    14                   Dominion machines have the registered
    15                   voter roll data on -- on them,
    16                   specifically?
    17           A       No, I didn't -- who said that?
    18           Q       I'm asking --
    19           A       -- I said we get these -- you need to
    20                   understand, the voter rolls --
    21           Q       -- I asked you -- listen you -- you --
    22                                   MR. MALONE:            -- Mike.
    23
    24                   By Mr. Cain:
    25           Q       I asked you about what Dominion did,

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     1                   you gave me the top three, Cast Vote
     2                   records, registered voter rolls, Mesa
     3                   County images?
     4           A       Right.
     5           Q       I asked you then what does the
     6                   registered 'manipulation' as you put
     7                   it, of the registered voter rolls, have
     8                   to do with Dominion?                 What's that --
     9           A       -- when they go through -- these
    10                   machines are all online; okay?                    When
    11                   they go through -- when the registered
    12                   voters -- when we went -- after the
    13                   fact, like I say Alabama, I had to pay
    14                   $40 thousand to get their voter roll.
    15                                   Who voted, what -- when they
    16                   voted and then who was taken off the
    17                   voter rolls.         And you look in the
    18                   inside of the machines these come from
    19                   -- come from -- they all go through the
    20                   machine.
    21                                   So all this data that went
    22                   through these computers, we've took the
    23                   data, experts have taken the data, and
    24                   showed that there was -- that the --
    25                   that the elections were manipulated.

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     1                   100 percent.
     2                                    You can sit there and you
     3                   can go up on Frankspeech, watch it.                       I
     4                   just had a whole conference on it, I
     5                   can show you how a whole thing of it.
     6                                    It doesn't -- it just says
     7                   -- and we have piles of it.                   Not even
     8                   counting that, there's piles and piles
     9                   of evidence.
    10                                    That's why my whole thing
    11                   right now is to secure our election
    12                   platforms, get rid of the machines and
    13                   computers in our elections.                   That's
    14                   what I'm all about.
    15                                    You can sit here and say
    16                   anything else, not true.                  I have been
    17                   fighting to secure our elections for
    18                   two and a half years.                 You can't use
    19                   computers in our elections.                   Period.
    20                                    MR. CAIN:           Objection;
    21                   non-responsive.
    22                                    THE WITNESS:           Okay.     I got
    23                   to get on this, I'm sorry.                   I can't --
    24                   I can't let it cost me more money than
    25                   these guys already have.                  So...

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     1                   By Mr. Cain:
     2           Q       Can you answer the question?
     3                                   THE WITNESS:           What?
     4                                   MR. MALONE:           We are -- we're
     5                   gonna take a break.
     6                                   THE WITNESS:           Yeah.
     7                                   MR. MALONE:           Okay.
     8                                   THE WITNESS:           Good.
     9                                   MR. MALONE:           We'll come
    10                   back.
    11                                   THE WITNESS:           Good.
    12                                   MR. MALONE:           Off the record.
    13                                   THE VIDEOGRAPHER:              We are
    14                   going off the record.                The time now is
    15                   10:42.
    16                                   REPORTER'S NOTE:              Whereupon,
                                         a short recess is taken.
    17
    18                                   THE VIDEOGRAPHER:              We are
    19                   back on the record.              This is the start
    20                   of media Number 2.             The time is 11:04.
    21
    22                   By Mr. Cain:
    23           Q       Mr. Lindell, do you have Exhibit 184
    24                   handy?     I want to make sure that
    25                   we're...      There you go, let's just --

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     1                   let's keep that separate from --
     2           A       All right.
     3           Q       -- your other material.               Following up
     4                   on what we were discussing, I had asked
     5                   you about Dominion, you gave me the top
     6                   three, the third was Mesa County.
     7                                   Now the Mesa County election
     8                   management system was imaged and then
     9                   that -- some of that data was presented
    10                   during a cyber symposium; isn't that
    11                   right?
    12           A       I don't know.          I don't know.          I don't
    13                   believe so.
    14           Q       You don't remember?
    15           A       But I don't know.             I don't know.        I
    16                   didn't put any -- I'm not the guy that
    17                   put people up there, and so I have no
    18                   idea.
    19           Q       You don't remember Tina Peters being
    20                   there and talking about --
    21           A       -- I know Tina Peters being there.
    22                   That's the first time I met her.
    23           Q       Yeah.    And you don't remember Ron
    24                   Watkins also --
    25           A       -- no, I wasn't -- I was up and was

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     1                   interviewed then, I have no idea.                   All
     2                   the stuff that went on that day, I was
     3                   in an interview with CNN and another
     4                   company, or another outlet, for about
     5                   five hours.
     6                                   So all that stuff I had
     7                   never seen any of it.
     8           Q       Did you participate in obtaining images
     9                   of the election management system in
    10                   Mesa County?
    11           A       No.
    12           Q       Do you know who did?
    13           A       No idea.
    14           Q       No idea?
    15           A       No idea.      Absolutely, no idea.
    16           Q       When the FBI took your cell phone, do
    17                   you know whether that was in connection
    18                   with the Mesa County imaging of the
    19                   election management system or something
    20                   else?
    21           A       I don't know.
    22           Q       Okay.
    23           A       You'd have to ask them.
    24           Q       Have you been informed by the FBI that
    25                   you're the subject of any investigation

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     1                   relating to that?
     2           A       No, I'm not.         They -- I sued them for
     3                   my phone, sued the government.
     4           Q       Okay.
     5           A       That's the last time I heard about them
     6                   and they -- that was about two months
     7                   ago.
     8           Q       Have you gotten your phone back?
     9           A       No.     We -- we just sued for that, and I
    10                   think it was two months ago.                  They
    11                   haven't ruled yet.
    12           Q       Has the FBI told you why they haven't
    13                   returned your phone to you?
    14           A       They told the judges that they -- the
    15                   judges said to them, "Why don't you
    16                   take an image?           He runs all of his
    17                   business off that."
    18                                   And they said, "Well,
    19                   because we," she gave some lame excuse
    20                   about the physical phone.                And -- and
    21                   then they asked her -- this -- the
    22                   government now, and they asked her --
    23                   they said, "Why -- who's doing the
    24                   attorney-client privilege in there?"
    25                   And she says, "Well, we're looking at

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     1                   that."
     2                                   And it was very kind of a
     3                   crazy thing I've ever seen in court.
     4                   Like the government really had no
     5                   explanation, I assume the judges are
     6                   gonna rule against them because this
     7                   was a -- I'm not-- I'm not part of
     8                   anything.
     9                                   We don't even know why they
    10                   took it.
    11           Q       Have you been interviewed by the FBI --
    12           A       No.
    13           Q       -- in connection with any --
    14           A       No.
    15           Q       -- election-related matters?
    16           A       No.
    17           Q       Going back to the first segment when we
    18                   were talking about Chris Ruddy, I want
    19                   to try to put a cap on that.
    20           A       (Indicating).
    21           Q       You said at the end -- well, I don't
    22                   know when it was, but essentially that
    23                   as of May 1st of 2021 you were told
    24                   that you could no longer go on Newsmax;
    25                   is that accurate?

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     1           A       It's by Chris Ruddy directly, yep.
     2           Q       And I apologize if you've said this in
     3                   one of your answers, but did Mr. Ruddy
     4                   explain to you specifically that it was
     5                   because of Dr. Coomer or me that caused
     6                   that?
     7           A       Directly he said it was because of a --
     8                   of a settlement with a -- a guy named
     9                   Eric Coomer.
    10           Q       Okay.    And...        And since then, early
    11                   May of 2021, you hadn't made any
    12                   appearances on Newsmax?
    13           A       No, they wouldn't let me.                I've asked
    14                   numerous times.           Said can we talk about
    15                   going with Mr. Pillow and stuff.
    16           Q       But you run -- you still run and have
    17                   run through that period of time from
    18                   May of 2021 to the present, ads for
    19                   your company?
    20           A       Ads what?
    21           Q       Ads for your company.                My Pillow ads?
    22           A       On where?       On Newsmax?           Yeah.
    23           Q       Newsmax.      Yep.
    24           A       I do on every station, every single
    25                   station in the country.

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     1           Q       Okay.
     2           A       He doesn't have a problem me putting
     3                   advertisement there.                 He just won't
     4                   have me on to promote My Pillow or my
     5                   products.
     6           Q       Okay.    And does Newsmax -- when an --
     7                   when you run an ad on Newsmax, do you
     8                   give them the Newsmax promo code on the
     9                   ad?
    10           A       Huh?    Do I gave -- there's promo codes
    11                   on the ads.        But, no, those ads are --
    12                   those ads are different.                 Those ads are
    13                   directly related to the ad.                 It has
    14                   nothing to do with the Newsmax, what
    15                   Chris used to do before.
    16           Q       No, I -- I get that.
    17           A       No, I'm answering your question.                   Every
    18                   single ad, no matter where it is in
    19                   this country, is directly related to
    20                   that ad at that moment in time.
    21                                   So there could be Cool 103,
    22                   which would be maybe a towel on Newsmax
    23                   at that moment in time.                 Whether it's
    24                   4:00 in the morning an ABC or 6:00 at
    25                   night on CNN.          Everyone is tied to

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     1                   that, so when you run an ad, if it
     2                   doesn't -- at least break even, you
     3                   don't run it again.
     4                                   But what I'm talking about
     5                   with Newsmax is just like I have at
     6                   other -- at other stations where I go
     7                   on these are the -- where I go on to
     8                   make an appearance, "Hey use promo code
     9                   Newsmax.      Help -- thanks for helping My
    10                   Pillow today."
    11                                   You know -- you know, those
    12                   are the -- those are live appearances.
    13                   And then also in e-mails and -- and
    14                   this is what's been shut off there.
    15                                   That's the valve that was
    16                   shut off.       And that's a very important
    17                   valve as I just left the room here to
    18                   go do another show while the war room
    19                   -- it was the war room and I went on
    20                   there and all I talked about for seven
    21                   minutes was My Pillow, and -- and my
    22                   company.
    23                                   And -- and advertising on --
    24                   talking about our products.                 And -- and
    25                   now -- and that -- that will manifest

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     1                   too.    And that's just using the generic
     2                   code war room where if I did ads on --
     3                   on Real America's Voice -- if I do ads,
     4                   it's tied to a direct commercial.
     5                                   So there's a difference
     6                   between live things and commercials.
     7                   That's the part you need to understand.
     8           Q       Yeah.
     9           A       That's the parted you destroyed.
    10           Q       I didn't do anything, but the -- I
    11                   understand that, we talked about that
    12                   in your last deposition.
    13                                   But when I'm -- I'm trying
    14                   to -- the part I don't understand is
    15                   you only could run ads I get that, but
    16                   you've testified that there's $2.7
    17                   million in reduced revenue during the
    18                   time period in question.
    19           A       (Indicating).
    20           Q       And so my question is, is that solely
    21                   Newsmax promo code --
    22           A       (Indicating).
    23           Q       -- related or their Cool 123 is that
    24                   what I'm --
    25           A       -- no, it's just Newsmax -- it's just

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     1                   the -- the ones where he would have me
     2                   on to talk about the products and stuff
     3                   or to do special e-mails, or he'd put
     4                   banner ads up for me for free on
     5                   Newsmax.
     6                                   He would do all this stuff
     7                   because I was a great sponsor on buying
     8                   ads on his shows.             That's the part, the
     9                   valve that got shut off was all the
    10                   stuff that Newsmax and other stations
    11                   do because I'm a big advertiser there.
    12                                   So they want to help my
    13                   company and help the My Pillow
    14                   employee, and help My Pillow.                     That's
    15                   the part that was shut off, the valve,
    16                   and completely shut off.
    17                                   So when you see on this
    18                   paper $300 thousand that bled over to
    19                   the next four months, that's just the
    20                   people, "Okay, there were remember when
    21                   I used to go on air and stuff before I
    22                   was cut off completely."                (Indicating).
    23           Q       Okay.    So Mr. Ruddy though I think was
    24                   very clear to this point, but he
    25                   indicated to you, did he not, that

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     1                   Newsmax had never been able to verify
     2                   or corroborate your claims of election
     3                   fraud, and, therefore, you couldn't
     4                   come on and talk about them.                  Didn't he
     5                   tell you that?
     6           A       No.   You want to know what he told me,
     7                   is that's not question?               He said, yeah,
     8                   that's not what he said.
     9           Q       So your testimony is, is he's never
    10                   told you that they can't verify your
    11                   claim?
    12           A       Here's what he said exactly.
    13           Q       Did he tell you that or not?                  "I can't
    14                   verify this.         We can't have you on
    15                   because we can't verify"?
    16           A       No, that's not what he said.                  He said,
    17                   "Mike, I don't have the evidence that
    18                   you have."        I said, "Well, I'll give it
    19                   to you.     I'll give it to your lawyers."
    20                                   That's what I said to him,
    21                   if you want to talk those -- that
    22                   thing.     That's exactly what I said, I
    23                   said, "Chris, I have all the evidence,
    24                   why right now your lawyers accept it?"
    25                                   We've even offered it -- we

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     1                   offered it to other places too, Fox
     2                   News, none of them wanted to take -- to
     3                   have the evidence.             And they -- and
     4                   we've said you know.
     5                                   So Chris -- that's what he
     6                   said, he goes, "Mike, I don't have the
     7                   evidence you have."              I go, "Well, Chris
     8                   I'll give it to your lawyers.                     Are you
     9                   kidding me?"
    10                                   And that -- that's even
    11                   documented that my -- I believe in our
    12                   cases where we offered them, you know.
    13                   I -- I -- I personally offered it to
    14                   him.
    15                                   You know I said, "What are
    16                   you talking about, Chris?"
    17           Q       But what evidence did you offer to
    18                   Newsmax to support your claims?
    19           A       I offered him evidence in -- in any
    20                   machine things.           Because he said
    21                   there's been no, you know, "We don't
    22                   have evidence of machine manipulation,
    23                   of computer manipulation."
    24                                   I said, "Well, we'll give --
    25                   we'll give you everything we have," you

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     1                   know.
     2           Q       Have you given me everything you've
     3                   got?
     4           A       Of evidence?
     5           Q       Yeah.
     6           A       I don't know.          You'll -- you'll have to
     7                   ask my attorneys.             I don't know.        You
     8                   guys do your discovery and trying burn
     9                   My Pillow out of money.
    10                                   Why don't you ask -- ask my
    11                   attorneys or whatever you were supposed
    12                   to get, you probably got.                You probably
    13                   got 32 terabits of -- from Dennis --
    14                   this -- this is my -- this -- I don't
    15                   know what about your discover was here
    16                   because this has nothing to do with the
    17                   -- with the election or the voting
    18                   machines.
    19           Q       Well, when you offered to give the
    20                   evidence, as you put it, to Mr. Ruddy
    21                   what specific evidence were you
    22                   referring to?          Specific evidence.
    23           A       Any evidence we had at that time.                   I
    24                   don't even know when he -- when he said
    25                   this, this had nothing to do with Mr.

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     1                   Coomer.
     2                                   This -- what he was saying
     3                   back then was the deal with Coomer was
     4                   a settlement of something where he
     5                   couldn't have me on anymore.
     6           Q       What evidence did you -- you said this
     7                   was in May of 2021.              What evidence did
     8                   you have that --
     9           A       -- in May of 2021 we had all the Dennis
    10                   -- I had all the Dennis Montgomery
    11                   stuff.     I had piles of money I had
    12                   spent on private investigators, this
    13                   firm, or whatever it is.
    14                                   I -- I don't know.                You'd
    15                   have to turn back time and whatever my
    16                   lawyers, if you asked for that, they
    17                   can give you all.             We had piles of it.
    18                   It was just the beginning.
    19                                   It was so much evidence, I
    20                   didn't know what to do with it all.
    21                   And it just got bigger over the last
    22                   two years.
    23                                   We didn't know about the
    24                   Cast Vote records then, so I did not
    25                   have them.        The Cast Vote records came

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     1                   in this June of -- when I first found
     2                   out how -- that they come right out of
     3                   the machines was June of 2022 -- 2022.
     4                                   And that's when I put a call
     5                   out to -- to everybody to go do your
     6                   freedom of rights and asked for Cast
     7                   Vote records.
     8           Q       Well, this is the issue that I'm -- I'm
     9                   struggling with, sir.                I do need
    10                   specifics.
    11                                   You said the evidence that
    12                   you offered to provide to Mr. Ruddy and
    13                   Newsmax was the Dennis Montgomery --
    14           A       -- I don't know what you're -- you need
    15                   to specify when -- when I said that.
    16                                   This is -- you're -- you're
    17                   trying to pollute this recently or
    18                   whatever it is because he's --
    19                   apparently he's been sued by other --
    20                   by the machine companies which I was
    21                   unaware.
    22                                   And I offered them, I said,
    23                   "Hey, we have all the evidence you
    24                   need."     So this a -- this was like
    25                   three months ago, is that when you're

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     1                   talking?
     2                                   I need to know when you're
     3                   talking about.
     4           Q       But --
     5           A       -- the evidence didn't come up back in
     6                   the Coomer -- back in this thing.                   Had
     7                   nothing to do with that.
     8           Q       Okay.    So you didn't have any evidence
     9                   to offer Newsmax?
    10           A       No, I had all kinds of evidence, but he
    11                   didn't -- he didn't -- it didn't get
    12                   brought up then; do I understand that?
    13                   You didn't ask me for evidence then.
    14                                   He said I couldn't come on
    15                   his show anymore because of a thing he
    16                   made with guy named Eric Coomer.
    17           Q       You said --
    18           A       -- it had nothing to do with the
    19                   evidence.
    20           Q       Okay.    You said you offered to give him
    21                   the evidence.
    22           A       Many times when he got sued by, I think
    23                   Dominion and Smartmatic.                I don't know
    24                   who he's all been sued by.
    25           Q       When was the first time you offered to

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     1                   give (inaudible) --
     2           A       -- I don't know.            You'd have -- I have
     3                   no idea when the first time was.                   I
     4                   have no idea when we offered it and
     5                   we --
     6           Q       -- do you -- do you remember anytime
     7                   that you made the offer?
     8           A       Yeah, absolutely.
     9           Q       Okay.
    10           A       Absolutely.
    11           Q       When?
    12           A       I don't know when.             I don't know when.
    13                   I know it wasn't until -- I know it
    14                   wasn't during this May thing way back
    15                   then.    Absolutely, it wasn't back then.
    16           Q       Okay.    So before May of 2021, we can
    17                   establish that you didn't offer --
    18           A       -- I -- I don't know.
    19           Q       Let me finish my --
    20           A       Okay.
    21           Q       -- question, please.                 Before May of
    22                   2021, you had not made the offer that
    23                   you just referenced to Mr. Ruddy to
    24                   provide him with the evidence of
    25                   election manipulation?

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     1           A       I -- I don't know.             It maybe -- maybe
     2                   it was -- maybe it was after the
     3                   Twitter thing, I could've said
     4                   something to him.
     5                                   Where I said, "Hey, Chris I
     6                   have evidence," when he -- when he made
     7                   that statement.           I think that is
     8                   actually when I -- when I told him we
     9                   had evidence and...
    10                                   Because we -- we -- we had
    11                   to talk through that Twitter thing, and
    12                   why the guy pulled his thing off.                   And
    13                   I go, "Chris," I -- I said, "...that's
    14                   why they're cancelling me and I have
    15                   this evidence."
    16                                   And that was the Dennis
    17                   Montgomery evidence that I had at that
    18                   time.    That's when I offered him the
    19                   evidence; now I do recall on that.
    20                                   So it was during the Twitter
    21                   conversation, because he said, "We here
    22                   at Newsmax can't -- Mike, we can't say
    23                   anything about the machines because we
    24                   don't have any evidence."
    25                                   And I said, "Well, I got

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     1                   evidence, you can have all you want."
     2                   From Dennis -- you know, I didn't
     3                   mention Dennis Montgomery though.
     4                   That's what it was; 100 percent now I
     5                   -- I do recall that.
     6                                   Because he -- he was very
     7                   concerned, I said, "Why are you
     8                   concerned -- what -- or this
     9                   statement," because he, you know, I
    10                   didn't even know about that that
    11                   because the guy muted me out when I was
    12                   going, you know.
    13                                   So it was during that
    14                   conversation where he said, "Well, we
    15                   don't have the evidence."                And I go,
    16                   "What's the problem of me saying that
    17                   on your show?"
    18                                   And he goes, "Well, we don't
    19                   have evidence yet of -- of any -- of
    20                   anything yet.          We done have the
    21                   evidence."        I said, "Well, I'll give
    22                   you the evidence."
    23                                   And then he said -- and he
    24                   didn't -- never asked for it again.                    Or
    25                   never said, "Okay, let me see it."

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     1           Q       Did you just send it to him?                  I mean if
     2                   -- if what you say is true and -- and
     3                   this episode just during that brief
     4                   period of time cost you $2.7 million
     5                   dollars; did you ever just send it to
     6                   him?
     7           A       No, I didn't know -- what are you
     8                   talking about the time in 2 -- this was
     9                   back with Twitter.             This was in
    10                   February 2nd of 2021.                This was that
    11                   conversation.
    12           Q       Right.
    13           A       I said, "Chris, I have this evidence."
    14                   Remember I was trying to get it out to
    15                   the world, I tried to get the president
    16                   to sign the gag order -- you know, get
    17                   the gag order signed that was on the
    18                   Montgomery evidence.
    19                                   And that's what I was doing.
    20                   And, you know, I wasn't just out there
    21                   yelling, losing retailers, and losing
    22                   Twitter, and losing everything else and
    23                   losing my life, I had this evidence I
    24                   had got from -- that Dennis Montgomery.
    25                                   I didn't put his name out

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     1                   there then because it was under a
     2                   government gag order.                 You know the
     3                   whole story.         I tried to get it to the
     4                   president to sign the -- get rid of gag
     5                   order on it.
     6                                   And that's when I said to
     7                   Chris, "Chris, I have evidence."                   And I
     8                   said you should -- "Do you want to see
     9                   it?"    And he goes -- and he didn't see
    10                   it.    He didn't want to see it.
    11           Q       Well, why could you offer it to him if
    12                   it was under a gag order?
    13           A       I told him I had it.                 You know, I had
    14                   the evidence.          Yeah, it was under a gag
    15                   order; I wanted to get it out there.
    16           Q       You said you offered it to him?
    17           A       I did say, I said, "Chris, I have the
    18                   evidence.       You want me to, you know,
    19                   send to or talk to your lawyers or
    20                   whatever?"
    21                                   I don't remember the exact
    22                   conversation, but I 100 percent told
    23                   him I had the evidence and he said,
    24                   "Well, we have no evidence the
    25                   machine..."

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     1                                   You know, there was other
     2                   stuff too, everything that come out in
     3                   November and December, piles of stuff,
     4                   but I had confirmation of that.
     5           Q       Mr. Lindell, if you were, as you say
     6                   under this gag order, why did you offer
     7                   to send the evidence to Mr. Ruddy?
     8           A       No, I said I have evidence.                 I don't
     9                   know -- I said, "Chris, I have evidence
    10                   of the machine thing."
    11                                   He goes, "Well, we have --
    12                   we don't..."         He -- he actually didn't
    13                   want to see any, he didn't want to hear
    14                   anything of it.
    15                                   He said, "Well, we have a
    16                   thing, Mike, we're gonna, you know, we
    17                   don't -- we don't want to get sued,"
    18                   blah, blah, blah.             That was on February
    19                   2nd.
    20                                   I don't remember the exact
    21                   conversation.          I had more than just
    22                   Dennis Montgomery stuff; the whole
    23                   world had it.          You know, all of a
    24                   sudden he's suppressing saying that,
    25                   "We here -- we here at Newsmax or

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     1                   whatever believe there was no -- that
     2                   there's no evidence to support these
     3                   allegations or whatever."
     4                                   They did a flip flop, you
     5                   know.
     6           Q       Why didn't you send it to him?
     7           A       Why didn't I send what to him?
     8           Q       The evidence that we've been talking
     9                   about.
    10           A       I -- you got to go back and hear the
    11                   conversation.          I don't know.          Because
    12                   he didn't want to see it.                He didn't
    13                   want to hear anything of it.
    14                                   I said, "Chris, I'll sit you
    15                   down and show you.             I'll fly down there
    16                   and show you.          I'll give -- show --
    17                   show your lawyers."              And he didn't want
    18                   to do it.
    19                                   That's the big bottom line.
    20                   He didn't want to do anything with
    21                   that.    He said, "No, we here at
    22                   Newsmax, Mike, I'm standing firm."
    23                   That's what it was.
    24                                   You can't talk about machine
    25                   companies or -- or election crime.

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     1           Q       How could had you sit down and show him
     2                   the evidence if it was under --
     3           A       -- I had plenty more than Montgomery's
     4                   evidence.       I had a piece of paper today
     5                   -- if you've seen it.                 I had it right
     6                   there.
     7                                   I put it out publically.               It
     8                   was out publicly.             I didn't know with
     9                   this gag order there was already some
    10                   of it out there publically.
    11                                   I was showin' that and there
    12                   was piles of other stuff, piles of
    13                   evidence.       I could've gave him -- I
    14                   could've -- he could've sat there for a
    15                   month and looked through it.
    16                                   But he didn't want -- he
    17                   didn't want to do that.                 He said -- he
    18                   said, "I'm just -- Mike, I'm -- I'm
    19                   worried about this just don't just go
    20                   on and don't talk about machines
    21                   anymore."       Okay, what's that I did.
    22                                   MR. CAIN:            Objection;
    23                   non-responsive.           Because you cut off my
    24                   question before I finished asking it.
    25           A       (Indicating).

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     1                   By Mr. Cain:
     2           Q       So when you said you were offering to
     3                   sit down with him and show him the
     4                   evidence, you were referring to
     5                   everything except for the Dennis
     6                   Montgomery --
     7           A       -- no, including the pieces I had from
     8                   the Dennis Montgomery.
     9                                   This was early on.                I had
    10                   pieces that were released to the
    11                   public.     That were released to the
    12                   public.     That was out there.               I grabbed
    13                   it off Twitter.           I had that part.
    14           Q       Okay.
    15           A       I didn't -- I didn't have the other
    16                   stuff in my possession then.
    17           Q       Okay.
    18           A       I had the parts of it and I was getting
    19                   it validated.
    20           Q       So that was publicly available
    21                   information that Newsmax --
    22           A       -- that -- absolutely.               It was four
    23                   things and that's what I -- I brought
    24                   to the president.
    25                                   It was four sheets that came

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     1                   from a journalist, it came from Mary
     2                   Fanning had put it out there, she's a
     3                   journalist on American Report.                    And it
     4                   was all over Twitter.
     5                                   And then there was piles of
     6                   other stuff that had been brought to
     7                   me, or like a funnel, and it -- and it
     8                   was out there.
     9                                   And I'm going -- and it was
    10                   just a simple argument with Chris
    11                   going, "Hey, Chris, I'll come down and
    12                   show you.       Are you naive?           Don't you
    13                   watch the news?           There's evidence
    14                   everywhere."
    15                                   And then -- and -- so there
    16                   was just an argument of like how can
    17                   you make these statements?                 Now you're
    18                   gonna -- you're gonna go cold and not
    19                   talk you can about the election either.
    20                   That was the argument, you know.
    21                                   And Chris is going, "I know
    22                   Mike," here's what he said exactly, "I
    23                   know Mike, but I can't take a chance,
    24                   I'm getting sued," you know.
    25                                   He knew there was evidence

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     1                   out there, he said 100 percent there's
     2                   evidence out there.              He goes, "I know
     3                   there's evidence out there, but I'm,
     4                   you know, at Newsmax I can't take the
     5                   chance.     We have -- we don't have
     6                   that."
     7                                   I said, "Well, you want me
     8                   to come down there and show you?                        Are
     9                   -- are you blind to what's going on out
    10                   there?"
    11                                   Everybody was seeing that --
    12                   it was into November and December.
    13                                   MR. CAIN:            Objection;
    14                   non-responsive.
    15
    16                   By Mr. Cain:
    17           Q       Mr. Lindell, I can't even read my
    18                   questions because your answer is too
    19                   long on the screen to go back to.
    20                                   But let me pick up on a few
    21                   pieces of what you just said.                     The
    22                   evidence that you had included four
    23                   sheets of paper from Mary Fanning that
    24                   you referenced, that was all over the
    25                   place.

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     1           A       It was not from her -- it was on -- it
     2                   was all over the Internet.                 It was from
     3                   the American, I forgot what -- the
     4                   American Report.
     5           Q       Okay.
     6           A       Then there was hundreds of other things
     7                   of evidence, piles from here to the
     8                   ceiling.
     9           Q       Yeah.     You said America Report, but
    10                   that's Mary Fanning.
    11           A       I don't know; I guess it is, you know.
    12                   But there wasn't just that, there was
    13                   everything -- there was all kinds of
    14                   evidence that -- are you kidding me?
    15           Q       And then you said you -- you also had
    16                   investigators who had gathered
    17                   evidence?       (Inaudible) --
    18           A       -- no, not at that point.                Not at that
    19                   point.
    20           Q       Has this --
    21           A       -- now that -- now that you know the
    22                   dates that these were said.                 Not at the
    23                   point.     I had done my own
    24                   investigations for two and a half
    25                   months.

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     1           Q       But do you have investigators now that
     2                   are gathering information --
     3           A       -- no, we did back then.                They did back
     4                   then.    We hired some in the spring of
     5                   '21, lawyers, investigators,
     6                   everything.
     7           Q       Who?
     8           A       Huh?
     9           Q       What investigators?
    10           A       You know what?           Ask my lawyer.           You --
    11                   you guys -- do that in your discovery.
    12                   I don't know their names.                I've had so
    13                   many lawyers and cyber guys and
    14                   everything else.
    15           Q       Well, to the extent that you validated,
    16                   allegedly, any of this evidence of
    17                   election fraud, I need to know from you
    18                   who has provided you information that
    19                   you claim, either investigators or
    20                   otherwise, that you claim support
    21                   you --
    22           A       -- I don't know even what you talking
    23                   about.
    24                                   MR. MALONE:          Mike, Mike,
    25                   just wait.

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     1                                   THE WITNESS:           Yeah.
     2                                   MR. MALONE:           Let me get in
     3                   objections.
     4
     5                   By Mr. Cain:
     6           Q       Who are the investigators?
     7           A       I don't know their names.                I can't
     8                   remember, that was two years ago.                   Get
     9                   it in your discovery.                It had nothing
    10                   to do with this case.
    11                                   THE WITNESS:           Why does he
    12                   get to ask questions about something
    13                   that is irrelevant to this case?
    14                                   MR. MALONE:           (No response).
    15
    16                   By Mr. Cain:
    17           Q       I don't know if it's relevant or not
    18                   until I ask you the question.
    19           A       Okay.
    20           Q       There was investigations relating to
    21                   this evidence that you supposedly
    22                   compiled.       That's relevant.
    23           A       No, it's not.          What does it have to do
    24                   with your client?             It has nothing to do
    25                   with him.

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     1           Q       All right.
     2           A       This is crazy.
     3           Q       You and I can --
     4           A       -- you're asking me about something
     5                   that has nothing to do with your
     6                   client.
     7                                   The bottom line is, on
     8                   February -- after February 2nd Newsmax
     9                   took away my right to be able to go
    10                   talk about evidence or talk about the
    11                   election crime, they took everybody's
    12                   away then.
    13                                   But then -- then -- then
    14                   after your client did what they did and
    15                   you did to me, then I lost the right to
    16                   even talk about My Pillow.                 End of
    17                   story.
    18                                   That's the case.            One you
    19                   lose here, one you lose here.                     This one
    20                   was because of law fair, this one
    21                   because of some hidden agenda you guys
    22                   have to destroy My Pillow.                 There's the
    23                   two bookends.
    24                                   MR. CAIN:            Objection;
    25                   non-responsive?

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     1                                   THE WITNESS:          Well, it's
     2                   true.
     3
     4                   By Mr. Cain:
     5           Q       So you say you offered evidence to
     6                   Chris Ruddy but he didn't want to look
     7                   at it; is that fair?
     8           A       The statement is this, "Chris, you know
     9                   the election was stolen.                You know
    10                   there was evidence or whatever."
    11                                   And he said, "Yes, Mike, but
    12                   I can't talk about it on my channel
    13                   because I'll get sued."               That's what he
    14                   said exactly.
    15                                   MR. MALONE:          Mike, just keep
    16                   it down.
    17                                   THE WITNESS:          I mean, it's
    18                   so -- it's like your --
    19                                   MR. MALONE:          I know.
    20                                   THE WITNESS:          -- redundant.
    21                                   MR. MALONE:          But...
    22                                   THE WITNESS:          I didn't say,
    23                   "Hey, Chris, I got smoke and gun stuff
    24                   here."     I said, "Chris we have all the
    25                   evidence in the world.               I've got

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     1                   evidence."        I said, "You know the
     2                   election was stolen and there's
     3                   problems."
     4                                   And he said, "Yes, I know,
     5                   but I can't do anything.                I can't talk
     6                   about it anymore because of -- we're
     7                   getting sued.          We could get sued."
     8                                   That was his quote, exactly,
     9                   that was the conversation.                 That was on
    10                   February 2nd, right after the Twitter
    11                   incident.
    12
    13                   By Mr. Cain:
    14           Q       Did he ever tell you that Newsmax was
    15                   able to verify any of the so-called
    16                   evidence of election fraud?                 Did he
    17                   ever tell you that?
    18           A       He didn't -- we didn't talk about that.
    19                   I told you that was our only
    20                   conversation about election fraud, it
    21                   was right after the Twitter thing.
    22                   About -- about a 15-minute
    23                   conversation.
    24                                   I'm going, "Why can't you
    25                   talk about these elections?"                  I go,

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     1                   "Why can't I go on and say why my
     2                   Twitter was taken?"              Because I want to
     3                   speak out about our -- our platforms
     4                   and our elect -- and the anomalies in
     5                   our election?
     6                                   And he says, "Mike, I'm
     7                   afraid I can't, I'll get sued."                   That
     8                   was the start of law fair.
     9           Q       But by -- by the late spring of 2021,
    10                   summer of 2021, it's fair to say that
    11                   publicly you were associated with this
    12                   election fraud?
    13           A       Oh, I think I was right away in
    14                   January.      Hello?        When you got a
    15                   picture of the Whitehouse with a --
    16                   holding papers and a, it says,
    17                   "Marshall law," on them.
    18                                   And you're getting attacked
    19                   and they're -- and I mean the -- that's
    20                   the spring -- the summer of '21.                   I
    21                   would say it would be January 15th
    22                   of '21.
    23           Q       Did you ever consider the possibility
    24                   that Newsmax simply didn't want to be
    25                   associated with you?

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     1           A       No, that's not what Chris said.                   I know
     2                   Chris, I've known him for a long time.
     3                   He said, "Mike, don't come on and talk
     4                   about machines."            I abided by that.
     5                                   Then when you guys did what
     6                   you did, I couldn't go on and talk
     7                   about My Pillow.            He explained it
     8                   straight out.          "I can't do you it,
     9                   Mike.    You can't come on," you know
    10                   like I used to.
    11                                   "You know I've helped you
    12                   out before."         "Well, before isn't now,
    13                   you're turning on me," because of
    14                   whatever happened on -- with -- between
    15                   you guys.       And he told me that straight
    16                   out.
    17           Q       Well, he said under oath that there was
    18                   no such deal though.
    19           A       Well, he can say that because you guys
    20                   probably, maybe don't have anything
    21                   written, I'm sure my lawyers tried to
    22                   get out of you.
    23                                   THE WITNESS:          I don't know,
    24                   have you took the stand yet?                  Yourself?
    25                   I'd love to take you -- put you on the

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     1                   stand, see how you lie.
     2                                   MR. MALONE:            He's not gonna
     3                   answer questions.             You --
     4                                   THE WITNESS:            What?
     5                                   MR. MALONE:            -- answer his
     6                   questions.
     7                                   THE WITNESS:            What was the
     8                   question?
     9                                   MR. MALONE:            Exactly.     He'll
    10                   ask you the questions.
    11                                   MR. CAIN:            That's the
    12                   problem.      Is I don't have a question --
    13                                   THE WITNESS:            Okay.
    14                                   MR. CAIN:            -- pending.
    15                                   THE WITNESS:            You've doing a
    16                   lot of commentary, but I -- and --
    17                   isn't it true, blah, blah, blah.
    18                                   MR. CAIN:            Okay.
    19
    20                   By Mr. Cain:
    21           Q       So I think we've exhausted, unless
    22                   there's something else that Mr. Ruddy
    23                   told me -- or told you that you think
    24                   is relevant to this issue, I think
    25                   we've exhausted that conversation;

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     1                   right?
     2           A       That -- I can tell you there's only --
     3                   the first conversation was after the
     4                   Twitter where he cut me off to never
     5                   talk about elections --
     6           Q       Right.
     7           A       -- again.       The second time was now you
     8                   can't go on and talk about My Pillow.
     9                                   And it has been the same
    10                   thing every time I have asked him for
    11                   two years.        "Mike, you know I can't
    12                   have you on, talk about pillows or
    13                   anything.       I'm sorry."
    14                                   So whatever deal you did
    15                   with him is your dirty deal, not mine.
    16                   End of story.          Close the Coomer case.
    17           Q       Okay.    Probably not that simple.                 When
    18                   you -- when we started down this path
    19                   right before the break, we were talking
    20                   about Ruddy but then you -- you filled
    21                   me in on your top three with respect to
    22                   Dominion; the Cast Vote records; you --
    23                   you recall that testimony?
    24                                   The Cast Vote records though
    25                   was something new to me.                And what's

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     1                   specifically did these Cast Vote
     2                   records expose with regard --
     3           A       -- and by the way you've got to put
     4                   Dennis Montgomery and the terabits on
     5                   there, too.
     6           Q       Okay.
     7           A       The 32 terabits.            Those are four,
     8                   there's actually four.               There's a top
     9                   four.
    10           Q       Okay.
    11           A       He was my Number 1, but now we have
    12                   right out of the machines -- the reason
    13                   I say that is because these come right
    14                   out of the machines, so right out of --
    15                   from the Secretary of State's office.
    16                                   So they went through the
    17                   machines; they can't lie about that.
    18                   Now they're trying to even stop people
    19                   from getting a Cast Vote record.                   Do
    20                   you want me to explain what one is?
    21           Q       Yeah.     What specifically did this
    22                   discovery relating to Cast Vote --
    23           A       Okay.
    24           Q       -- records expose?
    25           A       Expose?

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     1           Q       Yeah.
     2           A       Okay.    Machine -- computer manipulation
     3                   in every single county that we got Cast
     4                   Vote records for from the 2020 election
     5                   and from the 2022 except for six
     6                   counties in Florida in the 2022
     7                   election.
     8                                   What Cast Vote record is,
     9                   the way they come out of the machine,
    10                   let's say you missed a football game
    11                   and you went back to watch a rerun or
    12                   to watch it play-by-play, it's the
    13                   order they come out.
    14                                   First quarter 7-7, second
    15                   quarter 14-7, you get in the third
    16                   quarter, you don't go in reverse to 7
    17                   to 3.    Okay?
    18                                   You don't hit -- and so it's
    19                   the record that the votes are placed.
    20                   And this had been around for a long
    21                   time, but now they found they found
    22                   out, "Wow, you can show to 100 percent
    23                   computer manipulation."
    24                                   There's either computer
    25                   manipulation or there's not; there's no

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     1                   in between on a Cast Vote record.
     2                   There's absolutely no in between.                   This
     3                   can't be denied because it comes from
     4                   the Secretary of State.
     5                                   Now you can scramble them,
     6                   which some states are doing that now,
     7                   they're scrabbling them.                Some are
     8                   fighting like here in Minnesota, that
     9                   would never give -- give them out.
    10                                   South Dakota wouldn't give
    11                   them out.       And South Carolina's making
    12                   a thing right now, you can't ask for
    13                   them and -- and they're trying to take
    14                   away the Freedom of Information Act for
    15                   citizens to ask.
    16                                   What -- we want to see
    17                   what's going on inside those machines,
    18                   these computers.            That's what we want.
    19                   And that's what a Cast Vote record.
    20                                   Because it's such good --
    21                   and it comes right out of the machine
    22                   -- that's -- it's -- anything that
    23                   happened inside there, that's what a
    24                   Cast Vote record shows the order the
    25                   votes come in.

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     1           Q       How many counties do you have Cast Vote
     2                   records for?
     3           A       I believe, in the 2020, about a third.
     4                   So a little over a thousand of the
     5                   3,000 some.
     6                                   And we have it in -- and we
     7                   have it in a like I say about a third.
     8                   I think there's 3,143 counties.                   I
     9                   think we have a -- maybe 1,050 counties
    10                   of the -- of the 2020 election.
    11                                   You can show a side by side,
    12                   here's a Cast Vote record where there
    13                   was no computer manipulation, and
    14                   here's one that there is.
    15                                   And like I say, I believe in
    16                   the 2020 in the report that we got
    17                   after a year with these guys, I think
    18                   it was a report taking a year to
    19                   complete, or maybe a half a year, I
    20                   don't remember that part, we have the
    21                   full Cast Vote record report.
    22                                   That's also up on
    23                   Frankspeech, and it shows a -- I think
    24                   it's 99 percent of all those counties
    25                   were computer manipulated.

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     1           Q       Who compiled the report?
     2           A       Jeff O'Donnell.
     3           Q       Okay.     And those are counties -- the
     4                   100 or excuse me, the 1,000 --
     5           A       -- actually, Jeff O'Donnell, there was
     6                   guy -- there was a lot of cyber guys.
     7                   But Jeff's the one that compiled the
     8                   report.
     9                                   A lot of people dug into
    10                   those -- into the Cast Vote records.
    11                   Once they realized that this is -- this
    12                   is a direct correlation to computer
    13                   manipulation.
    14           Q       So then, therefore, these would not be
    15                   counties with, correct me if I'm wrong,
    16                   that do hand-marked ballots?
    17           A       What's that?
    18           Q       The 1,000 counties --
    19           A       -- what's that -- it doesn't matter
    20                   whether -- if they're hand-marked
    21                   ballots; everything goes through
    22                   computers.        You realize that.
    23                                   I -- I don't know what -- if
    24                   you're -- if you're familiar with the
    25                   whole voting processes.               Okay.

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     1                                   Everything goes through --
     2                   you got accounting machines [sic], you
     3                   have polling -- polling books, you have
     4                   computerized routers and -- and
     5                   computers, you have all these stuff,
     6                   these process.
     7                                   You can still have paper, it
     8                   doesn't matter if you have paper or
     9                   not, you've got to -- it's all the
    10                   stuff that's going on with the computer
    11                   manipulation.
    12                                   And what it is, if you look
    13                   at -- I don't know if you know what a
    14                   deviation is in numbers.                Here's a
    15                   deviation, $3 million dollars Mike
    16                   takes in of My Pillow for four months,
    17                   after that $300 thousand.
    18                                   You have to -- numbers don't
    19                   lie.    There's got to be a different
    20                   input to get a different output.
    21                   Something had to happen on May 1st of
    22                   2021.
    23                                   With the Cast Vote record
    24                   and stuff that come out, something had
    25                   to happen where you get the exact

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     1                   pattern, and you get this play-by-play
     2                   where votes go in reverse.
     3                                   Because it's -- it's in
     4                   order they're received.                 So that means
     5                   that somebody did something with a
     6                   computer.
     7                                   MR. CAIN:            Objection;
     8                   non-responsive.
     9
    10                   By Mr. Cain:
    11           Q       My question was, these 1,000,
    12                   approximately a thousand --
    13           A       Yep.
    14           Q       -- counties, did that include counties
    15                   that have hand-marked ballots?
    16           A       I don't -- yeah, absolutely.                  But they
    17                   -- but they all go through machines.
    18                   There's no counties -- well, there's is
    19                   now, because we've gotten rid of the
    20                   machines in quite a few counties.
    21                                   But there was none that
    22                   didn't have machines involved with
    23                   their election besides -- besides your
    24                   paper ballot you -- that you mark and
    25                   you put into the machine.

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     1           Q       The -- the thousand or so counties that
     2                   Mr. O'Donnell analyzed --
     3           A       And others.
     4           Q       -- those counties would've been subject
     5                   to either recounts or audit; right?
     6           A       No.   Not -- there's been no -- there's
     7                   been no -- no recount -- you got your
     8                   big audit in Arizona, that was one of
     9                   biggest audits ever.
    10                                   Is Arizona one of those that
    11                   happened?       I don't know because they
    12                   scramble their Cast Vote records.
    13           Q       What do you mean 'they'?
    14           A       They scrambled it -- they -- whoever
    15                   they are, the Maricopa County Board,
    16                   they scrambled it.
    17                                   So a Cast Vote record they
    18                   scrambled it, and they used the excuse
    19                   that you would -- that you would know
    20                   who made the first vote somehow.
    21                                   So they used the -- they
    22                   used these excuses now that you -- you
    23                   could be possibly you could find out
    24                   who the first (inaudible) voted.                    And
    25                   you'd know who they voted for.                    So they

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     1                   scrambled it.
     2                                   And so it's -- if you took
     3                   -- if you took a whole bunch of
     4                   sequence of numbers and you just
     5                   scrambled it, that's what they did.
     6                                   And our lawyers have
     7                   evidence they scrambled it and that's a
     8                   fact.    So that's what I'm trying to
     9                   tell you.
    10           Q       So you think that voter -- voters'
    11                   identification shouldn't be secret?                      I
    12                   don't -- I don't get your point.
    13           A       Of course, it should be secret.                   What
    14                   does that have to do with anything?
    15                   They scrambled something that it does
    16                   not show -- Cast Vote record doesn't
    17                   show anybody what -- who they voted
    18                   for.
    19                                   What are you asking me?
    20                   That's the dumbest question you've
    21                   asked all day.           Of course, your votes
    22                   have to be secret.             What is wrong with
    23                   you?
    24           Q       Did they randomized the numbers?
    25           A       No, they scrambled this up because --

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     1                   to hide the fact that there was
     2                   computer manipulation in Maricopa
     3                   County.
     4                                   Then in the next election
     5                   they shut off 262 machines.                 They shut
     6                   off 262 machines which we've got all
     7                   the evidence in the world, it's still
     8                   under appeal down there.
     9                                   And, you know, I don't know
    10                   what you're going down a -- what are
    11                   you a Dominion lawyer here?                 I don't
    12                   get it.     Are you a machine lawyer?                 Is
    13                   this what this is all about?
    14                                   I don't get it.            This is
    15                   disgusting.
    16           Q       Okay.     Cast Vote records I think would
    17                   take way too much time for us to go
    18                   down.     I want to -- let's talk about
    19                   Dennis Montgomery, since you mentioned
    20                   him.
    21           A       (Indicating).
    22           Q       He's got Number 4 on the list?
    23           A       No, he's actually Number 1.                 The other
    24                   three you asked me, what would be
    25                   direct evidence coming right out of the

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     1                   machines.       All three of those other
     2                   things come right out of the machine,
     3                   you know, but Dennis Montgomery he's my
     4                   first one.
     5                                   I got that evidence on
     6                   January 9th of 2021.                 It's very public.
     7           Q       Okay.    So who introduced you to him?
     8           A       It was a phone call with Brandon House
     9                   who I didn't know, apparently I was on
    10                   his show one time.
    11                                   And -- and the only reason I
    12                   even answer the call because it said
    13                   Brandon House, I thought it was
    14                   something to do with my house.
    15                                   And I -- I took the call on
    16                   January 9th, and there was -- he
    17                   introduced me to lady named Mary
    18                   Fanning.
    19                                   He introduced me to a lady
    20                   named Mary Fanning on the phone and
    21                   said, "Here, would you please listen to
    22                   this lady?"        And I said, "Sure."
    23                                   And she did a -- probably
    24                   talked for 15 minutes, very detailed
    25                   about a guy that work would for CIA and

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     1                   his name was Dennis Montgomery.
     2                                   Went into the government
     3                   backed and she was -- it was very, very
     4                   detailed, and she said if you can look
     5                   at the -- the report, it was on -- it
     6                   was on her American Report.
     7                                   And I looked and there were
     8                   four pieces that showed this machine
     9                   computerized intrusion into our
    10                   election, and -- and that was it.                   That
    11                   was the 15-minute call.
    12                                   And then -- and then I said
    13                   -- I get off and I said, "Wow."                   And I
    14                   said, "This explains why every county
    15                   in every state in the country had
    16                   non-residents aboard."
    17                                   This was my ah-ha moment
    18                   because I had done my own
    19                   investigations and every single state,
    20                   every single state and county that I
    21                   checked had non-residents that voted or
    22                   that didn't live in that county, or --
    23                   or the state.
    24                                   I'm going, "Why would people
    25                   who are generally good people," you're

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     1                   not gonna march, "Hey, let's go a
     2                   thousand -- let's jump over into
     3                   Wisconsin and go vote for Biden."
     4                                   It didn't make sense to me,
     5                   (inaudible).         And I'm going something
     6                   was -- something definitely had to be
     7                   done with the computers.
     8                                   This Montgomery stuff that
     9                   Mary told me -- and I don't even know
    10                   she has sent the four things over.                    I
    11                   had already seen those four pieces at
    12                   that point.
    13                                   And this solidified, I'm
    14                   going, "Wow, it was done with
    15                   computers."        And -- and you mean to say
    16                   he has all the evidence?                 Yes.
    17                                   He has -- he's the guy that
    18                   built the Hammer Scorecard, she went
    19                   into all this stuff.                 I go, "What is a
    20                   Hammer Scorecard?"             Explained all this.
    21                                   And all this then was
    22                   confirmed to me later with -- you had
    23                   generals, General Flynn, General
    24                   Montgomery, or not General Montgomery,
    25                   General (inaudible), all these

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     1                   different things that were confirmed.
     2                                   So I went in to -- to
     3                   confirm all this, but there was one
     4                   problem, there was a gag order on it so
     5                   I had to get it to the president.
     6           Q       Okay.    When did this 15-minute
     7                   conversation with Mary Fanning happen?
     8           A       January 9th, 2021.
     9           Q       Okay.    And the four pieces of
    10                   information you said you were already
    11                   in possession of?
    12           A       There were screen shots -- they were up
    13                   on Twitter I believe before that.                    It
    14                   was just many, many of the things that
    15                   I'd go, "Here's more evidence.                    Here's
    16                   more evidence.           Wow, this looks
    17                   interesting."
    18                                   And she directed me to the
    19                   -- to that site.
    20           Q       Okay.
    21                                   MR. CAIN:            Let me show you,
    22                   let's just mark this.
    23                                   THE WITNESS:            I wanna ask
    24                   you something.           Why don't you object --
    25                   what does this have to do with Coomer?

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     1                                   MR. MALONE:            We --
     2                                   THE WITNESS:            -- I don't get
     3                   it.
     4                                   MR. MALONE:            Mike, we take
     5                   care of that after.
     6                                   THE WITNESS:            Okay.     Okay.
     7                   This is bizarre.
     8                                   MR. MALONE:            He asks the
     9                   questions, you can answer them.
    10                                   THE WITNESS:            No, I'm just
    11                   -- okay, but you should be objecting.
    12                   What does that have to do with the
    13                   case?
    14                                   MR. MALONE:            Mike, we don't
    15                   think it has anything to do with the
    16                   case, we certainly --
    17                                   THE WITNESS:            -- okay.     All
    18                   right.
    19                                   REPORTER'S NOTE:               Whereupon,
                                         Michael Lindell Deposition
    20                                   Exhibit Number 185 was
                                         marked for identification.
    21
    22                                   MR. CAIN:            All right.
    23
    24                   By Mr. Cain:
    25           Q       Let me show you what's been marked as

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     1                   Exhibit 185 which you produced.
     2           A       What now?        (Witness reading to self).
     3           Q       Do you know what this document is?
     4           A       No.     This is not what I had that day.
     5           Q       At the top, again, it came from your
     6                   file so we can presume that you had
     7                   this document.
     8                                    Is says, "Mike L
     9                   Presentation Dated February 18, 2021
    10                   U.S. Election Interference."                      Now this
    11                   would've been after your epiphany on
    12                   January 9th.
    13           A       Okay.
    14           Q       Do you remember this -- this
    15                   presentation?
    16           A       No.
    17           Q       Okay.
    18           A       But this is also after February 5th
    19                   which absolute proof came out.                      So...
    20           Q       Right.
    21           A       Anything from that would've been --
    22                   this would've been coming out of that
    23                   probably movie.
    24           Q       Okay.     Is that --
    25           A       -- or that -- or that collaboration of

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     1                   people that came to -- that I met for
     2                   the first time.
     3           Q       Is any of information on Exhibit 185
     4                   the information that you refer to when
     5                   you were talking to Mary Fanning that
     6                   you already had?
     7           A       What's that now?
     8           Q       Does -- does any of this information --
     9                   was this what you had when you were
    10                   talking to Mary Fanning?
    11           A       No, absolutely not.
    12           Q       Okay.
    13           A       100 percent, no.            It's got little
    14                   things going like this; it's got little
    15                   things coming over from other
    16                   countries --
    17           Q       Okay.
    18           A       -- and it's -- this is not it, I don't
    19                   -- I've never seen this.
    20           Q       Bear with me for one minute.                  I
    21                   think...      I may have that for you.                Let
    22                   me just show you what was part of a
    23                   report that's been issued in this case
    24                   at Page 17.
    25           A       Yep.    That's one of them, yep.

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     1           Q       Okay.    So this is --
     2           A       -- that looks like one of them, yes.
     3           Q       All right.        And I'll -- since I'm not
     4                   gonna be able to mark that, I don't
     5                   know if you can see --
     6           A       -- if not, it's very similar.                     It had
     7                   those lines on it, yeah.
     8                                   MR. MALONE:            Mike, if you
     9                   can see it okay then -- that's fine.
    10                                   THE WITNESS:            Yep.
    11                                   MR. CAIN:            We got that.      All
    12                   right.
    13
    14
    15                   By Mr. Cain:
    16           Q       And so what did -- what did Ms. Fanning
    17                   tell you that those lines represent --
    18                   represented?
    19           A       She -- on the -- on the thing -- the
    20                   whole call is about this guy named
    21                   Dennis Montgomery, and validate -- she
    22                   would basically validating him.
    23                                   We didn't have -- I didn't
    24                   have those things in front of me on
    25                   that phone call.            That was a 15 minute

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     1                   -- it was so -- it's so detailed.
     2                                   This guy worked for the CIA,
     3                   he built this thing to interfere in
     4                   other people's elections for the
     5                   government.
     6                                   They used it on our country
     7                   through these voting machines and blah,
     8                   blah, blah, blah, it went on and on.
     9                   And she -- that's what it was mostly
    10                   about, you know -- here, you know, we
    11                   -- he's --- this guy's got a --
    12                   basically a movie of everything that
    13                   was done in the election.
    14           Q       No, I -- I think -- and I think we've
    15                   talked about that.
    16           A       Well, no, that's she said -- that's
    17                   what she was saying.                 So you asked me
    18                   what she said.
    19           Q       All right.        So she --
    20                                   THE WITNESS:            -- in fact, I
    21                   have a tape -- we have -- have you got
    22                   a -- there's a tape and it's almost
    23                   identical to what she said to me.
    24                                   Which you guys are welcome
    25                   to listen to; I'll give you that

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     1                   anytime, I -- maybe we already have.
     2                   It's all -- it's almost identical to
     3                   what she say to me.
     4                                   MR. CAIN:            Okay.
     5
     6
     7                   By Mr. Cain:
     8           Q       Well, where's that tape?                 What tape
     9                   area you referring to?
    10           A       My attorney's have it.
    11                                   THE WITNESS:            Or did you
    12                   turn it over?
    13                                   MR. MALONE:            Mike, I'm not
    14                   sure what tape you're referring to
    15                   either.     We can, again, sort that out
    16                   after.
    17                                   MR. CAIN:            But it's -- that
    18                   it would be helpful because you -- if
    19                   -- if it's -- you're saying this tape
    20                   is very sim --
    21                                   THE WITNESS:            -- no, it's
    22                   some -- it's just a recording she made
    23                   -- that she made when she said --
    24                                   MR. CAIN:            Okay.
    25                                   THE WITNESS:            -- most of the

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     1                   same thing she said to me; it validates
     2                   Dennis Montgomery.
     3                                   MR. CAIN:            You cut me off
     4                   again.     But thank you for that.
     5                                   THE WITNESS:            Yeah.
     6
     7
     8                   By Mr. Cain:
     9           Q       There's a tape that you've heard --
    10           A       -- I don't know if a tape, this was a
    11                   recording.        It wasn't a tape of her
    12                   standing there, I've never seen Mary
    13                   Fanning.
    14           Q       Okay.     I used your word --
    15           A       Yeah.
    16           Q       -- and I'll use recording now.                    There's
    17                   a recording of Mary Fanning that has
    18                   essentially the same content that she
    19                   made --
    20           A       -- I think -- I -- I think because it
    21                   was both at the same time back there, I
    22                   said, "Could you say this again?"
    23                   Because I wanted to -- I wanted other
    24                   people to hear it.
    25                                   I've had other people on the

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     1                   phone say, "Would you listen to this
     2                   lady?"     I had different people on the
     3                   phone and am I going -- and she would
     4                   tell them the same thing.
     5                                   And I'm going, "Wow, this is
     6                   a miracle.        We're gonna save our
     7                   country with our election platforms
     8                   that have been intruded."                You know?
     9           Q       Okay.    So let me back up.              You played
    10                   -- well, strike that.
    11                                   You invited some people to
    12                   be on the phone with Mary Fanning and
    13                   you recorded that presentation?
    14           A       I think -- I think -- I think.
    15           Q       Okay.    Back then, who -- who did you do
    16                   that with?
    17           A       I have no idea, there was so many
    18                   people back then that listened to her.
    19                   You know, I don't know.               I don't know.
    20                   That was --
    21           Q       Okay.
    22           A       -- two and a half years ago.
    23           Q       But as you sit here you -- you think
    24                   you still have a recording of that?
    25           A       I could have, but, you know -- yeah.

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     1           Q       All right.        Who other than -- well, did
     2                   -- did Brandon House vouch for Dennis
     3                   Montgomery's qualifications?
     4           A       No.     No.   All Brandon said was here you
     5                   need to listen to this lady.                  And I
     6                   said, "Who are you?"                 And he tells me
     7                   who he was and I said, "Okay, I'll
     8                   listen to her."
     9           Q       Do you know how Brandon House met Mary
    10                   Fanning?
    11           A       I have no idea, absolutely no idea.
    12           Q       You had not heard the name Mary Fanning
    13                   before --
    14           A       (Indicating).
    15           Q       -- January 9th?
    16           A       (Indicating).
    17           Q       Is that a no?
    18           A       No -- that's, yes, I never heard her
    19                   name.
    20           Q       You had not heard Dennis Montgomery's
    21                   name --
    22           A       (Indicating).
    23           Q       -- before January 9th?
    24           A       No.     No.
    25           Q       Okay.

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     1           A       I don't even know if she said his name
     2                   that day, I'm sure she probably did,
     3                   but I can't -- I can't 100 percent said
     4                   that.
     5                                   She just said this stuff
     6                   comes from a CIA guy, government, it
     7                   was all very official.               She use -- she
     8                   knew names and places in the
     9                   government.        And it was just so
    10                   (indicating), I'm going wow.
    11           Q       Did you consider this -- this
    12                   information you were getting from Mary
    13                   Fanning to be extraordinary?
    14           A       Did -- I -- I -- I considered it to be,
    15                   if it was true, it answered all my
    16                   questions that I had about
    17                   non-residents voting, and people that
    18                   aren't alive voting.
    19                                   It explained it all.              I'm
    20                   going, "Wow, this is an answer.                   I hope
    21                   it's all true.           It sure sounds true."
    22                                   It didn't take me long to
    23                   validate it, that, yes, Dennis
    24                   Montgomery was with the CIA and -- and
    25                   there was Hammer Scorecard and -- and

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     1                   it's real.
     2                                   But here's a gag order on
     3                   his -- his -- that needs -- this needs
     4                   to be signed in order to release his --
     5                   his data.
     6                                   And I'm going, "Wow, this
     7                   coun" -- you know, I was very excited
     8                   that, you know, that this would be --
     9                   be able to get this to the president
    10                   and say, "Look at our country has been
    11                   attacked; our election platforms have
    12                   been completely hacked."
    13           Q       When had you -- you said that you had
    14                   been doing your own investigations or
    15                   -- or --
    16           A       (Indicating).
    17           Q       -- looking at this non-resident issue.
    18                   How did you first become concerned
    19                   about voter fraud issues?
    20           A       November 4th of 2021 -- or 2020.
    21                   November 4th when I woke up -- these
    22                   are math -- I look at deviations, I
    23                   took calculous in eighth grade.
    24                                   I look at deviations every
    25                   single day, every single day.                     And if

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     1                   something changes, you have -- there's
     2                   a -- you have to have an explanation
     3                   for that, based on historical data.
     4                                   So that's what I did.                And
     5                   one of the first things was looking at
     6                   Arizona, there was only two percent
     7                   left to count, and it was impossible
     8                   for Donald Trump to lose.
     9                                   Based on other data -- and
    10                   I'm going there's something going on
    11                   here.    Then I looked at Nevada and all
    12                   these non-residents had voted.
    13                                   You have to be a Nevada
    14                   citizen for 30 days, and all these
    15                   non-residents -- I'm going, "Wow."
    16                                   So then I started checking
    17                   on other counties.             Over in -- in my
    18                   own counties, here in Minnesota.                     I
    19                   checked in with Wisconsin.                 All these
    20                   different places and everyone was the
    21                   same.
    22                                   Like you had people that
    23                   voted that didn't live there.                     And it
    24                   didn't make sense that people would all
    25                   go out and commit crimes.                I didn't

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     1                   believe it.
     2                                   And, you know, all these
     3                   tons of deviations and anomalies that
     4                   are impossible.           You know, you hear
     5                   about --
     6           Q       Mr. Lindell?
     7           A       -- one county -- huh?
     8           Q       I'm gonna cut you off, again.
     9           A       Okay.
    10           Q       The question was when.
    11           A       November 4th, the morning of November
    12                   4th when -- when a -- I'm -- 800,000
    13                   votes came down in Pennsylvania, 106 --
    14                   here's my biggest thing, 106,000 votes
    15                   came down in the middle of the night,
    16                   they stopped everything in all five --
    17                   in these five states, that was a
    18                   deviation.
    19                                   I sat up and watched and
    20                   they go, "Oh, 106,000 votes came down
    21                   for Biden and 3,000 for Trump in
    22                   Michigan."
    23                                   Now -- and they said it was
    24                   because the mail-in voted were counted
    25                   then.    But the mail-in votes in

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     1                   Michigan, at my investigation, were
     2                   counted on the morning of third.
     3                                   So I'm going, "How do you
     4                   explain this?"           It's impossible to
     5                   explain.      So there were all these
     6                   different things of my own.                 I -- when
     7                   I -- I was watching --
     8           Q       -- Mr. Lindell?
     9           A       Huh?
    10           Q       I --
    11           A       -- you asked me when.
    12           Q       Yeah.
    13           A       Okay.
    14           Q       What does that have to do with -- when?
    15                                   MR. CAIN:            I'm gonna object
    16                   as non-responsive.
    17
    18
    19
    20                   By Mr. Cain:
    21           Q       You've answered November 4th; okay?
    22           A       Okay.
    23           Q       That's -- that's all my question was.
    24           A       Okay.
    25           Q       All right.        So, when President --

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     1                   former President Trump, was claiming
     2                   that there was voter fraud in
     3                   connection with the 2016 election, four
     4                   years prior, you hadn't started looking
     5                   at election fraud issues at that time;
     6                   is that fair?
     7           A       No, I didn't know anything about
     8                   elections fraud -- elections.                     I had
     9                   never even voted prior to 2016.                     I was
    10                   an ex-crack addict.              I didn't pay
    11                   attention to politics.
    12           Q       And then that changed in 2017 when you
    13                   -- when you met former President Trump;
    14                   right?
    15           A       I met him in August of 2016 on August
    16                   15, 2016.
    17           Q       All right.        And I think he -- well, let
    18                   me ask about that.             What -- what was
    19                   the circumstances surrounding that
    20                   meeting?
    21           A       He -- he invited me to meet him and he
    22                   asked questions about the manufacturing
    23                   that My Pillow did here in the United
    24                   States.     How it was working, he wanted
    25                   to bring manufacturing back.

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     1                                   We also talked about my
     2                   recovery network because me being an
     3                   ex-crack addict, I said, "I'm gonna
     4                   have this platform," which I do, it's
     5                   called the Lindell Recovery Network and
     6                   it's for anybody in addiction.
     7                                   I told him what I was doing.
     8                   I was evangelizing -- going around and
     9                   churches and everywhere to get people
    10                   out of addiction.
    11                                   And he said, "I'm gonna stop
    12                   them drugs pouring in from the -- we're
    13                   going to shut that border down."                   And
    14                   it was just he had great business
    15                   ideas.
    16                                   And -- and I left there --
    17                   there was no agenda -- I wasn't putting
    18                   any money or anything, he never asked
    19                   me for nothing.           Just he was very --
    20                   wanted to know from a manufacturer how
    21                   it was making stuff here, and getting
    22                   that a thing before he went out there
    23                   and, you know, was president.
    24           Q       Did you support President Trump --
    25                   former President Trump, for the 2016

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     1                   election cycle?
     2           A       What I did after that point is I went
     3                   and asked all his employees, "Is this
     4                   guy for real?"           I didn't know anything
     5                   about a president or anything like
     6                   that.
     7                                   And I said -- I asked all
     8                   his employees, a lot of them, on April
     9                   15th and 16th and they said, "Yes, he's
    10                   a great man, great -- he's great
    11                   leader."
    12                                   And what I'd just seen, I
    13                   go, "Wow, this is good business sense
    14                   to be able to problem solution and what
    15                   it would manifest to."
    16                                   I got back to Minnesota and
    17                   I did a press release, I was the
    18                   media's darling at that time.                     And as
    19                   soon as I did a press release that I
    20                   met Donald Trump, in a meeting -- not
    21                   even saying what we talked about, I was
    22                   attacked.       I was called a racist and
    23                   everything.
    24                                   That was my first taste of
    25                   how they hated this guy, or something,

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     1                   in the media.          It was disgusting what
     2                   they did to me then, and that was right
     3                   away in August.
     4                                   Did I support him?                I went
     5                   to -- I went to the second and third
     6                   debate and the third debate I said I
     7                   think the thing was on business news or
     8                   whatever in the spin room, I said I've
     9                   met him and I believe he'll be a great
    10                   president.
    11                                   So when you say support, I
    12                   went all in.         I went all in as part of
    13                   people asked me, if the media asked me,
    14                   "What do yu think of him?"                 I said,
    15                   "He's gonna -- I think he's gonna do a
    16                   great job."
    17                                   I got -- I had the due
    18                   diligence.        I -- I could say it from
    19                   the heart because I had met him.
    20                                   MR. CAIN:            I'm gonna object
    21                   to the responsiveness of your prior
    22                   answer.     Before you answered a question
    23                   I didn't ask.
    24
    25

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     1                   By Mr. Cain:
     2           Q       All I asked you is whether you
     3                   supported him in the 2016 election.
     4           A       What -- what -- are you of talking
     5                   support by money or what?                I don't get
     6                   it.   I supported him with my voice.                   I
     7                   said, "Yes, this is the -- I think
     8                   he'll be a great President."
     9           Q       It's fair to say you've supported
    10                   former President Trump since at least
    11                   August of 2016 --
    12           A       -- as far as what support?                 Money, no.
    13           Q       -- until the fall --
    14           A       -- I don't put any money into his
    15                   stuff.     I support him because I believe
    16                   he's a great President.
    17           Q       You're not listening to my question --
    18           A       -- well, you got to -- you got to
    19                   specific.       When you say 'support,' what
    20                   are you saying --
    21                                   MR. MALONE:          Mike --
    22                                   THE WITNESS:          -- a monetary?
    23                   Or -- or by my voice?
    24                                   MR. MALONE:          Mike, let him
    25                   clarify.

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     1                                   MR. CAIN:            I'll clarify my
     2                   question.
     3                                   MR. MALONE:            He will clarify
     4                   the question.
     5                                   THE WITNESS:            Okay.
     6                                   MR. CAIN:            You -- you just
     7                   keep interrupting me.                 And so I can't
     8                   do that for you while you're talking at
     9                   least.
    10
    11
    12                   By Mr. Cain:
    13           Q       Since August of 2016 you have publicly,
    14                   not financially, publicly supported
    15                   former President Trump until the
    16                   present time; correct?
    17           A       Correct.
    18           Q       All right.        And you support publicly,
    19                   his narrative, that the 2020 election
    20                   was fraudulent; correct?
    21                                   MR. MALONE:            Object to form.
    22                                   THE WITNESS:            What's that?
    23                                   MR. MALONE:            I'm just
    24                   objecting to the form of that question,
    25                   Mike, you can answer it.

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     1                                   THE WITNESS:          I'm gonna
     2                   answer that and say correct, but -- but
     3                   I'm gonna (inaudible) with a caveat.
     4                                   All elections that have been
     5                   used with computers, now I have
     6                   learned, we have to fix our election
     7                   platforms.
     8                                   Everything I'm doing right
     9                   now is not to overturn one election.                     I
    10                   was asked by the Washington Post,
    11                   "Mike, what do you think happened in
    12                   2016?"
    13                                   And I said, "I would not
    14                   trust one election with -- where
    15                   machines were involved.               Ever."
    16                   Knowing what I know now, which I didn't
    17                   know then.        Ever.       And that's fact.
    18                                   Even on -- even on Jimmy
    19                   Kimmel, I said that on Jimmy, "If the
    20                   shoe was reversed on the other foot and
    21                   your friend, Donald Trump, had been
    22                   selected would you still be sounding
    23                   the alarm?"
    24                                   I said, "Absolutely."              My
    25                   thing is never changed -- if we don't

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     1                   fix our -- secure our elections we're
     2                   done as a country.             And that's fact.
     3                                   MR. CAIN:            I'm gonna object
     4                   as non-responsive to everything after
     5                   correct, in the first sentence of your
     6                   response.       All right.
     7
     8
     9                   By Mr. Cain:
    10           Q       So you had this discussion with Ms.
    11                   Fanning, you had your eureka moment on
    12                   the 9th --
    13           A       (Indicating).
    14           Q       -- and then what did you do after that
    15                   with respect to former President Trump?
    16                   Did you -- were you able to get ahold
    17                   of him?
    18           A       I didn't have his phone number.                   I
    19                   never did have his phone number then.
    20           Q       Okay.
    21           A       I -- I didn't -- I -- I reached out to
    22                   the White House and said, "Could I get
    23                   a meeting?        Could I get a meeting?"
    24                   And unresponsive.
    25                                   Then I went there and

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     1                   finally Mark Meadows said, "You can
     2                   have five minutes."              That was on -- on
     3                   the 15th of January.
     4           Q       Okay.     And you were in contact with Mr.
     5                   Meadows who --
     6           A       -- no.     Contact -- I don't know, you'd
     7                   have to look at the things.                 I reached
     8                   out and met -- to -- I think -- I don't
     9                   know if I had -- I believe I had his
    10                   phone number because of the summer
    11                   before, having a supplement that would
    12                   help this country.
    13                                   So, yeah, I probably text
    14                   him.     I don't know how -- I don't know
    15                   how I got there, but I didn't get -- I
    16                   either e-mailed the White House, or
    17                   asked Mark, "How do you get this
    18                   appointment?"
    19                                   I can't remember that; you'd
    20                   have to -- it's one or the other.
    21                   Either it was by e-mail or -- or -- or
    22                   Mark by -- by phone or by text.                   I
    23                   don't know.
    24           Q       All right.        Because you -- his text,
    25                   'his' being Mark Meadow's texts, were

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     1                   subpoenaed by the January 6th
     2                   committee; weren't they?                Do you know
     3                   that?
     4           A       I have no idea.           I had nothing to do
     5                   with January 6th committee.
     6           Q       Okay.
     7           A       I actually wanted to go there to bring
     8                   him evidence, but they wouldn't invite
     9                   me.
    10           Q       So you were texting with Mark
    11                   Meadows --
    12           A       -- I don't know, you'll have to --
    13                                   MR. MALONE:          -- Mike --
    14                                   THE WITNESS:          -- I don't
    15                   know.
    16                                   MR. MALONE:          Just let him
    17                   finish the question.
    18
    19
    20                   By Mr. Cain:
    21           Q       Do you recall texting with Mark Meadows
    22                   around January 14th about coming to see
    23                   President Trump?
    24           A       I said it's either text or e-mail to
    25                   the White -- I don't recall.                  It's

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     1                   either one or the other.
     2           Q       And did you spend -- you said you were
     3                   given five minutes, how long were you
     4                   with former President Trump?
     5           A       I was probably in there for five to ten
     6                   minutes max.
     7           Q       Who else was there?
     8           A       Robert O'Brien, the director of
     9                   national security, and Mark Meadows.
    10                                   And then Mark Meadows left
    11                   and the President gave the stuff to
    12                   Robert O'Brien and said -- there was
    13                   two things I brought.
    14                                   One was four -- were these
    15                   four pieces of evidence.                Another was
    16                   an envelope, my lawyers that had given
    17                   me this envelope and said, "If you do
    18                   get this meeting, would you give him
    19                   that?"     So after they took the
    20                   evidence --
    21           Q       -- do you know what was in the
    22                   envelope?
    23           A       I don't know.          It was what you seen on
    24                   TV.   I've never read it.               It was
    25                   recommendations to the President, no

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     1                   idea.
     2                                   He read the first thing, and
     3                   then said fire Robert O'Brien, after he
     4                   opened it.        After I had just got in an
     5                   argument with Robert O'Brien about our
     6                   national security.
     7                                   And here's evidence we have
     8                   -- was have intrusions into our
     9                   election.       It looks like China -- and
    10                   there was China on there, and Robert
    11                   O'Brien just dismissed that and I got
    12                   in a shouting match with him.
    13                                   And then the President
    14                   opened up -- I said, "Here's an
    15                   envelope, came from lawyer."                  He opened
    16                   it opened it up and the first thing he
    17                   said, "Fire Robert O'Brien."
    18                                   So I looked at him, I'm
    19                   going, "There you go."               And then the
    20                   President took him and gave it to
    21                   Robert O'Brien and said, "Would you
    22                   bring these upstairs to the lawyers and
    23                   see if there's something we can do
    24                   here?"
    25           Q       And that related to the, as you

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     1                   understood it, the invocation of the
     2                   Insurrection Act?
     3           A       No, there was no insurrection act on
     4                   there.     There was no insurrect -- that
     5                   was in the paper.
     6                                   My things were, here I need
     7                   this thing signed -- if you can get
     8                   this released, this guy has all the
     9                   evidence.       Here's four pieces of it.
    10                                   And that's what he said,
    11                   "Can you bring that up to the lawyers
    12                   and see if -- see what we," you know,
    13                   "If there's any validity to this."
    14                                   That's exactly what he said.
    15                   If there's any valid -- validity to
    16                   this.    Bring it upstairs.              So Robert
    17                   O'Brien brought me upstairs with the
    18                   envelope that was -- that was -- the
    19                   President had just opened.
    20                                   He brought it all up there
    21                   and he gave it to some guy, and that
    22                   guy came out of the -- his room about
    23                   ten minutes later.             The lady goes,
    24                   "Here, you got to go downstairs."                   She
    25                   gave those things back, not they've

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     1                    been opened.
     2                                     And I went back down there
     3                    and got a -- and asked the lady if I
     4                    could make a phone call to my son
     5                    outside the White House.
     6                                     I went out and made it and
     7                    that's when you seen that famous
     8                    picture taken by the Washington Post
     9                    the says, "Martial Law."
    10           Q        Were the -- the martial law reference
    11                    was that your handwriting?
    12           A        No.    It's (laughing) --
    13                                     MR. MALONE:           -- Mike.
    14                    Objecting to this being asked and
    15                    answered to your previous deposition.
    16                    I think you've already covered this.
    17                                     THE WITNESS:            Yeah, I've
    18                    already covered all this.                   This is --
    19                    -- this -- yeah, right.                  And that --
    20                    and it's all over the news, it's been
    21                    all over the media.
    22
    23
    24
    25                    By Mr. Cain:

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     1           Q       Who was -- who put the martial law and
     2                   the insertion --
     3           A       -- I have no idea.
     4                                   MR. MALONE:          Objection --
     5                                   THE WITNESS:          -- no idea.
     6                                   MR. MALONE:          Just wait
     7                   until --
     8                                   THE WITNESS:          -- absolutely
     9                   no idea.
    10
    11
    12                   By Mr. Cain:
    13           Q       But what you did -- because Dennis
    14                   Montgomery was deposed yesterday, part
    15                   of what you were asking at that point
    16                   is to release this gag order so that
    17                   you could publicly disclose whatever
    18                   information Dennis Montgomery had;
    19                   right?
    20           A       That is correct.            That's the whole
    21                   purpose of me going to the White House.
    22           Q       Okay.
    23           A       It was, here's a sample, and I need
    24                   this released.           I guess the guy's got
    25                   some kind of thing on there, to get

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     1                   this released.
     2                                   And he'd, you know, he'd
     3                   said, "Hey, if -- if you get this
     4                   released, we can tell the world."                     You
     5                   know.    Save the country.
     6           Q       And did anything come of that -- I
     7                   think I know the answer to this, but
     8                   did anything come of you providing that
     9                   information to former President Trump?
    10           A       Yeah, a picture came of it and I lost
    11                   hundreds of millions of dollars because
    12                   of a picture that was taken outside the
    13                   White House.
    14           Q       No, I -- I meant with respect to Dennis
    15                   Montgomery.
    16           A       Oh, they -- they never brought me back
    17                   to the President like they were
    18                   supposed to.         They shoed me out of the
    19                   White House.         I've already told you all
    20                   that.
    21           Q       So what did you do after this White
    22                   House visit to obtain any additional
    23                   background information on Mr.
    24                   Montgomery, if anything?
    25           A       I had conversations with him.                     I -- I

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     1                   had a guy named Conan Hayes, the start
     2                   -- cyber guy that had started
     3                   validating, I don't know if that was
     4                   before or after the absolute proof
     5                   meeting, so I -- I can't say that for
     6                   sure.
     7                                   But I think it was after.
     8                   But all I know is when we get up to
     9                   absolute proof a -- conversations with
    10                   Dennis, conversations with other people
    11                   that came for that movie, a General
    12                   McInerney, he was a general.
    13                                   Colonel Waldron, all these
    14                   people, General -- General Mike Flynn,
    15                   all these people that worked for the
    16                   government that validated this guy that
    17                   worked for the CIA and validated Hammer
    18                   Scorecard.        And validated that this guy
    19                   is real.
    20                                   And I'm going, "Well, we got
    21                   to get this out there."               You know.
    22           Q       So in terms of people that validated
    23                   Dennis Montgomery, or vouched for him,
    24                   you're saying General McInerney, Phil
    25                   Waldron, Conan Hayes --

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     1           A       -- cone -- no, Conan Hayes he was -- he
     2                   -- I didn't know him from Adam, he dug
     3                   into the data, started digging into the
     4                   data.     But I don't know the timing on
     5                   that.
     6                                   Conan Hayes was a -- he was
     7                   a cyber guy.         And I didn't hire him, he
     8                   just started working on this data.                    I
     9                   don't if that goes -- who that went
    10                   back to.
    11                                   But there were a lot of
    12                   people reaching out and people that
    13                   just wanted to help the country.                   And
    14                   -- and I know he started then
    15                   validating Dennis's data.
    16           Q       But you got warnings, did you not,
    17                   before the Cyber Symposium that Dennis
    18                   Montgomery was a fraud; didn't you?
    19           A       No.     Are -- you know mean the media
    20                   attack?     I never mentioned Dennis
    21                   Montgomery, ever.             Ever.     Ever before
    22                   the Cyber Symposium.
    23                                   I was attacked by CNN; I was
    24                   attacked by a guy named Larry Johnson,
    25                   who I believed worked for the CIA,

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     1                   that's been validated.
     2                                   All kinds of people that
     3                   work for the CIA, or at least
     4                   alledgedly do, all reached out -- even
     5                   to my family members were attacked
     6                   going, "Mike's got to back off.                   This
     7                   Dennis Montgomery," I never said
     8                   anything about Dennis Montgomery ever.
     9                                   I had four different ways
    10                   that that -- his thing were -- were
    11                   validated.        People that came to me and
    12                   said, "Oh, it's real, it's real."
    13                                   Evan (inaudible) was another
    14                   person that worked on it with Dennis
    15                   and it came -- and he -- and this
    16                   person's got the same data, data is
    17                   data.    And so I never mentioned Dennis.
    18                                   But I thought it was very
    19                   strange that people are out there
    20                   trying to discredit Dennis Montgomery
    21                   when I never mentioned who I got stuff
    22                   from, ever.        Ever.
    23                                   And it wasn't just Dennis
    24                   Montgomery other people had the same
    25                   stuff, but it ended up pointing back to

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     1                   Dennis Montgomery.             So that's not true.
     2                                   CNN attacked me -- CNN
     3                   attacked me a week before the Cyber
     4                   Symposium and brought up Dennis
     5                   Montgomery and of course they cut it
     6                   from the thing.
     7                                   He goes, "Mike, you know, we
     8                   really care about you," blah, blah,
     9                   blah.     Oh, you care about oh Mike, how
    10                   about a hug?         If you remember those
    11                   things.
    12                                   I'm going this is weird that
    13                   people are going after Dennis
    14                   Montgomery and I never said a word
    15                   about Dennis Montgomery.                 So...
    16                                   MR. CAIN:            Object to the
    17                   narrative and the lack of
    18                   responsiveness.
    19
    20
    21                   By Mr. Cain:
    22           Q       Did you have people before the Cyber
    23                   Symposium warn you that -- that Dennis
    24                   Montgomery was a fraud?
    25           A       Only news cast people like CNN, which I

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     1                   don't trust as far as I can throw them.
     2                   They attacked me, attacked me, it
     3                   wasn't warn me, they attacked me.                   They
     4                   went after my family and said, "Back
     5                   off on his data.            Back off on his
     6                   data."
     7                                   At the Cyber Symposium I had
     8                   a thing stuck in my side and threatened
     9                   me, don't bring out Dennis Montgomery's
    10                   data.     That's what I had for warnings.
    11                                   Not that it was a fraud that
    12                   he was -- that you better not put this
    13                   out there.        You're gonna -- you're
    14                   getting a -- you know, this -- this
    15                   information blah, blah, blah and bad
    16                   mouthing Dennis Montgomery.
    17                                   I'm like, nobody said -- I
    18                   don't know if anybody said he was a
    19                   fraud.
    20           Q       I don't -- a thing stuck in your side?
    21           A       Yeah.
    22           Q       Is this the --
    23           A       -- they got -- it's under a police
    24                   report.     At the Cyber Symposium three
    25                   guys up by the elevator, and it was --

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     1                   it was very much --
     2           Q       -- you -- you've told me about this.
     3           A       And you've got your little --
     4                                   THE WITNESS:            -- go over
     5                   there -- does he have to be in this
     6                   room?
     7                                   MR. CAIN:            Yeah.
     8                                   MR. MALONE:            Mike, he has a
     9                   right to be in here.
    10                                   THE WITNESS:            Okay.     It's in
    11                   police report in -- in South Dakota.
    12                                   MR. CAIN:            Now we've talked
    13                   about that.
    14                                   THE WITNESS:            Okay.     So what
    15                   --
    16                                   MR. CAIN:            -- I didn't know
    17                   that's what you were referring to when
    18                   you -- when you supposedly had --
    19                                   THE WITNESS:            -- yeah.
    20                                   MR. CAIN:            Okay.
    21
    22
    23                   By Mr. Cain:
    24           Q       But back to probably four attempted
    25                   questions before the (inaudible) you

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     1                   responded and you said you had four
     2                   different ways to validate Dennis
     3                   Montgomery's data, or words to that
     4                   effect.     Do you remember saying that?
     5           A       When did I say that?
     6           Q       You said there were four ways --
     7           A       -- no, there was other -- there was
     8                   other people out there that has -- you
     9                   had all the people that validated who
    10                   he was, that he worked for the CIA.
    11                                   I had Conan Hayes looking at
    12                   the data, then I had other people that
    13                   had brought stuff and said, "Hey,
    14                   there's Hammer Scorecard."                 This guy --
    15                   they mentioned other -- other cyber
    16                   guys that had worked on Hammer
    17                   Scorecard, and that it was real."
    18                                   And they're bringing the
    19                   data.     And I go, "Wait a minute, I
    20                   never mentioned Dennis Montgomery to
    21                   them."     They're bringing and saying
    22                   other guys worked on this Hammer
    23                   Scorecard.
    24                                   And here's this data and
    25                   here's this thing that sucks -- that

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     1                   breaks into things and -- and our
     2                   government made it to steal other
     3                   people's elections.
     4                                   So these were validation
     5                   after validation going you have
     6                   Generals telling you it's real, you
     7                   have everything telling you it's real.
     8                   Of course it was real.
     9           Q       And -- and --
    10           A       -- you can't make it up.                 And then when
    11                   I validated Dennis, did he really work
    12                   for CIA?      Yes, he did.             Did
    13                   (inaudible)?         Yes, he did.            I seen all
    14                   kinds of stuff that was -- that was
    15                   coming at me to validate him.
    16           Q       During this period of --
    17                                   MR. CAIN:            -- objection;
    18                   non-responsive, by the way.
    19
    20
    21                   By Mr. Cain:
    22           Q       I asked -- you testified -- testified
    23                   about four different ways that you
    24                   validated Dennis Montgomery, that's
    25                   what I was referring to --

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     1           A       -- and I told you people, government
     2                   officials --
     3           Q       All right.
     4           A       -- including Generals and stuff
     5                   validated him.           Government gag order
     6                   that's from government, that pretty --
     7                   and all the -- all the credentials he
     8                   has.
     9                                   And -- and also, by the way,
    10                   also I talking to Dennis directly.                    I
    11                   bought into a couple of his companies
    12                   then.
    13           Q       Right.     We'll get to that.              You were
    14                   also in this period of time talking
    15                   with Sidney Powell; were you not --
    16           A       No.
    17           Q       -- about Dennis Montgomery?
    18           A       No.
    19           Q       You didn't --
    20           A       -- no, there was I think one -- one
    21                   time that she sent me an e-mail or
    22                   something, I don't know.                I never --
    23                   Sidney Powell never talked to me about
    24                   Dennis Montgomery.
    25           Q       You never said that --

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     1           A       -- ever.
     2           Q       You never talked or said that you were
     3                   talking to her at least twice a day
     4                   during this period?
     5           A       No.   No, not during that period.
     6                   Absolutely not, that's not true.
     7           Q       All right.
     8           A       Maybe in December, or -- when December
     9                   when or November whenever it was then.
    10                                   And she was talking about --
    11                   the only time I talked to Sidney, I
    12                   didn't know her from Adam, she said --
    13                   she got in this big donor call for
    14                   donations and I was on the call and I
    15                   had a private thing.
    16                                   I said -- I said, "Is there
    17                   a -- with this election, are the
    18                   machines important?"                 She goes,
    19                   "Absolutely, but we got enough evidence
    20                   anyway's, it's a completely fraudulent
    21                   election."        That was her quote.
    22           Q       And she -
    23           A       -- she never brought up Dennis
    24                   Montgomery, so I don't know where
    25                   you're getting that.

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     1           Q       Publicly, she talked about Hammer and
     2                   Scorecards.
     3           A       I wasn't -- I didn't see any of that
     4                   thing publically.              I hadn't even heard
     5                   about Hammer Scorecard until January
     6                   9th.
     7           Q       Okay.
     8           A       So maybe in some Tweets or something.
     9                   I don't know.
    10           Q       So your -- your testimony is you never
    11                   talked to Sidney Powell about Dennis
    12                   Montgomery and --
    13           A       -- and Hammer Scorecard, no.
    14           Q       Okay.
    15           A       That's not -- that's absolutely not
    16                   true.     I don't -- I don't remember
    17                   talking to her anytime about Dennis
    18                   Montgomery.          It was all new.              Or I
    19                   would've dug into it and said, "Let's
    20                   get ahold of this guy."
    21           Q       All right.
    22           A       100 percent I would've.
    23           Q       You referenced that you -- you looked
    24                   into his background.                 Have you told me
    25                   everything you've done -- you did back

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     1                   then to -- to verify that he was who he
     2                   was and what he could do?
     3           A       Yeah, talking to people in the
     4                   government.        Yeah, your generals, your
     5                   colonels, looking up stuff and validate
     6                   that -- what Mary had told me.
     7                                   Here, she said, check this
     8                   out, this out -- you can go back in
     9                   time.    I seen a tape once of him
    10                   testifying before -- about -- about the
    11                   Hammer -- about Hammer Scorecards
    12                   and...
    13                                   You know, everything --
    14                   everything Mary said and everything he
    15                   said validated.           You could validate the
    16                   -- the -- that yes, he did work for
    17                   their -- his government contract, all
    18                   these things.
    19           Q       You did say that there were media
    20                   people, CNN, I think you referenced,
    21                   that were providing some warnings about
    22                   Mr. Montgomery, and when you mentioned
    23                   a fellow named Larry Johnson, did you
    24                   mean to say Jerry Johnson?
    25           A       No, Larry Johnson not Jerry Johnson.

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     1           Q       Okay.
     2           A       Larry Johnson, he works for the CIA.
     3                   He works -- he stepped in on Gateway
     4                   Pundit.     He was putting threatening
     5                   things into all people out there
     6                   threatening them or telling them, "Mike
     7                   needs to back off.             Mike needs to back
     8                   off."
     9                                   And some guy named zoo --
    10                   not -- Zullo I think, Zullo -- I'd have
    11                   to look back then.             But there were all
    12                   these guys that I looked and there --
    13                   and everyone's saying they're tied to
    14                   the CIA.
    15                                   And they're all my -- like
    16                   my girlfriend at the time, my fiance,
    17                   all these different people out there,
    18                   family members.
    19                                   And going, "Mike needs to
    20                   back off on -- on this stuff.                     He needs
    21                   to back off on this stuff.                 You know
    22                   that -- that evidence isn't true,
    23                   Dennis Montgomery --" and I'm going,
    24                   "Who?"     I never said anything about
    25                   Dennis Montgomery.

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     1                                   And CNN when they attacked
     2                   me for three hours, right here in
     3                   Minneapolis, I did an interview, the
     4                   guy passed away last year.                 We actually
     5                   became pretty good friends.
     6                                   Three hours I interviewed
     7                   and he brought up Dennis Montgomery,
     8                   not me.     He says, "You know this Dennis
     9                   Montgomery, his..."              Whoever said
    10                   anything about Dennis Montgomery?
    11                                   Why do you all keep bringing
    12                   up Dennis Montgomery?                 That's what I --
    13                   that's -- that was strange to me and
    14                   even to -- about anything.
    15                                   MR. CAIN:            Object to the
    16                   responsiveness, once again.
    17
    18
    19                   By Mr. Cain:
    20           Q       Again, we're not gonna get through your
    21                   deposition today if -- if you volunteer
    22                   information that I haven't asked you
    23                   about.     Okay?
    24           A       (Indicating).
    25           Q       All right.        We -- we started talking

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     1                   about --
     2           A       -- I keep getting distracted by your --
     3                   your client making faces and doing,
     4                   yeah, derogatory things.
     5                                   And I thought I'd been -- I
     6                   mean, instead getting an F like last
     7                   time, you got to give me at least a D+;
     8                   right?
     9           Q       Well, I don't know many people who
    10                   are --
    11           A       (Laughing).
    12           Q       -- who are as patient as we are, after
    13                   being called --
    14           A       -- oh, yeah, you know what?                 I -- no
    15                   one would be patient with you
    16                   criminals.
    17                                   MR. MALONE:            Mike, Mike.
    18                                   MR. CAIN:            There you go.
    19                                   THE WITNESS:            Don't tell me
    20                   that.     I'm being very patient with you.
    21                   This has nothing to do with your
    22                   client.     You're questioning stuff that
    23                   has nothing to do with anything.
    24                                   MR. CAIN:            Well, let's
    25                   just --

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     1                                   THE WITNESS:          -- you'd think
     2                   you'd would be a Dominion or a
     3                   Smartmatic lawsuit, not a guy that went
     4                   and attacked me over at Newsmax.                   Go.
     5
     6                   By Mr. Cain:
     7           Q       You've already testified about the fact
     8                   that you didn't even know that Joe
     9                   Oltmann was on the stage at your Cyber
    10                   Symposium --
    11           A       No idea.
    12           Q       -- (inaudible).
    13           A       Absolutely had no idea.
    14           Q       Okay.    So maybe you don't know what's
    15                   relevant or what's not relevant in this
    16                   case.
    17           A       Okay.
    18           Q       That's not for us to decide.
    19           A       Okay.
    20           Q       Someone else will decide that.
    21           A       Oh, really?
    22                                   REPORTER'S NOTE:            Whereupon,
                                         Michael Lindell Deposition
    23                                   Exhibit Number 186 was
                                         marked for identification.
    24
    25

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     1                   By Mr. Cain:
     2           Q       Take a look please at Exhibit 186.                    The
     3                   reason I mention Jerry Johnson,
     4                   thinking perhaps that you had mistaken
     5                   the name is because of this e-mail.
     6                                   Do you remember this e-mail?
     7                   It's from Jerry Johnson to Mike Lindell
     8                                                    August 2nd, 2021.
     9           A       (Witness reading to self).                  No.
    10           Q       Is that your e-mail address?
    11           A       What's that?
    12           Q       Mike --
    13           A       -- no, I don't remember this e-mail.
    14                   You need to understand, I don't read
    15                   e-mails.      I -- very seldom do I read
    16                   e-mails.      And I'm -- I'm just being
    17                   honest.     I have no idea here (reading
    18                   to self).
    19           Q       Well, let me -- let me you this
    20                   question.
    21                                   MR. MALONE:            Mike, answer
    22                   his question.          We've been --
    23                                   THE WITNESS:            -- okay.    Do I
    24                   -- do you recognize this?
    25                                   MR. CAIN:            Yes.

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     1                                    THE WITNESS:           No.
     2
     3
     4                   By Mr. Cain:
     5           Q       Do you know who Jerry Johnson is?
     6           A       Jerry Johnson...
     7           Q       Dr. Jerry Allen Johnson.
     8           A       I know a Jerry Johnson that I've --
     9                   I've done work with before.                   That's
    10                   worked for me before.
    11           Q       Okay.     Is that the same person that --
    12           A       -- I don't know.             Jerry -- Jerry --
    13                   Doctor -- I didn't know if he was a
    14                   doctor.      If it's Jerry Johnson, I know
    15                   Jerry Johnson that worked for me.
    16           Q       Okay.     He worked for My Pillow?
    17           A       No.
    18           Q       What did Jerry Johnson do?
    19           A       Jerry Johnson at one -- he was -- he
    20                   worked for our religious broadcast
    21                   radio and then he came on for me at --
    22                   with -- what was he doing then?
    23                                    Maybe with my Lindell
    24                   Recovery Network.              I believe that's
    25                   where he worked for me, the Lindell

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     1                   Recovery Network for the addicts.
     2           Q       Are you still in touch with him?
     3           A       No.     Like once in -- once in a blue,
     4                   blue moon.
     5           Q       Is it someone you trust, this Jerry
     6                   Johnson?
     7           A       Do I trust him?
     8           Q       Yeah.
     9           A       For my recovery network.                I don't have
    10                   nothing against him.
    11           Q       Okay.     Do you have any reason to doubt
    12                   that Jerry Johnson sent you this e-mail
    13                   to you're my Pillow address in August
    14                   of 2021?
    15           A       (No response).
    16           Q       The question is, do you have any reason
    17                   to doubt that this was sent to you?
    18           A       (Witness reading to self).                 Was this an
    19                   attachment?        I don't get it.            I don't
    20                   get what I'm looking at.
    21           Q       Yes.
    22           A       Huh?
    23           Q       An attachment to this e-mail?
    24           A       Right.     So I've never -- I've never --
    25                   I have no idea that it came from Jerry

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     1                   Johnson, or if it's my Jerry Johnson.
     2                                   I've -- I've never seen this
     3                   -- this whole thing before in my life.
     4                   Ever.
     5           Q       Okay.    But you produce -- My Pillow
     6                   produced this, and that's the bottom
     7                   right.
     8           A       That's my -- that's my e-mail --
     9           Q       That's --
    10           A       -- I use for everything.                We know that,
    11                   we've been through that.                It's my
    12                   e-mail, it's my personal                                 .
    13           Q       Right.     To be distinguished from the
    14                                       --
    15           A       -- the ML was put on later so we -- if
    16                   people had complaints or whatever it
    17                   went to a special e-mail called my --
    18                                   .
    19                                   There's different things we
    20                   set that up for.            So that they could be
    21                   addressed if somebody had a customer
    22                   service problem, that would be sent to
    23                   there.     So they go through another
    24                   system were people -- customer service
    25                   people are.

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     1                                   MR. MALONE:            Mike --
     2                                   THE WITNESS:            -- he brought
     3                   it up.
     4                                   MR. MALONE:            I know.     And
     5                   you've already explained it.
     6                                   THE WITNESS:            All right.
     7                                   MR. CAIN:            Okay.     So...
     8                                   THE WITNESS:            Never seen
     9                   this.    So what's your next question?
    10                                   MR. CAIN:            All right.
    11
    12
    13                   By Mr. Cain:
    14           Q       The next question you haven't answered,
    15                   which is my prior question, do you have
    16                   any reason to doubt that this was
    17                   e-mailed to you?
    18           A       I -- I -- no idea; it could be in my
    19                   junk mail.        I don't know.              I guess it
    20                   says, Jerry Johnson to Mike Lindell, if
    21                   that's the Jerry Johnson.                    I don't
    22                   know.
    23                                   I don't think he's a doctor,
    24                   so I have no idea what your presenting
    25                   me here.

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     1           Q       Okay.
     2           A       I don't.
     3           Q       All right.        Well, it came from the My
     4                   Pillow files.
     5           A       Okay.    Well, that's fine.              People
     6                   e-mail me at                             all the
     7                   time, and I have no idea who these
     8                   people are.        I get thousands of e-mails
     9                   a day.     The whole country has my phone
    10                   number and e-mail.
    11                                   So you're -- I mean, people
    12                   send me stuff all the time, I'm
    13                   serious.      All of this.
    14           Q       (Inaudible) --
    15           A       -- and there's nothing I can do.
    16           Q       (Inaudible).
    17           A       I have no idea who this is because I
    18                   don't think Jerry that worked for me
    19                   back then with my recovery network was
    20                   a doctor.
    21           Q       But you do know a Jerry Johnson?
    22           A       I know a Jerry Johnson.               One Jerry
    23                   Johnson, he worked for my recovery
    24                   network and for the religious broadcast
    25                   network.

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     1           Q       All right.        You did mention, if you
     2                   turn to the second page.
     3           A       (Witness complying).
     4           Q       This is the attachment.               It's a memo to
     5                   Sheriff Arpaio from Mike Zullo, you
     6                   mentioned that name earlier --
     7           A       Yeah, this --
     8           Q       -- do you see that?
     9           A       (Indicating).
    10           Q       You know who Michael Zulu is?
    11           A       No, I've never -- I've -- I -- he -- I
    12                   -- I know the name because he's the one
    13                   that was going around attacking people
    14                   from -- that knew me, or didn't even --
    15                   some people didn't even know me.
    16                                   He went to them as an
    17                   acquaintance, and they come up to me
    18                   and say, "This Michael Zullo says you
    19                   better back off," and blah, blah, blah.
    20                                   And I'm going, "Good for
    21                   Michael Zullo.           I don't know who
    22                   Michael Zulu is."             I have many, many
    23                   things between him and Larry Johnson,
    24                   which I believe both are with the CIA.
    25                   Now, can I prove that?               No.

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     1                                   But I told Larry Johnson
     2                   after the Cyber Symposium, I said,
     3                   "You," I said, "You attack me one more
     4                   time and I'm going -- and I'll go
     5                   public with it.           I don't care what
     6                   you're gonna do with your little threat
     7                   that you did at the Cyber Symposium."
     8                                   And I believe Michael Zulu
     9                   is part of that.
    10                                   MR. CAIN:            Objection;
    11                   non-responsive.
    12
    13
    14                   By Mr. Cain:
    15           Q       There's a memo attached to this e-mail
    16                   that was sent to your e-mail address
    17                   that contains information concerning
    18                   Dennis Montgomery.
    19                                   On the front page there's an
    20                   overview that references the fact that,
    21                   or at least the statement, that Dennis
    22                   Montgomery is a known conman and fraud.
    23                                   And then it goes on to say
    24                   that he committed fraud with respect to
    25                   the Maricopa County Sheriff's Office in

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     1                   2016.
     2                                   Were you aware in August of
     3                   2021, before the Cyber Symposium, that
     4                   Mr. Montgomery had been accused of
     5                   fraud?
     6           A       No.
     7                                   MR. MALONE:           Object to form.
     8                   Mike, you gotta wait.                Object to form
     9                   and foundation.
    10                                   THE WITNESS:           Okay.
    11                                   MR. MALONE:           You can answer.
    12                                   THE WITNESS:           No.     That I --
    13                   they -- I guess my question -- my thing
    14                   to that would be did -- was he charged?
    15                   Is that what you're saying?                  What was
    16                   the question?
    17
    18
    19                   By Mr. Cain:
    20           Q       Were you aware that Dennis Montgomery
    21                   had been accused of fraud with respect
    22                   to the Maricopa County Sheriff's Office
    23                   in 2020 -- or 2014?
    24           A       No.
    25           Q       Have you -- is this the first you've

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     1                   heard of that?
     2           A       No, I've heard all this stuff they've
     3                   tried to discredit him out there since
     4                   then -- the last year and a half
     5                   attack.
     6                                   In fact, I think it was -- I
     7                   don't know one of these little lawsuits
     8                   where it was brought up before.
     9           Q       All right.        Judge --
    10           A       -- and I say to that, you know, I was
    11                   an ex-crack head, I did things back
    12                   then too, what does it have to do with
    13                   the evidence?
    14                                   And what does it have to do
    15                   with this case?           Crazy.
    16           Q       Well, you don't think the credibility
    17                   of Mr. Montgomery is important?
    18           A       No, you know what I do?               I do my own
    19                   due diligence.           I don't -- you know,
    20                   people's past and what they've done,
    21                   that's their deal.
    22                                   I do my own due diligence
    23                   relative to the thing.               Like when I met
    24                   Donald Trump, I had done my own due
    25                   diligence.        You can't tell me something

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     1                   he's not, because I seen him.
     2                                   I met him, I did my own due
     3                   diligence.        I met the man.           You know,
     4                   if someone said, "Are you a great guy?"
     5                   I'd say, "No," because I met you.                     You
     6                   know, I met you and you've attacked him
     7                   for no reason.
     8                                   Dennis Montgomery -- I went
     9                   and did my own due diligence.                     I don't
    10                   care what he does out there, whatever
    11                   he does, that has nothing to do with
    12                   the facts.        That he worked for the
    13                   government, built Hammer Scorecard,
    14                   worked for the CIA, had these
    15                   contracts.
    16                                   I bought -- I bought -- I
    17                   did my due diligence when I bought into
    18                   two businesses with him.                Are you
    19                   kidding me?        What does that have to do
    20                   with the -- "Oh, he got accused of
    21                   fraud."
    22                                   Well you know what?                I've
    23                   been accused of a lot of things, too.
    24                   What does that have to do with
    25                   anything?

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     1           Q       A federal judge stated that Mr.
     2                   Montgomery committed fraud on
     3                   the Mariposa --
     4           A       -- oh, was he charged?               Did he get
     5                   charged?
     6           Q       Well --
     7           A       -- did he get charged?
     8                                   MR. MALONE:          Mike -- Mike,
     9                   you don't have to ask him questions.
    10                                   THE WITNESS:          Well, I'm just
    11                   asking.     I don't get it.
    12                                   MR. MALONE:          We'll --
    13                   (inaudible).
    14                                   THE WITNESS:          I got -- I'm
    15                   accused of all kinds of crap by you
    16                   guys and everybody else.
    17                                   MR. MALONE:          Mike, it's
    18                   okay.
    19                                   THE WITNESS:          Well, it's
    20                   damn ridiculous.
    21                                   MR. MALONE:          Just say you
    22                   don't know, that's fine.
    23                                   THE WITNESS:          I don't know;
    24                   I've never seen this thing in my life.
    25                   What's the next question?

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     1
     2
     3                   By Mr. Cain:
     4           Q       In your due diligence, as you put it,
     5                   did you not come across the fact that
     6                   Mr. Montgomery committed fraud against
     7                   the Maricopa County Sheriff's Office?
     8                                    And, specifically, this --
     9                   this federal judge said that quote,
    10                   "Having paid large sums of money to
    11                   Montgomery for his investigations, the
    12                   Maricopa County Sheriff's Office was a
    13                   victim of that fraud"?
    14                                    MR. MALONE:          Object to form
    15                   and foundation.
    16
    17
    18                   By Mr. Cain:
    19           Q       Were you not aware of that?
    20           A       No.     Absolutely not.
    21           Q       You weren't aware of Mr. Montgomery
    22                   attempting to convince the sheriff's
    23                   office that it was being monitored by
    24                   the Obama administration --
    25           A       No.

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     1           Q       -- with the government?
     2           A       No.
     3           Q       Okay.     So that wasn't something that
     4                   you came up -- when you said you did
     5                   your own due diligence, that wasn't
     6                   something you came across?
     7           A       No.     I validated that he worked for the
     8                   CIA, and he had these contracts.                   He
     9                   had a thing called blxware, all these
    10                   things is what I validate.
    11                                   And I could say the numbers;
    12                   he's showing me the numbers.                  So I had
    13                   a guy dig into the mathematic, dig in
    14                   there, let's check this out.                  And I had
    15                   government officials tell me it was
    16                   real, and I had generals and colonels.
    17                                   I mean, what more would you
    18                   want?     I mean, what the -- this is
    19                   crazy.
    20           Q       You had a guy dig into the mathematics?
    21           A       Dig into the numbers, Conan Hayes.                      I
    22                   told you that.
    23           Q       Conan Hayes.         Well, you said 'a guy,' I
    24                   don't know who you --
    25           A       -- I've told you that many times; we've

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     1                   been over this.
     2           Q       Is Mr. Hayes on your payroll still?
     3           A       He is now, he wasn't then.
     4           Q       There's other incidents related to Mr.
     5                   Montgomery that's reported on this
     6                   e-mail that was sent.                It's -- it's
     7                   rather lengthy, but --
     8           A       Okay.
     9           Q       -- I want to to point you to Page 10.
    10           A       (Witness complying).
    11           Q       Where it talks about Mr. Montgomery's
    12                   credibility, and it's at the bottom of
    13                   Page 10.      Are you with me on that?
    14           A       (Witness reading to self).
    15           Q       Okay.
    16           A       Yeah, I'm reading it -- what do -- what
    17                   do you want?         What's the question?
    18           Q       The first item is an allegation that
    19                   Mr. Montgomery defrauded the United
    20                   States Air Force with respect to some
    21                   technology that he had developed, drone
    22                   software in particular.                Were you aware
    23                   of those allegations?
    24           A       No, none of this.
    25           Q       Okay.    That is in February of 2006.                  In

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     1                   February -- or excuse me, November of
     2                   2010, I'm looking at the middle of Page
     3                   11, there's information that was sent
     4                   to you about Montgomery being indicted
     5                   on six felony counts for passing checks
     6                   totalling $1 million dollars with
     7                   insufficient funds at a Las Vegas
     8                   casino.
     9                                   Were you aware of those --
    10           A       No.
    11           Q       -- allegations based in --
    12           A       -- no.
    13           Q       Is this the first you're hearing of
    14                   that?
    15           A       Yeah.
    16           Q       Okay.     In March of 2009, as reported in
    17                   this memo, Magistrate Judge Cooke
    18                   concluded that Mr. Montgomery committed
    19                   perjury in a proceeding before him.
    20                   Excuse me, before her.
    21                                   Were you aware of the -- the
    22                   perjury finding by Judge Cooke?
    23           A       No.
    24           Q       Were you aware, prior to the -- the
    25                   Cyber Symposium that Mr. Montgomery had

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     1                   been sanctioned over $200,000 in court
     2                   fees with respect to this same matter
     3                   that I just referenced --
     4           A       No.
     5           Q       -- Judge Cooke?
     6           A       No.
     7           Q       And then you as said, you weren't aware
     8                   of the Maricopa County issues in 2014.
     9                   But then, nonetheless, you have gone
    10                   into business now with Mr. Montgomery;
    11                   is that true?
    12           A       Yeah.
    13           Q       Okay.
    14           A       Way back in January or February when I
    15                   bought into these other two business,
    16                   which was compression and it was -- I
    17                   looked into that, it seemed like a
    18                   great thing.
    19           Q       Okay.    Well, let's talk about your ties
    20                   to Mr. Montgomery through your business
    21                   connections.
    22                                   MR. CAIN:            But we need to go
    23                   off the record because the videotape is
    24                   -- is about over.
    25                                   THE VIDEOGRAPHER:             We are

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     1                   going off the record.                The time is
     2                   12:30.
     3                                   REPORTER'S NOTE:            Whereupon,
                                         a short recess is taken.
     4
     5                                   THE VIDEOGRAPHER:             We are
     6                   back on the record.              This is the start
     7                   to Media Number 3.             The time is 1:42.
     8
     9
    10                   By Mr. Cain:
    11           Q       Mr. Lindell, let's pick up on the
    12                   Dennis Montgomery, we were talking
    13                   about him before the break.
    14                                   And you had mentioned that
    15                   you were involved in some business
    16                   deals with him, or companies.                     Can you
    17                   just generally describe what that is?
    18           A       One's -- it's a compression thing for
    19                   videos, video compression.
    20           Q       Okay.
    21           A       And then the other one is blxware which
    22                   is tech -- which is technology that --
    23                   I guess technologies that he has.
    24                   Proprietary -- I don't know if patent
    25                   is the right word.

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     1           Q       Okay.
     2                                   MR. CAIN:            Let me mark...
     3                                   THE WITNESS:            I think
     4                   there's three companies I'm in with
     5                   him.    But I don't know the names other
     6                   than blxware.
     7
     8
     9                   By Mr. Cain:
    10           Q       Does SETEC strike a bell?
    11           A       What's that one?
    12           Q       SETEC, S-E-T-E-C?
    13           A       No.
    14           Q       I don't know.
    15                                   REPORTER'S NOTE:            Whereupon,
                                         Michael Lindell Deposition
    16                                   Exhibit Number 187 was
                                         marked for identification.
    17
    18
    19                   By Mr. Cain:
    20           Q       Let me give you Exhibit 187.                  This is
    21                   something you produced, Mr. Lindell,
    22                   it's February 2nd, 2021 e-mail.                   That
    23                   was the day that of the newest Newsmax
    24                   --
    25           A       Okay.

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     1           Q       -- anchor.        Just as it -- as it
     2                   happens.      So at the bottom of this,
     3                   this is an e-mail to you from Dennis
     4                   Montgomery; correct?
     5           A       Looks like it, yep.
     6           Q       Then on the bottom he says, "I
     7                   appreciate all the hard work you have
     8                   put in the last days to get the
     9                   election fraud exposed.
    10                                   I have sent you the docs
    11                   where I transferred 48 percent of SETEC
    12                   for your investment.                 Would you please
    13                   send the remaining $375,000 to complete
    14                   this transaction.             My only focus right
    15                   now is to complete the election work."
    16                   Do you see that?
    17           A       (No response).
    18           Q       On the bottom?
    19           A       Yeah, I see that.
    20           Q       All right.        And then you say, "I will
    21                   today when I get off the air."                    So what
    22                   is the --
    23           A       -- where does it say, "I will"?
    24           Q       "I -- I will today when I get off the
    25                   air," that's right above it.

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     1           A       Oh, I gotcha.          Okay.
     2           Q       All right.        So what is -- what is this
     3                   -- this SETEC --
     4           A       No idea.
     5           Q       -- company that you're involved with?
     6           A       No idea.
     7           Q       So you don't know what you paid
     8                   $375,000 for?
     9           A       I knew it was the compression stuff, it
    10                   was back then two and a half years ago.
    11                   This is compression technology.                   I
    12                   believe.
    13                                   This could be the one for
    14                   cell phones where -- where you had --
    15                   you can add extra battery capacity to
    16                   cell phones.         Dennis, has so many
    17                   technologies, I'd have to go back.                    I
    18                   thought it was a different name.
    19                                   But you're showing me this
    20                   now.    You're saying it's SETEC, we'll
    21                   go with SETEC.
    22           Q       Okay.    I'm just trying to get my hands
    23                   around -- or maybe my arms, around your
    24                   -- your business relationship with Mr.
    25                   Montgomery.        One appears to be SETEC,

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     1                   you said you don't know if it's a
     2                   compression company?
     3           A       I don't know which -- which ones in
     4                   what.    There's a lot of stuff he has.
     5                   I don't know which is in which bucket.
     6           Q       Okay.    How many lines of business then
     7                   are you involved with -- with Mr.
     8                   Montgomery?
     9           A       How many lines?
    10           Q       Yeah.
    11           A       I know blxware, and if you say this
    12                   one -- I -- I don't even remember that
    13                   name.
    14           Q       Okay.
    15           A       There's another name, I think there's
    16                   two other names.            I don't recognize
    17                   this name.
    18           Q       Okay.
    19           A       So maybe there's a subsidiary of the
    20                   other companies if you have those
    21                   names?
    22           Q       Not with me, I have certainly blxware.
    23           A       Yeah, blxware I know of, that was --
    24                   that was separate than two companies I
    25                   bought into right away like in February

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     1                   of '21.
     2                                   And I don't -- I didn't
     3                   think it was SETEC, but it could have
     4                   been.     I guess this -- you know, I
     5                   thought there was a different name.
     6                   But, obviously, it looks like here I
     7                   bought into SETEC -- SETEC.
     8           Q       Okay.
     9                                   MR. CAIN:            And blxware for
    10                   Nate is B-L-X-W-A-R-E.
    11                                   THE WITNESS:            Right.
    12                                   MR. CAIN:            Okay.
    13
    14
    15                   By Mr. Cain:
    16           Q       And then the compression company
    17                   though whether that's --
    18           A       -- I don't know.
    19           Q       Whether it's called SETEC or something
    20                   else, what specifically are you talking
    21                   about, because that term is used across
    22                   different industries?
    23           A       I don't know which industry has what.
    24                   I don't know.
    25           Q       No, no, no -- not entity, what -- what

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     1                   does that company do?                 What --
     2           A       -- what does what company to do?
     3           Q       The compression company.
     4           A       I don't know which company --
     5                   compression company.                 What it is, is
     6                   Dennis has technology where you can
     7                   compress videos, or compress anything,
     8                   that's his main thing.
     9                                   It's a compression that no
    10                   one else in the world has.                 It's like 3
    11                   X better than satellites.                 3 X better
    12                   than -- this is what the government --
    13                   a lot of this stuff was based off of
    14                   compression.
    15                                   I believe that even Hammer
    16                   Scorecard is probably based off it.                    I
    17                   don't know.        I'm not a tech guy.
    18           Q       Okay.    But the -- the investments that
    19                   you have with Mr. Montgomery, it's fair
    20                   to say have been since 2001 and you
    21                   didn't -- you weren't in business with
    22                   him before this election fraud
    23                   business?
    24           A       No.
    25           Q       Okay.

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     1           A       I didn't even know him.
     2           Q       All right.        And how much total have you
     3                   invested with Mr. Montgomery's
     4                   entities?
     5           A       I have no -- no idea.                 There's been
     6                   three different things, four different
     7                   things.     He works -- he works for me
     8                   now.
     9                                   He's employed by me now and
    10                   -- but as back then, I gave X amount
    11                   for one business, X amount for another,
    12                   and X amount for blxware.                 I don't have
    13                   those exact numbers.
    14           Q       Just best --
    15           A       -- so I couldn't tell you.
    16           Q       Just -- just best of your recollection,
    17                   that's all I'm asking.
    18           A       I don't know.
    19           Q       All right.
    20           A       Three, four million.                 I don't know.
    21           Q       When you say he's employed by you now,
    22                   what -- what do you mean by that?
    23           A       I pay his company or -- and I don't
    24                   know which company that is, it's
    25                   $100,000 a month for different projects

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     1                   that he did -- that he's done.
     2           Q       Like a retainer?
     3           A       Not a retainer.
     4           Q       No, my point is, no matter how many
     5                   work he does, you just pay him
     6                   100,000 --
     7           A       It's 100,000 a month.                And he's got --
     8                   and he's been different things he's
     9                   done.    He's done work on compression of
    10                   videos, e-mails and e-mail systems, a
    11                   stock thing.         He's got all the kinds of
    12                   different technology.
    13           Q       Okay.
    14           A       And mostly he's worked on -- well, I
    15                   guess they're all separate.                 And he's
    16                   worked on a device that we came out, a
    17                   wireless monitoring device, you might
    18                   have seen it or heard about it.
    19                                   And -- and that's to detect
    20                   when things go online because they've
    21                   lied to this country that machine --
    22                   that they're not online.
    23                                   So he worked on that for
    24                   quite a while now.             I think -- I don't
    25                   know, it could be over a year.                    I don't

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     1                   remember the exacts of...
     2           Q       That's the thing you duck taped to the
     3                   drone?
     4           A       There's no -- yeah, there's no drones
     5                   involved.       So that was the media and it
     6                   was for effect coming into the thing.
     7           Q       I see.
     8           A       So I -- so you can -- he -- he does
     9                   have drone technology for cables and to
    10                   sense when cables are gonna break, like
    11                   wireless cables and -- the guy's got
    12                   all kinds of technology.
    13           Q       What's your best estimate, again, I
    14                   won't necessarily hold you to it, but
    15                   your best estimate in terms of your
    16                   investments with Mr. Montgomery is the
    17                   three to four million dollar range?
    18           A       That's what I think.                 First,
    19                   originally, I think it was $1.57
    20                   hundred and some.             And maybe 5 or 700
    21                   hundred and some, the two companies
    22                   then.
    23                                   And then blxware, I -- I
    24                   don't know the price on that.                     So I'd
    25                   -- I can't even guess.                 Three to 4 is

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     1                   what I'm thinking.
     2           Q       Okay.
     3           A       But that's not counting the -- I don't
     4                   believe that's counting his monthly
     5                   contract stuff that I have him -- that
     6                   I have him doing.
     7           Q       Okay.    But you're paying him monthly
     8                   $100,000 even if he's working on
     9                   technology owned by a company that
    10                   you're invested in?
    11           A       No, that's not what he's doing at all.
    12           Q       Well, I'm asking you.
    13           A       No, he's doing stuff for the election
    14                   stuff, getting stuff ready to save our
    15                   election platforms.
    16           Q       All right.
    17                                   MR. CAIN:            And then you
    18                   mentioned Blxware, let me show you
    19                   what's been marked as Exhibit 188.
    20                                   REPORTER'S NOTE:            Whereupon,
                                         Michael Lindell Deposition
    21                                   Exhibit Number 188 was
                                         marked for identification.
    22
    23
    24                   By Mr. Cain:
    25           Q       This is an Assignment of an LLC

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     1                   Interest in blxware, LLC.                Do you see
     2                   that?
     3           A       Yep.
     4           Q       And this came from your file.                     Tell me
     5                   about how this came about, this
     6                   apparent investment in blxware, or
     7                   blxware?
     8           A       How it came about?             I don't know how it
     9                   came about.        He thought -- we -- we
    10                   made a deal to it -- and by -- he told
    11                   me what blxware was.
    12                                   That it that came from a
    13                   couple -- a couple that he'd -- he had,
    14                   I think he had, worked for.                 I don't
    15                   know.
    16                                   It was some -- and it went
    17                   into bankruptcy.            This is all the
    18                   technologies the government that he
    19                   still owned, and the government never
    20                   paid him on.         Patents.        Stuff like
    21                   that.
    22                                   And at that time I'm going,
    23                   "You know what?           Anything I could do to
    24                   have -- to help save our country or
    25                   whatever, platforms, I thought it would

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     1                   be a good thing to own."
     2           Q       Okay.     What -- what intellectual
     3                   property and/or technology and/or
     4                   physical assets did blxware own?
     5           A       I don't know.          I have no idea.
     6           Q       This assignment of the interest is 100
     7                   percent of the membership interest in
     8                   that company for 1.8 million dollars?
     9           A       Looks like it, yep.
    10           Q       Okay.     Did you pay that to Mr.
    11                   Montgomery?
    12           A       I don't remember who it was paid to or
    13                   if it was paid to an entity, him or
    14                   whatever.       I have no idea.
    15           Q       So you don't know who it was paid to
    16                   and you don't know what you were
    17                   purchasing?
    18           A       That's correct.           That is 100 percent
    19                   correct.      And you can say, "Why would
    20                   do that?      What a terrible business
    21                   man."     Is that going through your head?
    22           Q       I think the jury might be --
    23           A       What --
    24           Q       -- wondering that.
    25           A       -- I -- you know what, I was trying to

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     1                   save our country.             Do you get that?          I
     2                   would buy -- put money everywhere,
     3                   whatever people would come, it didn't
     4                   matter.
     5                                   If it mattered, you know, I
     6                   needed this -- I needed to get whatever
     7                   I could out to the public.                 And if
     8                   meant buying this, whatever it
     9                   included, I would do it.                I didn't
    10                   care.
    11                                   Money doesn't matter if we
    12                   lose our country and we lose our
    13                   elections.        It means nothing.               I think
    14                   I've shown that as My Pillow gets
    15                   destroyed and destroyed and destroyed.
    16                                   Have you ever wondered
    17                   yourself -- hey, Donald Trump is -- is
    18                   long past the election, why am I still
    19                   doing this?        Why I am I still losing
    20                   everything I have?
    21                                   Because we have to save our
    22                   country and have elections not
    23                   selections.
    24                                   MR. MALONE:          Mike, it's a
    25                   fine question, you can wait for him to

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     1                   ask it.
     2                                   THE WITNESS:            Well,
     3                   whatever.
     4                                   MR. MALONE:            You don't have
     5                   to ask it.        Okay.
     6
     7
     8                   By Mr. Cain:
     9           Q       The assignment --
    10                                   MR. CAIN:            -- well, let me
    11                   object as non-responsive as to --
    12                                   THE WITNESS:            -- he makes a
    13                   comment, "Well, what would a jury think
    14                   of that?"
    15                                   MR. MALONE:            Yeah, just --
    16                                   THE WITNESS:            -- I don't
    17                   know.     We'll find out, won't we?
    18                                   MR. MALONE:            Wait for him to
    19                   ask his questions.
    20                                   MR. CAIN:            Yeah.
    21
    22
    23                   By Mr. Cain:
    24           Q       So I -- I -- there's still a disconnect
    25                   though, Mr. Lindell --

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     1                                   THE WITNESS:          -- hey, can I
     2                   -- can I -- I don't know why these
     3                   questions are coming up.                What does
     4                   this have to do with Eric Coomer?                   I
     5                   don't get this line of questioning, but
     6                   go ahead.
     7
     8
     9                   By Mr. Cain:
    10           Q       It was our understanding -- well,
    11                   strike that.         I won't -- I won't ask it
    12                   that way.
    13                                   This assignment was made
    14                   just prior to the Cyber Symposium in
    15                   July, the effective date at least is
    16                   July 25th of 2021, on the bottom of it,
    17                   Paragraph 4.
    18           A       Okay.
    19           Q       And there's an Order attached which is
    20                   referenced in the LLC Assignment of
    21                   money that was paid for this -- whether
    22                   it's technology or whatever this
    23                   company owned, in the amount of $5,000;
    24                   do you see that?
    25           A       (No response).

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     1           Q       That's on the third page.
     2           A       What am I looking at?
     3                                   MR. MALONE:            It's going to
     4                   be -- right here (indicating).                    Page
     5                   10980.
     6                                   THE WITNESS:            (Witness
     7                   reading to self).             Okay.
     8                                   MR. CAIN:            Okay.
     9
    10
    11                   By Mr. Cain:
    12           Q       So apparently Mr. Montgomery purchased
    13                   all of the bankruptcy estate's interest
    14                   in this blxware LLC for $5,000, and
    15                   turned around and sold it to you three
    16                   or four months later -- let's see...
    17                   March, April, May, June, July, four
    18                   months later for $1.8 million dollars.
    19                   Is that a fair statement?
    20                                   MR. MALONE:            Object to form
    21                   and foundation.
    22                                   THE WITNESS:            I have no
    23                   idea.    No idea.         I've -- I've never
    24                   seen this piece of paper in my life.
    25

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     1
     2                   By Mr. Cain:
     3           Q       So when you bought blxware you weren't
     4                   provided -- this is -- this comes from
     5                   your file --
     6           A       -- I don't -- I don't know.                 I've --
     7                   I've never even signed this, so I don't
     8                   know.    I probably have never even seen
     9                   this.
    10                                   I have other stuff on my
    11                   mind, other than buying this.                     I was
    12                   trying to get the evidence out to the
    13                   public and get things signed and save
    14                   our country.
    15                                   I've never -- I have not
    16                   read this.        I have not -- my
    17                   signature's on it.             I don't -- you
    18                   know, it's not on it.                I don't know.
    19                                   So, no, I have never seen
    20                   this, and -- and then it's got on the
    21                   back here a Promissory Note from Dennis
    22                   Montgomery to pay me.                So I don't know
    23                   what -- it looks to me like this was,
    24                   you know -- I don't know what it was
    25                   purchased for because you have -- you

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     1                   have a purchase agreement here.
     2                                   MR. MALONE:            Mike, if you
     3                   don't know, that's fine.
     4                                   THE WITNESS:            Yeah.     I don't
     5                   know.     But I'm just saying it says $1.8
     6                   million --
     7                                   MR. MALONE:            I know.
     8                                   THE WITNESS:            -- but then
     9                   Dennis has to pay it back.
    10                                   MR. MALONE:            Well --
    11                                   THE WITNESS:            So there's
    12                   this --
    13                                   MR. MALONE:            -- he can ask
    14                   you about that.
    15                                   THE WITNESS:            Right.     So I
    16                   don't know.
    17                                   MR. MALONE:            If you don't
    18                   know, you don't know.
    19                                   THE WITNESS:            I don't know.
    20                                   MR. CAIN:            Yeah.
    21
    22
    23
    24                   By Mr. Cain:
    25           Q       That's why I'm asking; this is a

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     1                   confusing transaction.
     2           A       It's very confusing.
     3           Q       So let's -- let's -- there is a
     4                   Promissory Note --
     5           A       Right.
     6           Q       -- later?
     7           A       Right.
     8           Q       Apparently you had provided $1.8
     9                   million dollars to Dennis Montgomery,
    10                   and he -- and he signed a promissory
    11                   note to pay that back; do you remember
    12                   that?
    13           A       That's this -- that's this $1.8.
    14                   Right.
    15           Q       Okay.     The $1.8 that you provided, was
    16                   that money that was used for the
    17                   purchase of the home?
    18           A       I don't know.
    19           Q       In Florida?
    20           A       No idea.
    21           Q       Okay.     Do you think you purchased --
    22                   well, let me -- let me ask the
    23                   predicate to that.               Did you purchase a
    24                   home for Dennis Montgomery in Florida?
    25           A       I don't know.

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     1           Q       At or around --
     2           A       -- I don't know if that went --
     3           Q       -- this time?
     4           A       -- for that or not.              I know he moved to
     5                   Florida in July of 2021.
     6           Q       Right.     Right around this time.
     7           A       Right.     Right.        So I didn't purchase
     8                   the home.       This looks to me like this
     9                   was the deal to get the money for the
    10                   home.
    11                                   It looks to me like he's got
    12                   to pay back $1.8 million.                This has
    13                   never been -- this is -- I don't know
    14                   if it's ever been finalized even.
    15           Q       Okay.    So you can -- I -- I hear your
    16                   testimony.
    17           A       (Indicating).
    18           Q       As I look through this, what appeared
    19                   to me to be the case, tell me if you
    20                   think I'm wrong, is that you gave
    21                   Dennis Montgomery $1.8 million dollars.
    22           A       (Indicating).
    23           Q       He then gave you a Promissory Note to
    24                   repay that?
    25           A       Right.

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     1           Q       But in lieu of repaying that hundred
     2                   and -- that $1.8 million dollars, he
     3                   assigned you his interest in blxware
     4                   for that amount.
     5           A       I don't know that part right now.                    It
     6                   looks that way, but I don't know that
     7                   for sure.       I've never signed it, and I
     8                   -- and I don't know.                 It looks that
     9                   way.
    10           Q       Okay.
    11           A       Instead of paying back the $1.8, it
    12                   looks like this is what I have.                   I will
    13                   agree that it looks that way.
    14           Q       Okay.
    15           A       Now is that the reality?                 I don't know.
    16           Q       In terms of -- and we've already said,
    17                   you don't know what blxware owned?
    18           A       That's right.
    19           Q       But in terms of Dennis Montgomery's --
    20                   any interest he had in Hammer or
    21                   Scorecard, did you pay him for that
    22                   technology?
    23           A       If that's what's in blxware then, yes.
    24                   I don't know.          All I know is his
    25                   compression technology is in one of the

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     1                   three compartments.              I don't know.
     2           Q       Okay.     Do you think you paid him for
     3                   that technology?
     4           A       Yeah, I think so.
     5           Q       And do you think you own Hammer and
     6                   Scorecard?
     7           A       No.     I own the -- the technology behind
     8                   it.     I don't know who owns Hammer and
     9                   Scorecard.        The government?           I don't
    10                   know.
    11                                   I think it's just a word of
    12                   the technology.           I don't know.           Now
    13                   they were rent -- they were paying
    14                   Dennis Montgomery for his technology.
    15           Q       Okay.
    16           A       Now, do I have the IP or the technology
    17                   rights to that?           Yes, I would say I do.
    18           Q       Okay.     And we're getting to where I
    19                   want to end, which is what -- what
    20                   evidence is your ownership interest in
    21                   that technology, if you know?
    22           A       I don't know.
    23           Q       Well, then how do you know you actually
    24                   own it?
    25           A       Because I've been told that.

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     1           Q       By Mr. Montgomery?
     2           A       Yeah.
     3           Q       Now, Mr. Montgomery also claims to have
     4                   captured evidence of the -- the
     5                   intrusion into the election so-called
     6                   PCAP evidence?
     7           A       (Indicating).
     8           Q       Is that a yes?
     9           A       Yeah.
    10           Q       You understand that?
    11           A       (No response).
    12           Q       And what -- what do you understand a
    13                   PCAP or packet capture to be?
    14           A       Cyber evidence that go -- or things
    15                   that are captured in a stream on --
    16                   over the -- I don't know, internet, I
    17                   don't know; I'm not familiar with it.
    18                                   But I know you have copies
    19                   of that now.         You have the terabytes
    20                   and you have an example of the PCAPs
    21                   that came from those terabytes.
    22                                   I -- I believe that's been
    23                   turned over to you.
    24           Q       Yeah.    Well the -- some of that
    25                   evidence was -- was published during

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     1                   the symposium --
     2           A       -- not that -- no -- no -- the stream
     3                   of data was.         The stream of data was.
     4                   The -- just a data stream was.                    I
     5                   believe data that shows -- it's from --
     6                   the whole thing was it shows it's from
     7                   the 2020 election.
     8           Q       Okay.     But with respect to the PCAP
     9                   data that Mr. Montgomery -- well, let
    10                   me strike that, because I think there's
    11                   one question before that.
    12                                   Who do you understand
    13                   actually gathered that data, the PCAP
    14                   data in real time?
    15           A       What do you mean PCAP?                 All the data?
    16                   Dennis Montgomery.
    17           Q       Okay.
    18           A       100 percent.
    19           Q       No, I -- I -- that's what I thought you
    20                   said --
    21           A       (Indicating).
    22           Q       -- I just wanted to make sure we're on
    23                   the same page there.                 Or at least I'm
    24                   on the same page.
    25                                   So Dennis Montgomery, did he

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     1                   ever tell you the source and -- and
     2                   methods that he used to gather that
     3                   tech -- that those packet captures?
     4           A       No.     He said that he develop -- he
     5                   developed stuff for the government, and
     6                   they're using that technology against
     7                   us.     That he developed it to do stuff
     8                   in other countries for our government.
     9                   That's what he said.
    10           Q       Okay.     But, again, my question is maybe
    11                   a little different than that.
    12           A       He said it's a page -- he said, yeah,
    13                   he captured it's like a -- to me it was
    14                   like having a camera.                Like a -- he
    15                   tried to explain this -- it's like
    16                   having a camera on there.
    17                                   If you had a diamond store
    18                   getting robbed and you have a camera in
    19                   there, you're watching it all happen
    20                   and it's -- it's time-stamped, so you
    21                   have it -- it's not -- you can't change
    22                   that.
    23                                   It happens I guess with
    24                   everything, with our cell phone data,
    25                   with our Verizon, whatever, that these

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     1                   go through and people can grab that
     2                   stream, and you have it, you know,
     3                   here's what it is, if you had to go
     4                   back.
     5                                   It's probably something that
     6                   we -- that we should've had -- that we
     7                   should've had our eyes on, the
     8                   government should've been watching so
     9                   they didn't -- or they would find out
    10                   all this stuff.
    11                                   But it was -- it sounds like
    12                   it was our own government involved.
    13           Q       That's -- that's confusing to me.
    14                   Either Dennis --
    15           A       -- whatever.         Dennis Montgomery
    16                   captured it.
    17           Q       All right.
    18           A       Yes, he told me he did.               So did Mary
    19                   Fanning, so did everybody else.                   Okay.
    20           Q       Did you actually visit Mr. Montgomery
    21                   at his home in Florida?
    22           A       Only -- only back then in July of '21.
    23                   First time I ever met him.
    24           Q       Did he show you the hardware that he
    25                   used to execute this capture of --

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     1           A       -- no, he showed me computers.                    I don't
     2                   know if it's hardware.               It's computers,
     3                   he showed it on a screen.                Here's this
     4                   (indicating).
     5                                   And I had Conan Hayes there
     6                   going -- we looked at it and I'm going,
     7                   "Hey, could you put this -- get this
     8                   up?"     He -- they explained all that
     9                   encrypted data.
    10                                   And I go, "Can you make it
    11                   so people can read this and whatever?"
    12                   And -- and he made streams that I ran
    13                   at the front of the symposium, and all
    14                   these things.
    15                                   I said, "Here's what the
    16                   public needs to see, so the cyber guys
    17                   can see it was 100 percent from the
    18                   2020 election."           So...
    19           Q       Okay.     So you went there personally --
    20           A       (Indicating).
    21           Q       -- Conan Hayes was -- was this at the
    22                   house?
    23           A       (Indicating).
    24           Q       And this was at Dennis Montgomery's
    25                   house?

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     1           A       Yes.
     2           Q       The new one that he had just bought?
     3           A       The what?
     4           Q       The one that he had just bought?
     5           A       Yes.
     6           Q       Okay.     And it was just you three?
     7           A       Ah, yes.
     8           Q       And he showed you his computer setup
     9                   onsite.
    10           A       There's computers there and it -- there
    11                   was computers there, yeah.
    12           Q       Okay.     Did he --
    13           A       -- there's also a computer that I had
    14                   bought, two computers, because I said I
    15                   want one to put my copy of everything
    16                   into so I have it for the symposium.
    17                                   And then he had made a copy
    18                   I guess and put it -- they had that in
    19                   a -- secure.         He showed me his garage,
    20                   piles of tapes on -- you can't even
    21                   believe.
    22           Q       Okay.
    23           A       I mean, it's just piles and piles of --
    24                   of hard drives.
    25           Q       Did you understand though that when he

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     1                   was showing you his computer setup at
     2                   his home in Florida that those were the
     3                   computers that he used --
     4           A       -- I have no idea what he used.                    Those
     5                   were my computers I had bought.                    My
     6                   computers I had bought.
     7                                   He showed the computers
     8                   because we were downloading onto that.
     9                   These were computers, he never said,
    10                   "This is what I did with the computer."
    11                                   I have no idea what -- what
    12                   he did back in 2020, or where those
    13                   computers are, or what he did.                    I have
    14                   no idea.      He showed the stuff he got
    15                   from there, you know.
    16                                   Here's data (indicating).
    17                   And Conan Hayes had already validated
    18                   that this is -- this is mega data and
    19                   it's from the 2020 election.                  Period.
    20           Q       Okay.    And let's talk about Conan Hayes
    21                   for a second.          Why was he there?
    22           A       Because I had -- because by that time I
    23                   had hired him like in June or July.                     I
    24                   hired him.
    25                                   I wanted to run and

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     1                   completely get my copy validated,
     2                   continuing validating, which he had
     3                   been doing since I think February or
     4                   March.
     5           Q       And who introduced you to him?
     6           A       I don't remember that.               He was -- he
     7                   was on I think Absolute Interference.
     8                                   I have no idea who
     9                   introduced -- and I found out later
    10                   that he had, him and another guy, had
    11                   worked with Patrick Burns -- and a --
    12                   one time -- at one time -- at one time
    13                   when I thought I was bringing evidence,
    14                   and all of a sudden Patrick Burns
    15                   brings the same guys in, and I'm going,
    16                   "What do you mean?"
    17                                   They just had him under, you
    18                   know -- and I thought it was my
    19                   evidence, and there is was -- he had
    20                   the same evidence.             But Conan was --
    21                   they knew Conan.
    22                                   But I don't know who
    23                   introduced me to Conan.               Whether it was
    24                   in that movie because I had never seen
    25                   him.     I know he was in one of the

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     1                   movies and I couldn't -- I had never
     2                   met him or seen him by face.
     3                                   I think that was the first
     4                   time I ever met Conan too was in July
     5                   of -- at Dennis's house.
     6           Q       Did he fly with you on -- on your plane
     7                   to Florida?
     8           A       I don't remember.             I -- I don't think
     9                   so because I think he lives in
    10                   California, and I don't think so.                   I
    11                   think he -- he flew himself.
    12           Q       Gotcha.     So after you were -- well,
    13                   when you were at this house, Mr.
    14                   Montgomery's house, did you walk away
    15                   with hard drives full of the data that
    16                   Mr. Montgomery promised you?
    17           A       What's that?
    18           Q       Did you get the data?
    19           A       The -- we got a part of the data, it
    20                   was on a hard drive that we got that
    21                   day, or I guess that day.
    22                                   And we took it to Texas to
    23                   put in the cyber -- cyber active of
    24                   2015 to drop it -- to put it into --
    25                   where everybody can grab it or

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     1                   whatever.
     2           Q       I'm -- I'm not, that's the first I've
     3                   -- I've heard of this -- what did you
     4                   say cyber active?
     5           A       It's -- there's some cyber active 2015.
     6           Q       What is that?
     7           A       I don't know what it is.                Some acro --
     8                   where they -- that was set up by Obama
     9                   and you bring -- if you -- if you have
    10                   some evidence of an intrusion into
    11                   election, if you turn it in there, all
    12                   this -- every -- cyber guys from every
    13                   where can grab it.             It's awesome, I
    14                   guess.
    15           Q       And who -- who made the deposit of the
    16                   data into the cyber active 2000 --
    17           A       -- who what?
    18           Q       Who did this?          Who -- who put the
    19                   data --
    20           A       -- oh, we did.           I -- I went there
    21                   myself and this is where there was some
    22                   red team involved.             I know a Kurt Olson
    23                   was on there -- he was there, the
    24                   lawyer.
    25                                   And there was a guy named

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     1                   Josh Merit when we got here, he turned
     2                   out to be a criminal -- criminal,
     3                   whatever he was.            And Josh Merit...
     4                                   Let's see, who was the next
     5                   guy...     Russ Ramsland.            Another guy
     6                   that was gonna put it in the bank for
     7                   the cyber act.
     8                                   And Josh Merit got -- he
     9                   stood up on a chalkboard and said, "I
    10                   know all about Dennis Montgomery, Dan.
    11                   It's 100 percent," Blah, blah, blah.
    12                   Great.     And he's on the chalkboard.
    13                                   Well, then it was taking so
    14                   long for them to make a copy and I had
    15                   to get to Sioux Falls.               I said, "How
    16                   long is this gonna take?                I need to get
    17                   this to Sioux Falls right now."
    18                                   And they didn't know how
    19                   long it was gonna take.               And I said,
    20                   "You know what?           You can bring this
    21                   back to them."           I said, "I've got to
    22                   go."
    23                                   And then we jumped on the
    24                   plane and headed to Sioux Falls with
    25                   that entail -- with that -- that -- so

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     1                   they didn't finish downloading and
     2                   sticking it in the bag.
     3           Q       Okay.    So this is the ASOG meeting
     4                   in --
     5           A       What's that?
     6           Q       -- in Texas?         You're referring to a
     7                   meeting at -- at ASOG.
     8           A       I don't know what SOG is.
     9           Q       ASOG.    It's Ramsland's company.
    10           A       Ramsland's Company, yes, I didn't know
    11                   -- yeah.
    12           Q       Okay.
    13           A       And I was just listening to them going
    14                   "Hey, drop it off here because it's
    15                   really good."          And I'm going, I didn't
    16                   know -- this is where I got introduced
    17                   to this Josh Merit.
    18                                   I didn't know him from the
    19                   man on the moon.            I get to Sioux Falls
    20                   and there's something called a red team
    21                   and blah, blah, blah.
    22           Q       Okay.    But you went to Florida
    23                   expecting to get all the of PCAP data
    24                   that Mr. Montgomery had captured?
    25           A       32 terabytes, I don't know, you call

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     1                   them PCAP data.           32 terabytes of data.
     2           Q       Okay.
     3           A       That's what -- what -- what it is, a
     4                   copy of that, yes.             My copy and my --
     5                   my source code, everything.                 Yes;
     6                   that's correct.
     7           Q       So you got all of that in Florida
     8                   before --
     9           A       -- no, it was a copy made, and it was
    10                   in a storage facility.               Then I -- and
    11                   -- and we -- and then we had a hard
    12                   drive that Conan gave to me to bring to
    13                   Texas.
    14                                   And then he stayed there to
    15                   get the rest of it from Dennis and then
    16                   apparently he had a stroke, and didn't
    17                   get the rest of it.
    18                                   So whatever was on the hard
    19                   drive was a piece and the -- the stuff
    20                   that the source code apparently was
    21                   over here.        And that -- and Dennis had
    22                   a stroke and we -- and we didn't get
    23                   that piece with the (inaudible) or
    24                   whatever you call.
    25           Q       Okay.    Who explained all of this to

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     1                   you?
     2           A       Huh?
     3           Q       Well, what you just said with Dennis
     4                   having a stroke, and you didn't get all
     5                   of the information on the hard drive,
     6                   who explained all of that to you?                   Was
     7                   that Mr. Hayes?
     8           A       Conan when I left -- when we both left
     9                   there were sitting there and -- and
    10                   before -- before I left I go, I've got
    11                   to get this to -- I got to get to the
    12                   symposium because we were -- Dennis was
    13                   still doing all stuff -- doing stuff.
    14                   And I don't know if it wasn't ready yet
    15                   or whatever.
    16                                   My copy was ready somewhere
    17                   in a with the source code apparently.
    18                   And Conan said and Dennis said, he
    19                   goes, "I got to do one more thing."
    20                   You know, it was like until like noon.
    21                   "It'll will take me until noon."
    22                                   And I said, "I don't have
    23                   until noon."         So I said, "Conan, give
    24                   you what you got -- that -- that hard
    25                   drive."     And I said I'm gonna take that

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     1                   because they wanted -- Kurt wanted to
     2                   go to Texas and put it in that cyber
     3                   '15 act.
     4                                   So we flew to Texas and I
     5                   get there and I meet this Josh guy and
     6                   I'm going, "Wow, someone else validated
     7                   Dennis Montgomery."              It was so awesome;
     8                   I didn't know this guy from the man on
     9                   the moon.
    10                                   And he gets up on the
    11                   chalkboard and he goes, "I've -- I've
    12                   looked through all Dennis Montgomery's
    13                   stuff.     It's 100 percent."
    14                                   And he's telling this to the
    15                   guys that's gonna put in the bag, that
    16                   we all had to sign these sheets.                   And
    17                   then Russ Ramsland's over here
    18                   downloading it.
    19                                   And I'm going, "You Guys, I
    20                   don't care about this.               We have a
    21                   country -- we have to get to the
    22                   symposium."        I had no plan -- who's
    23                   gonna -- no -- nothing was planned out.
    24                                   And then -- and I'm going,
    25                   "Who's this Josh Merit guy?"                  Well,

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     1                   then Dennis -- or Kurt says, "Well, he
     2                   comes from this Phil Waldron red team."
     3                   I go, "What's a red team?"
     4                                   And then we took that -- I
     5                   grabbed it back from Ramsland, and
     6                   said, "We're gonna -- you can get this
     7                   tomorrow or whatever."               I said, "I need
     8                   this right now to get to Sioux Falls."
     9                                   And that's when I flew to
    10                   Sioux Falls from there.
    11           Q       But you had -- you had already promised
    12                   on -- you were on OEN, you were
    13                   probably on other networks, I'm sure
    14                   you were actually, promising that you
    15                   were going to have PCAPs from --
    16           A       -- I said there was data -- no, the
    17                   challenge -- the thing was from the
    18                   2020 election that this stuff was 100
    19                   percent, it was a challenge, $5 million
    20                   dollar challenge, that this data was
    21                   from the 2020 election.
    22                                   That's what the challenge
    23                   was.    That this data was from the 2020
    24                   election.
    25           Q       Well, I'm -- I'm not talking about your

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     1                   contest right now.             I'm talking about
     2                   what you told the media which was --
     3           A       -- that's what I told the media.                   I put
     4                   the challenge out there to get the word
     5                   out.    And it wasn't just OEN it was
     6                   everywhere.        Except for Fox, they would
     7                   not let me advertise it.
     8           Q       Okay.    So what data then, if not PCAP
     9                   data, were you planning to present --
    10           A       -- I did present -- there was data, the
    11                   data that he's collected.                I guess when
    12                   you -- when you convert it -- when you
    13                   convert it, which you have a copy of
    14                   now of PCAPs that were converted from
    15                   the data.
    16                                   That is massive, I guess;
    17                   there's 32 terabytes.                So it's
    18                   collected from I think Mar -- or
    19                   November 3rd to November 6th of the
    20                   2020 election.
    21                                   All this data there and he
    22                   spent -- and as he's -- as his
    23                   computers are deciphering the data day
    24                   after day -- well here you have then --
    25                   I don't -- I don't know this for -- or

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     1                   how this works, but it would spit out a
     2                   PCAP, here's a PCAP, here's a PCAP,
     3                   here's a PCAP.
     4                                    So -- which you guys have
     5                   now.     You have those in your
     6                   possession; we turned them over.
     7           Q       It's 37 terabytes, we got three hard
     8                   drives.
     9           A       Okay.     Thirty-seven, 32 -- 37, whatever
    10                   it is.     You --
    11           Q       Yeah.
    12           A       -- you have it.
    13           Q       We did receive those.
    14           A       Right.     Yeah.
    15           Q       Recently.
    16           A       Now did it -- now did I have all 37
    17                   with me on that plane that I dropped in
    18                   Texas?     No.
    19                                    But I did -- it was real
    20                   nice when Josh Merit got up there and
    21                   said, "It's all real," blah, blah,
    22                   blah.     I've know Dennis (inaudible),
    23                   I've investigated, did it all.
    24                                    I didn't know this guy from
    25                   the man on the moon.                 I go, "Wow, this

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     1                   is gonna be awesome," you know.
     2                                   Then Conan when he came
     3                   there from -- from -- from Florida to
     4                   the symposium, he says, "We got bad
     5                   news, Dennis had a stroke and I can't
     6                   get -- I can't get to the -- the -- the
     7                   30 -- the whole 32 terabytes."                    My
     8                   copy.
     9           Q       Right.     Because you were planning on
    10                   presenting all 32 terabytes --
    11           A       -- I -- it would take years.                  I don't
    12                   know what -- we was just gonna present
    13                   it.     "Hey," here -- here's what I
    14                   wanted, the whole symposium is like
    15                   this.
    16                                   A:     I wanted all the media
    17                   there.     B:     I wanted to show that hey,
    18                   we have this, it's from the 2020
    19                   election.       And C:        Maybe then the
    20                   government would say open up this gag
    21                   order and let the world see that this
    22                   is real.
    23                                   That was my purpose of the
    24                   Cyber Symposium.            We had the media
    25                   there, we had to have -- all it was was

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     1                   attack after attack instead of someone
     2                   saying, "Hey, can we look at this?"
     3                                   "Hey, can we -- hey can we
     4                   get Dennis Montgomery, who's a real
     5                   person.     Who does work for the CIA?
     6                   It's all real."
     7                                   That's all it was.                You show
     8                   -- you show just like you guys have it
     9                   now -- that was the same thing for the
    10                   Cyber Symposium.
    11                                   Here it is.          All the media's
    12                   here, wow, yes, it is from the 2020
    13                   election.       And then you could -- then
    14                   everybody would be out of my hands.
    15                                   Here you go everybody, have
    16                   a ball.     Have your cyber guys look at
    17                   it all.     That's what we were dropping
    18                   off in -- in -- at cyber '15 act.
    19                                   And then because of Dennis's
    20                   stroke, that never came, then they
    21                   didn't want to drop off just that
    22                   little bit at the -- in -- in -- at --
    23                   with -- in Texas.
    24                                   So that didn't get dropped
    25                   off.    And then...           That was it.

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     1           Q       Um, um, you're losing me.                Let me --
     2                   let me maybe ask some simple questions
     3                   for my benefit.
     4                                   What county are we sitting
     5                   in right now.
     6           A       What's that?
     7           Q       What -- what's the county, the name of
     8                   the county?
     9           A       Here?    Hennepin.          Here in Minnesota?
    10           Q       Yeah.
    11           A       Hennepin County.
    12           Q       Hennepin.
    13           A       Yeah.
    14           Q       Are the voter rolls of active voters in
    15                   Hennepin County data from the 2020
    16                   election?
    17           A       Yeah.
    18           Q       Okay.    So based --
    19           A       (Inaudible).
    20           Q       -- on what you're telling us, you could
    21                   have just shown some voter rolls from
    22                   -- from this county in 2020 --
    23           A       No.
    24           Q       -- and that would be from --
    25           A       No.

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     1           Q       -- the 2020 election?
     2           A       No, that's not what was shown there.
     3                   That's not what was shown.                 This was
     4                   data, cyber data, voter -- the voter
     5                   rolls and the registration rolls they
     6                   sit up on -- they sit -- it's your
     7                   government.
     8                                   They're saying here's who
     9                   registered, here's who voted, and
    10                   here's who was taken off the voter
    11                   rolls.     It's a data base, it's a little
    12                   different than a stream of information.
    13                                   It's very different.              It's
    14                   like Cast Vote record would be very
    15                   similar to something from inside the
    16                   machine.      It's like a camera angle from
    17                   another -- from another angle.
    18           Q       Okay.    So --
    19           A       -- very, very similar.
    20           Q       Part of the whole story behind the
    21                   symposium was that China hacked the
    22                   election.       You had said that multiple
    23                   times.
    24           A       (Indicating).
    25           Q       Right?

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     1           A       Yep.     I still stand by that.
     2           Q       Okay.     And the way that, under your
     3                   theory, there's some evidence of that
     4                   is through capturing these packets that
     5                   were sent --
     6           A       --- this shows intrusion --
     7           Q       Let me finish.
     8           A       -- which now we've turned into you.
     9           Q       Packet captures that -- that show
    10                   communications from IP addresses in
    11                   China and in the United States.
    12                                   That's the evidence.              At
    13                   least some of the evidence, that China
    14                   was involved in hacking the election;
    15                   right?
    16           A       China was in the room; China intruded
    17                   into our election.             That's why you can
    18                   -- if you look up the cyber '15 act of
    19                   2015 -- if you have anything that might
    20                   be suspicion, that a foreign country
    21                   intruded into your election, which they
    22                   deem critical infrastructure, you can
    23                   turn that in.
    24                                   I didn't set it up, Obama
    25                   did.     That's why we were turning that

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     1                   in.    I'm just a guy.               I'm an ex-crack
     2                   addict, trying to safe your country.
     3                   And here you are attacking me for
     4                   something that had nothing to do with
     5                   this guy?       This is bizarre.            I mean how
     6                   hard is that?
     7           Q       In January --
     8           A       -- I turned it in.             I did what I was
     9                   supposed to do.           I went down there, I
    10                   did it because we had to get going that
    11                   it didn't download.
    12                                   And then I find out I don't
    13                   have -- I couldn't get the rest because
    14                   Dennis Montgomery has a stroke.                   So we
    15                   didn't -- we didn't turn it in down
    16                   there that day.
    17                                   And then I get attacked at
    18                   the symposium, physically attacked.                    I
    19                   was told straight out, don't release
    20                   the China stuff.            That was on the third
    21                   day.
    22                                   There's a poison pill
    23                   they're gonna put in the evidence,
    24                   don't release it.             This was said by
    25                   Colonel Phil Waldren who I respected

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     1                   because he worked for the government in
     2                   that space.
     3                                   He told me, "We can't -- you
     4                   can't release --"             we had stuff for
     5                   China to release the next day.                    We had
     6                   stuff to release.             I was physically
     7                   attacked the night before, "Don't do
     8                   it."
     9                                   The next day or that night
    10                   after the police come and everything,
    11                   Phil Waldren says, "Mike, there's gonna
    12                   -- they're gonna put a poison pill or
    13                   they're gonna to sweep and take
    14                   everybody."
    15                                   Or take me.          So I said,
    16                   "Okay, we'll live to fight another
    17                   day."
    18           Q       Okay.     So your testimony is that if you
    19                   didn't show the -- any of the PCAP
    20                   data --
    21           A       -- what PCAP data?             There was --
    22                                   MR. MALONE:          -- Mike, just
    23                   wait until he answers [sic].
    24
    25                   By Mr. Cain:

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     1           Q       Do you know not know what PCAPs are?
     2           A       It's -- it's -- do I know what PCAP is?
     3           Q       Yeah.
     4           A       It's -- it's -- it's the data from this
     5                   -- that goes through our internets,
     6                   whatever.       I don't have to be a cyber
     7                   guy.    I just know what I was told.
     8                                   This is stuff that goes
     9                   through, it's captured in time,
    10                   time-stamped and this is the -- and
    11                   this was the data from 2020 election.
    12                                   Even the Facebook fact
    13                   checkers were there.                 They said, "Yes,
    14                   Mike, it's from the 2020 election."
    15           Q       I'm just asking you -- weren't you
    16                   there to present captures of evidence,
    17                   packets, which would show the
    18                   transmission of data between foreign
    19                   countries such as China and the U.S.
    20                   election system; isn't that what you
    21                   were doing?
    22           A       What now?       I'm putting out what Dennis
    23                   Montgomery had.           I mean, I don't know
    24                   what you're asking me.                 Why don't you
    25                   look up Mesa County inside the machines

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     1                   on there and find any -- and then you
     2                   find all the evidence you want, if
     3                   you're worried about what's inside
     4                   these machines.
     5           Q       Do you know what a PCAP is or not?
     6           A       It's data collected in -- it goes
     7                   through our internet, I believe.                     Okay.
     8                                   And this was captured by the
     9                   internet, which the machines say
    10                   they're not on internet, they're not on
    11                   the internet.
    12                                   That's what it is.                Captured
    13                   date from -- that was captured, our
    14                   data that goes through all the
    15                   internet.       Those are the -- their data.
    16           Q       You're avoiding my -- my question.
    17           A       I'm answering your question.                  You asked
    18                   me what it is, that's what it is.
    19           Q       That was the data that you were
    20                   intending to present during the Cyber
    21                   Symposium --
    22           A       -- and we did present data there that
    23                   was from the 2020 election.                 I don't
    24                   know what you're asking me.
    25           Q       You're talking again -- you're avoiding

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     1                   answering my question.               You were going
     2                   to the Cyber Symposium with the intent
     3                   of presenting PCAP data showing that
     4                   China acted on --
     5           A       -- I'm presenting data; whatever data
     6                   they gave me is it what I presented.                     I
     7                   could -- I could not present the China
     8                   data because I was attacked and told
     9                   not to by Colonel Phil Waldren.                   That's
    10                   a fact.
    11           Q       But you weren't attacked until later in
    12                   the symposium.
    13           A       I was attacked on the second night.
    14                   "Do not release the evidence tomorrow,"
    15                   which would've been the China
    16                   intrusion.        The third day we were
    17                   releasing the China intrusion data.
    18           Q       Oh, you never -- you never intended to
    19                   release it until the third night?
    20           A       We had -- it -- it was -- no, it was
    21                   spread out -- that sort of thing.                   I
    22                   said, "Well, when can we -- when can we
    23                   release that?"
    24                                   This red team, they were
    25                   making these decisions in a room.                   I

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     1                   wasn't even in that room.                 Those were
     2                   their decisions and -- and Colonel Phil
     3                   Waldren says, "We can't release this.
     4                   You got -- we're -- they're gonna put a
     5                   poison pill in the data."
     6                                   That was his words,
     7                   verbatim.       We can't release it.              And
     8                   that would've been -- I'm going, "Are
     9                   you kidding me?"
    10                                   But at that point, I'd
    11                   already been attacked -- it wasn't --
    12                   the media was there.                 All they were
    13                   doing was attacking.
    14                                   Nobody wanted to hear about,
    15                   "Hey, there could be a problem with our
    16                   critical infrastructure in our United
    17                   States."      Nobody wanted to hear it.
    18           Q       Well, in truth, Mr. Lindell, the reason
    19                   that you couldn't release the data at
    20                   the symposium is because you never got
    21                   it from Dennis Montgomery.
    22           A       Yeah.    Yeah, we had a hard drive from
    23                   him.    That's a complete lie.                I didn't
    24                   have the whole 32 terabytes and the
    25                   source code.         That -- that's a complete

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     1                   lie.    I went -- we went to the -- we
     2                   went down to Texas to drop off the hard
     3                   drive; we went to the symposium.
     4                                   I put it up on the board.                I
     5                   dropped it.        I had Allen Duke of Lead
     6                   Stories, I had Martin from overseas in
     7                   Belgium, who validated that it was from
     8                   the 2020 election.
     9                                   Everybody there did.
    10                   Everyone there, except for one guy who
    11                   was in on it with blxware, who was the
    12                   trustee with blxware.
    13                                   Some Brian guy who probably
    14                   went to (inaudible), "Hey, let's go try
    15                   and say -- or put further bury Mike
    16                   Lindell."       Because he wants to help
    17                   save his country.
    18           Q       Wow.    Okay.
    19                                   MR. CAIN:            So objection;
    20                   non-responsive.
    21
    22
    23                   By Mr. Cain:
    24           Q       But since you raised it, who is the
    25                   trust guy that you're referring to?

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     1           A       There -- that guy that came here, that
     2                   was for this Brian something, or
     3                   whatever, that was the lawyer for this
     4                   guy named Zeidman, that lost this
     5                   thing.
     6                                   And said, "I -- I contend
     7                   this isn't from the..." -- he's the
     8                   only guy that said it wasn't from 2020
     9                   election.
    10                                   And then all of a sudden he
    11                   shows up with this guy that was the --
    12                   was the blxware trustee, who -- who
    13                   knew all about Dennis's data.                     He got
    14                   money for it.          It's disgusting.
    15                                   So then they come here and
    16                   they all -- you know, I don't know if
    17                   he went out and found Zeidman or
    18                   whatever.       Of course, that hasn't went
    19                   to court yet.
    20                                   Let's push that out to 2025,
    21                   too.     You know.
    22           Q       So blxware was bought out of a
    23                   bankruptcy by Dennis Montgomery in
    24                   March of 2021?
    25           A       Okay.

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     1           Q       You saw that --
     2           A       Yeah.
     3           Q       -- order.
     4           A       (Indicating).          Yeah.
     5           Q       The trustee presumably is the
     6                   bankruptcy trustee that you're
     7                   referring to?
     8           A       Yeah.     But he would -- no, no, he was
     9                   -- he was the trustee -- I don't know
    10                   if he was the bankruptcy -- he was the
    11                   trust -- trustee for that couple that
    12                   owned blxware and they used Dennis's
    13                   technology and everything in
    14                   Yellowstone.
    15                                   It gets quite deep.               And all
    16                   of sudden this guy shows up as
    17                   Zeidman's lawyer?             When you know
    18                   everything Dennis had, you know it's
    19                   true because you were making money off
    20                   it.
    21                                   It's disgusting what's going
    22                   on.     This attack just never ends.
    23           Q       So that -- the -- the Zeidman, just to
    24                   put some context here, Zeidman was an
    25                   attendee at the symposium?

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     1           A       (Indicating).          Couldn't even do it --
     2                   couldn't even open Wire Shark, I guess.
     3                   We had people in the room going, "Who
     4                   is this guy?"
     5                                   I don't even know how he got
     6                   in, he's not a cyber guy.                 I don't know
     7                   how he made through into the cyber
     8                   room.    But I -- but we had people that
     9                   sat by him and said he didn't know how
    10                   to open Wire Shark.              That's how you
    11                   read the data.
    12           Q       Yeah.
    13                                   MR. CAIN:            I'm gonna object
    14                   as non-responsive.
    15
    16
    17                   By Mr. Cain:
    18           Q       I just ask you Zeidman was an attendee?
    19           A       I didn't -- didn't know him then, but
    20                   that's -- he says he was.
    21           Q       Okay.    And you said that your intent
    22                   was to bring data relating to the 2020
    23                   election --
    24           A       -- that was the challenge; correct.
    25           Q       Yeah.    And Zeidman partook in that

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     1                   challenge, and then you had an
     2                   arbitration over whether or not that --
     3           A       -- no, he -- he lost right away.                   There
     4                   were three judges.             There were three
     5                   judges.     They said, "Absolutely, of
     6                   course, it's from the 2020,"
     7                   (indicating); you lose.
     8                                   So then he did an
     9                   arbitration.         And all of sudden this
    10                   lawyer shows up from blxware, that's
    11                   kind of weird.
    12                                   And three judges -- three --
    13                   three guys listen in and this guy can't
    14                   even open Wire Shark again.                 And they
    15                   made some, either intentional or not,
    16                   some very big mistakes so, of course,
    17                   we're going to court.
    18                                   And then Zeidman gets out
    19                   there and goes, "I'm not gonna -- I'm
    20                   not worried about the money.                  I'm gonna
    21                   give that to charity.
    22                                   We have to some people like
    23                   Mike Lindell for putting out false
    24                   things and disinformation to our
    25                   country."

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     1           Q       So you lost the arbitration; right?
     2           A       Did I lose the arbitration?
     3           Q       Yeah.
     4           A       That's what they ruled right now.                    But
     5                   do I have to pay?             No, it's going to
     6                   court.
     7           Q       Um...
     8           A       And they pushed it off to 2025 or 2024;
     9                   it's disgusting.
    10           Q       And the arbitrators awarded Mr. Zeidman
    11                   5 million dollars?
    12           A       I don't know what -- yeah, I guess they
    13                   said you have to -- unless you go to
    14                   court, which we are.                 Of course, we
    15                   are.
    16           Q       Okay.    So as it stands now you have an
    17                   arbitration award against you?
    18           A       Not against me, it's against Lindell
    19                   Management.
    20           Q       (Inaudible).
    21           A       It's against -- correct, it's a
    22                   company.      It's a corporation.
    23           Q       That you own a 100 percent of?
    24           A       Yes.
    25           Q       Okay.    But that's how it stands right

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     1                   now?
     2           A       Right.     Until we get to court.                 You
     3                   know -- you know court because you're a
     4                   lawyer; right?           You get it?
     5           Q       I do, yes.        And I know that they're
     6                   gonna confirm the award, or at least
     7                   seek to confirm the award.                 And that's
     8                   the next step in that process.
     9           A       (Indicating).
    10           Q       But that just hasn't happened yet.
    11                   Okay.
    12           A       (Indicating).          Right.
    13           Q       Okay.    But back to -- to PCAPs, I don't
    14                   know why we're trying to talk around
    15                   that.    You actually didn't present real
    16                   evidence in the form of PCAPs at the
    17                   symposium; did you?
    18           A       I have no idea what went down, it was
    19                   the evidence we brought from the2020
    20                   election.       What's wrong with you?
    21           Q       Nothing.
    22           A       (Laughing).        We presented what we had
    23                   from the 2020 election.               Period.
    24           Q       All right.
    25           A       Except for the China intrusion because

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     1                   we were told not to because I was
     2                   physically attacked.
     3                                   REPORTER'S NOTE:             Whereupon,
                                         Michael Lindell Deposition
     4                                   Exhibit Number 189 was
                                         marked for identification.
     5
     6
     7                   By Mr. Cain:
     8           Q       I know you've seen Exhibit 189 before,
     9                   or at least I believe you have, because
    10                   I think you were commenting on it on --
    11                   during the last election event.
    12                                   Take a -- take a -- just a
    13                   minute to look at that.
    14                                   THE WITNESS:            Just a second,
    15                   I got an emergency here. (Looking at
    16                   phone).
    17                                   MR. CAIN:            Why don't we stay
    18                   in the room if -- we can probably take
    19                   a break since we've been going an hour.
    20                                   THE VIDEOGRAPHER:             You want
    21                   to go off?
    22                                   MR. CAIN:            Yeah.
    23                                   THE VIDEOGRAPHER:             We are
    24                   going off the record.                 The time now is
    25                   2:29.

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     1                                   REPORTER'S NOTE:            Whereupon,
                                         a short recess is taken.
     2
     3                                   MR. CAIN:            Let's go back on
     4                   the record.
     5                                   THE VIDEOGRAPHER:             We are
     6                   back on the record.              This is the start
     7                   Media Number 4.           The time is 2:30.
     8
     9
    10                   By Mr. Cain:
    11           Q       Again, Mr. Lindell, I've given you
    12                   what's been marked as Exhibit 189,
    13                   which I'll --
    14           A       (Indicating).
    15           Q       -- represent to you came from a filing
    16                   in the Smartmatic lawsuit.                 Have you
    17                   seen this text exchange before?
    18           A       No.
    19           Q       Did -- on the top left it says, Mary
    20                   Fanning, and then on the -- on the
    21                   right side it appears to be text from
    22                   you from the
    23                   account?
    24           A       (Indicating).
    25           Q       Do you see that?

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     1           A       (Indicating).
     2           Q       Okay.    Do you remember texting with Ms.
     3                   Fanning --
     4           A       No.
     5           Q       -- before the --
     6           A       But it looks --
     7           Q       -- symposium?
     8           A       -- it looks like I did.
     9           Q       Yeah.    I apologize for --
    10           A       -- Michael and My Pillow.                Right.
    11           Q       Yeah.    So at the top of this, this is
    12                   on the left, like I said, it -- it
    13                   starts with Mary Fanning saying, "Let's
    14                   hope so."
    15                                   And then you say, "I know
    16                   100 percent."          Is it not -- I'm not
    17                   sure what you're referring to there --
    18           A       (Witness reading to self).
    19           Q       -- do you know what -- what that was
    20                   about?
    21           A       I have no idea.
    22           Q       And you -- she says, "Good.                 I'll pass
    23                   that on to our friend.               He will be glad
    24                   to hear that."           Do you know which
    25                   friend she's referring to?

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     1           A       No idea.
     2           Q       Then you say, "This Josh guy and this
     3                   team have attacked Conan and Dennis for
     4                   two weeks."        Did you -- do you remember
     5                   writing that?
     6           A       No.
     7           Q       Do you have any reason to doubt that
     8                   you text that?
     9           A       This must -- this must be from the --
    10                   at the symposium.
    11           Q       Okay.
    12           A       Because when I got there I found out
    13                   that the -- this -- the team, this red
    14                   team, or whatever they are -- I -- I
    15                   don't know.        That's what I assume.
    16                                   I didn't know who this Josh
    17                   guy was until I met him in Texas.
    18           Q       And you didn't know who would he was
    19                   working for; right?
    20           A       No.     And in Texas he said it was
    21                   completely validated, all Dennis's
    22                   stuff.     It said it's blah, blah, blah,
    23                   it all looks good.
    24           Q       Okay.     So you were still -- obviously
    25                   you were still talking to Mary Fanning

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     1                   through the symposium time.
     2           A       No, this is probably the only time.
     3           Q       So have -- since the symposium have you
     4                   been in contact with her?
     5           A       No.     Not that I know.             Maybe once a
     6                   year or twice a year, who knows.
     7           Q       And you don't --
     8           A       (Inaudible).
     9           Q       -- you've never met her in person?
    10           A       No.
    11           Q       Okay.     She says, "And Dennis is
    12                   perplexed that he is connected to
    13                   Sidney."      Did -- do you know what that
    14                   relates to?
    15           A       That would being Josh Merit and when --
    16                   because I think -- no, that's the only
    17                   thing I can think.             He's perplexed that
    18                   Sid -- that Josh was connected to
    19                   Sidney.     That's the only thing I can
    20                   think of.
    21           Q       And then you say, "They attacked Conan
    22                   and me when we got here.                Horrible."
    23           A       Yeah.
    24           Q       Who attacked you?
    25           A       That Josh Merit -- after I had met him

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     1                   there.     All of a sudden we get there in
     2                   a room and he starts attacking, him and
     3                   three other guys in that room.
     4                                   This Mark Cooke guy, Josh
     5                   Merit -- I forget who the other -- I
     6                   never met any of these guys, but those
     7                   two for sure.
     8                                   And then there was a whole
     9                   bunch of other people in the room and
    10                   they called it the red team.                  I go,
    11                   "What's a red team?"
    12           Q       Okay.    And Mr. Merit told you that
    13                   the --
    14           A       -- what's that?
    15           Q       Mr. Merit told you, didn't he, that the
    16                   -- the data that you had at the
    17                   symposium was not PCAP data from --
    18           A       -- now at that point -- this -- now you
    19                   got to follow this.              Josh Merit in
    20                   Texas said 100 percent all Dennis -- he
    21                   stood there on a chalkboard in front of
    22                   (inaudible) -- told the guy put it in
    23                   the bucket.
    24                                   So then we get there, and
    25                   all of a sudden he sticks that hard

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     1                   drive in and he says, "Well, there's
     2                   not PCAPs here."            And I go, "What are
     3                   you talking about?"
     4                                   And that's when I sent this
     5                   to her saying Dennis didn't give me
     6                   anything here.           They say there's no
     7                   PCAPs.
     8                                   So I don't know, you know.
     9                   This is what Josh Merit said so I text
    10                   Mary that and hopefully she could go
    11                   validate it with Dennis.
    12           Q       Okay.    So --
    13           A       -- and that's when we found out Dennis
    14                   had a stroke.
    15           Q       So both --
    16           A       -- but we thought -- we though for sure
    17                   after this, we thought for sure Josh
    18                   was lying because then when Conan got
    19                   there, we sent stuff back down to that
    20                   room.
    21                                   And the other cyber guys in
    22                   the room go, "Yes, this is from the
    23                   2020 election.           100 percent."
    24                                   Josh merit was a rat and he
    25                   -- and spy, whatever.                He turned in a

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     1                   thing, we caught him -- we caught him
     2                   stealing stuff from the symposium.                    I
     3                   actually took him to court.                 There's a
     4                   whole thing on Josh Merit.
     5                                   But, yes, this -- this
     6                   coincides exactly when I got there and
     7                   Josh Merit turned like a viper.                   It was
     8                   weird.
     9           Q       So Mr. Merit told you that there was no
    10                   PCAPs on --
    11           A       -- yeah, he said -- yes, he said
    12                   there's no -- yeah, actually he said
    13                   there's -- there's no PCAP, there's no
    14                   data here.
    15                                   And we're going, "What are
    16                   you talking about?"              Well then we --
    17                   well then we pulled up and when -- by
    18                   then I think Conan was there.
    19                                   And we pulled the thing in
    20                   and we showed him where it was and they
    21                   go, "Oh."       Well then the other people
    22                   in the room all go there, "Oh, there it
    23                   is," blah, blah, blah, blah, blah.                    And
    24                   went down the list.
    25                                   Conan came right in the room

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     1                   and showed these other cyber guys.                    But
     2                   Josh Merit continued to say, "No, this
     3                   is this and this is this."                 And -- and
     4                   discredit these things.
     5                                   And that's -- and then he
     6                   even went public to a newspaper after
     7                   he had just said in Texas that all the
     8                   -- that all the data was good.
     9                                   MR. CAIN:            Objection;
    10                   non-responsive.
    11
    12
    13                   By Mr. Cain:
    14           Q       What I -- what I asked you -- I'm not
    15                   gonna repeat it, but what I -- for the
    16                   record I asked you is what Josh Merit
    17                   told you at that time that there was no
    18                   PCAP data?
    19           A       He said there was no data; I don't know
    20                   if he said PCAP.            But he said no --
    21                   there's no -- there -- there's no data.
    22           Q       And who are these other, you mentioned
    23                   Conan Hayes?
    24           A       See I would use PCAPs and data as the
    25                   same thing for me.             There's no data,

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     1                   underline data.           Data, PCAPs; to me
     2                   they were the same thing.
     3           Q       But you know there's difference between
     4                   packet capture data and other types of
     5                   electronic data.
     6           A       No -- I do now.           I didn't know then.
     7                   Back then I said you know this is data,
     8                   this is you can ask Trevor, PCAP data,
     9                   data, hex data, to me it's all the
    10                   same.
    11                                   It's one layer down.              You go
    12                   here, this many people -- this is when
    13                   I asked him back then to read or to --
    14                   so what's this data?
    15                                   Well, you can read -- this
    16                   is the output from -- from the capture
    17                   data.    This is the output, we can all
    18                   read that.
    19                                   Then I go, "Well, what about
    20                   this?"     "Well, this is hex data that
    21                   shows it's from the 2020 election," or
    22                   whatever, they're explaining.
    23                                   If you go deeper then
    24                   there's -- then there's this data.                    And
    25                   -- and they said, "These are PCAP

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     1                   data."
     2                                   And then -- and I said well
     3                   to have the source code, you would need
     4                   the source code I guess to validate
     5                   intrusions and all stuff like that.
     6                   These were things that were told me
     7                   back then and I -- and I...
     8                                   But back then, data it's all
     9                   from the same thing, capture data from
    10                   the 2020 election.             This guy Josh said,
    11                   "We don't have anything here from the
    12                   2020 election."           That's what he said.
    13                                   And -- and it's probably --
    14                   if you -- if this was time-stamped, I
    15                   guarantee it was the same -- right
    16                   after I was in that room with that red
    17                   team when they all went on this attack.
    18           Q       So are you telling us, me, everyone in
    19                   this room, and the -- and the jury's
    20                   watching now, that you didn't make a
    21                   representation to the public that you
    22                   were gonna present PCAP data that
    23                   showed Chinese hacking of the 2020
    24                   election?
    25                                   Are you saying you never

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     1                   made that representation?
     2                                   MR. MALONE:            Object to form.
     3                                   THE WITNESS:            The -- what --
     4                   yeah.    What I said was -- yeah, I said
     5                   that what the challenge was that the
     6                   data was from the 2020 election.
     7                                   And also, I just told you
     8                   why I couldn't put the China stuff
     9                   down.    It was stopped by Phil Waldren
    10                   and stopped by a physical attack which
    11                   is in the police report in Sioux Falls,
    12                   South Dakota.
    13                                   MR. CAIN:            Okay.
    14
    15
    16                   By Mr. Cain:
    17           Q       I don't care about your challenge;
    18                   that's not what I'm asking you about at
    19                   this point.        I'm asking about what the
    20                   intent was to show and --
    21           A       -- to show data from the 2020 election.
    22                   Absolutely.        Call it PCAP data, call it
    23                   whatever data you want.
    24           Q       Okay.
    25           A       If I use that, the word PCAP or data,

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     1                   to me it's all the same.
     2           Q       But it isn't the same and you know
     3                   that.
     4           A       I don't -- I know now that -- and --
     5                   and I really don't know now.                  It's the
     6                   same data, you're just taking it and
     7                   forming it into a PCAP as far as I
     8                   know.    You're taking the data and
     9                   you're putting into this little
    10                   capture.
    11                                   So you're taking from one
    12                   end -- from what I understand, one end
    13                   of the terabytes to the other, you're
    14                   grabbing all this data, putting in this
    15                   little bucket, so you can look at this
    16                   -- like if you took all of that and put
    17                   it in a folder.
    18                                   That's what I -- that's, in
    19                   my mind, that's what I believe it is.
    20                   So you have all the data that was
    21                   sucked from the election, and you go
    22                   through and you form, here's one PCAP,
    23                   just like you guys have now, I think
    24                   you got, I don't know 18 or 20 of them
    25                   that he was able to collect.

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     1                                   And I finally said, "Dennis,
     2                   quit grabbing that.              We've got to get
     3                   these devices made, we've got other
     4                   stuff to do."          That's what I told him.
     5                                   It takes a long time to put
     6                   -- to put it into this bucket or
     7                   whatever you want to call it.
     8                                   MR. CAIN:            Objection;
     9                   non-responsive.
    10
    11
    12                   By Mr. Cain:
    13           Q       Let's do this, if you go back to your
    14                   text -- well, actually before I go
    15                   there.
    16                                   I think I asked you this,
    17                   and I apologize if I did during you're
    18                   my Pillow deposition, but you're
    19                   clearly not an expert in election
    20                   security or cyber of any sort; are you?
    21           A       Not of cyber.          Not of cyber -- I don't
    22                   know cyber.        I don't know how to read
    23                   it, neither do you.              I don't know how
    24                   to read it.        Right.
    25           Q       Okay.    So you say to Mary Fanning in

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     1                   this text, "Dennis didn't give us
     2                   anything to bring here.               No PCAPs."
     3                   I'll stop there.
     4           A       Right.     That was after that this Josh
     5                   Merit's telling me that -- I went out
     6                   of the room, I'm in a panic.                  I'm going
     7                   -- because at first I believed this
     8                   Josh Merit because he had just said
     9                   this in Texas.
    10                                   So I said this -- so I text
    11                   this to Mary, "I'm in a panic."                     I'm
    12                   going, "Are you kidding me?"                  You know.
    13           Q       So this is -- this is texted on Day 1
    14                   of the symposium?
    15           A       I think it was even the day before the
    16                   symposium.
    17           Q       Okay.    So you're in a panic --
    18           A       -- this is the red room.                The red room
    19                   because Josh Merit said that -- not
    20                   even after we were there a couple
    21                   hours.     I'm going, "What the heck's
    22                   this red team?"
    23                                   I walked into this room, I
    24                   go, "Who are all these guys?"                     And then
    25                   he put the hard drive in there that we

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     1                   were downloading in Texas and he said,
     2                   "There's no data here.               There's no
     3                   P..."
     4                                   And I go, "What are you
     5                   talking about?"           So I went out after --
     6                   after flipping out in there, "I go
     7                   you're lying.          What are you doing this
     8                   for?"     And I went out and text Mary and
     9                   said, "There's no PCAP.               There's no --
    10                   he didn't bring us anything."
    11           Q       Yeah.
    12           A       And so -- but then I find out from --
    13                   later, yes, they did, that it was him.
    14                   We went back in and Conan says, "He's
    15                   lying."
    16                                   We went back in, showed them
    17                   where to find it, because this guy was
    18                   either lying or didn't know how to do
    19                   it, Josh Merit.           And everyone else in
    20                   that room found the data and they go,
    21                   "Okay, here we go."
    22           Q       And 'everyone else' besides Mr. Merit
    23                   is who?     Walgren?
    24           A       It was Walgren, there was a Mark
    25                   Cooke...      I don't know who all was in

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     1                   that room, there at least seven other
     2                   people on the red -- on this red team.
     3                   They were all these cyber people.
     4                                   I had never -- I had never
     5                   met -- I think -- there's a (inaudible)
     6                   that was in there, I believe.                     I don't
     7                   know, and Doug Frank, I think he was in
     8                   there.     Colonel Shawn Smith was in
     9                   there, I believe.
    10                                   I mean, I'm just guess -- I
    11                   -- I don't know for sure, but there
    12                   were a lot of people I met for the
    13                   first time in there.                 And I go -- and
    14                   I'm going, "Well, what's a red team?"
    15                                   And then -- and then on
    16                   through this I called Conan and he
    17                   assured me.        He goes, "I'll -- I'll get
    18                   there, I'll show them where it's at."
    19                   They don't know what they're doing --
    20                   "That Josh is either lying or he didn't
    21                   know what he was saying."
    22           Q       There were others, actual cyber
    23                   experts, that since the symposium have
    24                   said that you didn't present any --
    25                   certainly any --

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     1           A       -- any what?
     2           Q       Any PCAP data that showed that China
     3                   hacked the election.                 You're aware of
     4                   that; aren't you?
     5                                   MR. MALONE:            Objection to
     6                   form and foundation.
     7                                   THE WITNESS:            I -- I don't
     8                   know what you're talking about.                   I
     9                   heard everyone there said it was from
    10                   the 2020 election.             I didn't hear
    11                   anything like that at the -- at the
    12                   thing.
    13
    14
    15                   By Mr. Cain:
    16           Q       You -- you need to listen then to my
    17                   question.       And as --
    18           A       -- the answer is, no.                 I don't -- I
    19                   have never heard that.
    20           Q       Okay.
    21           A       Only from this Zeidman.
    22           Q       Right.
    23           A       I knew that there was a China intrusion
    24                   because they told me not to and I said
    25                   that on stage.           "We can't release this.

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     1                   I was attacked.           We were told there was
     2                   gonna be a poison pill put in the
     3                   data."
     4                                   And Phil Waldren was with me
     5                   on that stage.           And that's when I said
     6                   that.    So we were not allowed to put in
     7                   -- there was China intrusion data --
     8           Q       No, we're --
     9           A       -- in there.
    10           Q       -- we're looking at the -- the text,
    11                   the reason you couldn't release it
    12                   because you didn't have it?
    13           A       That's not true.
    14           Q       That's what you say, "Dennis didn't
    15                   give us anything to use --
    16           A       -- this was after I came out of a room
    17                   with -- with Josh Merit saying that.
    18                   This was before -- look at the date on
    19                   here -- what's the date?                6-7...     Okay,
    20                   is the date on here?
    21                                   This is before the cyber
    22                   symposium started when he sat in that
    23                   room and said the crap he said.                   Did we
    24                   have all the 32 terabytes?                 No, and I
    25                   knew we didn't when we left.

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     1           Q       So if there's no data as you keep
     2                   saying --
     3           A       -- there was data.
     4                                   MR. MALONE:           Mike, just let
     5                   him finish the question.
     6                                   THE WITNESS:           Why is he
     7                   doing this?        It's weird.
     8
     9                   By Mr. Cain:
    10           Q       No, it's not weird.              You say, "Dennis
    11                   didn't give us anything to bring here."
    12           A       I said --
    13           Q       -- "No PCAPS."
    14           A       (Indicating).
    15           Q       Hold on, let me finish.                If -- if
    16                   there's this poison-pill concern and
    17                   you don't have PCAPs, what are you
    18                   concerned about?
    19           A       This was before -- this was the day
    20                   before the symposium.                I'm putting on a
    21                   symposium and this guy here that
    22                   grabbed the hard drive from me, sticks
    23                   it in there after he just validated
    24                   everything in -- in Texas.
    25                                   He says to me, in the room,

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     1                   Josh Merit, he put it in his computer,
     2                   he put it in his and he said, "There's
     3                   no data here from the 2020 election."
     4                                   And I'm going, "What?"                 And
     5                   I'm arguing with him, I go, "Yes, there
     6                   is."    This Mark Cooke, we got this Mark
     7                   Cooke -- it's Conan even on phone and
     8                   he goes, "Yes, there is."
     9                                   And they set and argued in
    10                   that room.        I left the room mad.             I
    11                   text Mary Fanning and said according to
    12                   -- I didn't say according to this Josh
    13                   Merit -- well, obviously she knew who I
    14                   was talking about.
    15                                   Because I'm badmouthing
    16                   these guys that are attacking -- I
    17                   didn't know who to believe.
    18                                   And I'm going -- and
    19                   basically it was tell Dennis that
    20                   there's no PCAPs here -- I don't -- or
    21                   PCAP data, whatever.                 That's what it
    22                   says here.
    23                                   But if you follow it
    24                   through, when I went back in there, and
    25                   after Conan showed them where it was,

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     1                   "Oh, oh, there it is.                Okay.    There's
     2                   the data."        Otherwise, we couldn't have
     3                   done the symposium.
     4           Q       Where do you say on this text exchange
     5                   that you went back in and Conan
     6                   found --
     7           A       -- it doesn't.           I only went out with
     8                   Mary; I was desperate.                I hadn't even
     9                   been was texting Mary the whole month
    10                   and a half it was probably.                  This was
    11                   probably that day, I knew she knew
    12                   Dennis.
    13                                   I'm going -- because she
    14                   talked to him it all the time.                    I go,
    15                   "You know what?"            It was kind of like
    16                   they're telling me, "There's nothing
    17                   here, Mary.        Will you get it to him and
    18                   find out?"
    19                                   And then they can see where
    20                   we're talking -- she's talking about
    21                   Dennis going, "So many traitors, seems
    22                   like that most of them are good guys,"
    23                   because I'm talking about Josh Merit.
    24                                   And -- and apparently Mary
    25                   or somebody maybe found the connection

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     1                   between Josh Merit and Sidney Powell,
     2                   and Dennis now knowing Josh Merit was a
     3                   traitor, or whatever he is here, was
     4                   upset to know that he knew Sidney
     5                   Powell.
     6                                    I don't know.           I'm only
     7                   reading these texts.                 And then it says,
     8                   "He -- he told me he gave Conan the --
     9                   he gave it to Conan."                 Which he did.
    10                   See, if you read the rest of the text
    11                   there, "He gave it to Conan," which he
    12                   did.     Was it the whole 32 terabytes
    13                   bites?     No.
    14                                    MR. CAIN:           Object to that as
    15                   well as non-responsive.
    16                                    THE WITNESS:           You want
    17                   answers, that's your answer.
    18                                    MR. CAIN:           All right.
    19
    20
    21                   By Mr. Cain:
    22           Q       So your words, "Dennis didn't give us
    23                   anything to bring here.                 No PCAPs.     He
    24                   got really upset when I picked up Conan
    25                   and I asked for the evidence."

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     1                                   Tell me -- tell me what you
     2                   remember about this --
     3           A       -- I asked him for my copy and my 32,
     4                   and he said I'm still working on one
     5                   piece.
     6                                   And I said, "Okay," we'll go
     7                   -- and I said, "I need it right now.
     8                   I've got to get on a plane."                  And he
     9                   got upset with me, he goes by -- and I
    10                   -- I said, "We'll let's go -- and I'll
    11                   -- we'll go have breakfast."                  Whatever.
    12                                   Then Conan and I went and
    13                   had breakfast and I said, "You know
    14                   what, I got to get these," -- he had
    15                   given this one hard drive -- that hard
    16                   drive I took.
    17                                   And I said, just give me
    18                   what you got -- what he's got and we --
    19                   rather than go get mine out of whatever
    20                   he's doing -- and the -- and the source
    21                   code.
    22                                   Because Conan had that, I
    23                   guess.     They put it -- they -- Dennis
    24                   -- they put it in storage, the both of
    25                   them.    So I said let, "I got to get to

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     1                   Texas," because I was worried -- there
     2                   was a whole event and nothing had been
     3                   planned, what we were gonna to do.
     4                   and --
     5           Q       Okay, but --
     6           A       -- so I left.
     7           Q       So did Dennis know you were gonna show
     8                   up, look for the --
     9           A       Yeah.
    10           Q       -- for the evidence?
    11           A       Yeah.     Yeah, yeah, he -- he knew that.
    12                   But he wasn't -- he wasn't ready with
    13                   one part of it yet.
    14           Q       (Inaudible).
    15           A       And I go to Conan and Conan -- I go,
    16                   "Dennis, I said I need this right now.
    17                   I have to go."            I got upset with him
    18                   because I wanted to get going.
    19           Q       How much lead time -- I mean, we -- we
    20                   looked at the acquisitions of the
    21                   blxware.
    22                                    Some of that paperwork, and
    23                   assuming it has something to do with
    24                   this data, how much time did -- did
    25                   Dennis Montgomery have to put together

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     1                   the evidence that you expected to
     2                   receive when you landed in Florida?
     3                                   MR. MALONE:          Object to form
     4                   and foundation.
     5                                   THE WITNESS:          I don't know
     6                   what you're talking about.                 He had
     7                   already made the -- the wheels that I
     8                   wanted.
     9                                   Those were already done.               I
    10                   had those two, three weeks prior.
    11                   Those were the wheels that showed it
    12                   was 100 percent from the -- from the
    13                   2020 election.           I had those.
    14                                   I'm going, "You know what?
    15                   Whatever else gets -- whatever else he
    16                   has ready, it's fine."               You know, the
    17                   -- and we ran those on the front screen
    18                   the whole time.
    19                                   And that's where even the
    20                   Facebook fact checker said, "Yes, it's
    21                   real."
    22
    23
    24                   By Mr. Cain:
    25           Q       You're talking about the scrolling text

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     1                   data?
     2           A       Right.
     3           Q       That's was being run?
     4           A       Right.     Right.
     5           Q       Okay.    And you believe that is evidence
     6                   of the election -- data from the
     7                   election showing that votes had been
     8                   changed?
     9           A       No, I never said that.
    10           Q       I am asking you.
    11           A       The whole thing was it's from the 2020
    12                   election, and we had -- we showed that
    13                   China could -- intruded into our
    14                   election.       That's what -- that's what
    15                   the whole thing was about.
    16           Q       Okay.    But the scrolling Hex data --
    17           A       -- that's the one thing I already had,
    18                   and I was there and I said, "Here's
    19                   what I want made.             I want this made..."
    20                   I even sent that to a lot of the news
    21                   station.
    22                                   "Check this out, is this for
    23                   real?"     And they said, "Yes."                  I sent
    24                   it to the Facebook fact checkers, Allen
    25                   Duke and Martin over in Belgium, they

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     1                   said, "Yes, it's time-stamped."                   Any
     2                   cyber guy can read that.
     3                                   And the other stuff we had
     4                   -- when Josh Merit got there, it kind
     5                   of upset the apple cart.                I'm going,
     6                   "What?"
     7           Q       (Inaudible).
     8           A       I said, "Don't sit here and tell me
     9                   Dennis Montgomery's stuffs all real,
    10                   then we get here and you say oh,
    11                   there's nothing on there."
    12                                   So as soon as Conan got
    13                   there, we were able to show him because
    14                   he -- he either couldn't find it in the
    15                   file, in that hard drive -- by the way,
    16                   I think we even -- I believe he even
    17                   stole that hard drive from the
    18                   symposium.
    19                                   I believe he stole that, so
    20                   -- and I think that's why we took him
    21                   to court.       We took Josh Merit to court.
    22                   He stole -- he tried to sabotage the
    23                   whole symposium.
    24                                   And I was checking with Mary
    25                   going, "Did, you know, did Dennis not

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     1                   give us something on there?                 Or is Josh
     2                   Merit a sabotager?"
     3                                   It turns out Josh Merit was
     4                   a sabotager.         And, yeah, we took him to
     5                   court right after that.
     6           Q       Mr. Lindell, you're -- you're so far
     7                   from the question that we had.
     8           A       Well, you're so far, but this had
     9                   nothing to do with Eric Coomer.                   This
    10                   is bizarre.        I've never seen anything
    11                   like it.
    12           Q       So what you -- well, what you said is
    13                   -- and maybe I missed this because it
    14                   was buried in what you just told me,
    15                   that the people, the media people, that
    16                   you sent the data to before the
    17                   symposium included -- it included CNN;
    18                   didn't it?
    19           A       That what?
    20           Q       CNN had the data, whatever data, or at
    21                   least a piece of the data before --
    22           A       -- I sent it to reporters.                 I sent some
    23                   screen shots of it and not one of them
    24                   said it wasn't from the 2020 election.
    25                                   I wanted to get them so

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     1                   hopefully they would report about it.
     2                   The only one that said 100 percent was
     3                   Martin from Lead -- from the Allen Duke
     4                   Lead Stories.
     5                                   And I gave him permission
     6                   because he's validated ahead of time
     7                   that you could have Skype in because
     8                   he's over in Belgium.                 So he had a
     9                   cyber guy there.
    10                                   He's the one that told me
    11                   two of these streams, the Wisconsin and
    12                   Pennsylvania were the same.                 I said,
    13                   "But it's from the 2020 election?"
    14                                   And he said, "Yeah, they're
    15                   -- it's the time-stamp."                 And he
    16                   agreed.     So I go, "Okay, good."
    17                                   MR. MALONE:            Mike, do you
    18                   need a break to deal with...
    19                                   THE WITNESS:            What?
    20                                   MR. MALONE:            Do you need a
    21                   break to deal with...
    22                                   THE WITNESS:            I got to just
    23                   send him a text here.
    24                                   MR. CAIN:            You send that
    25                   off.    Let's do it off the record.

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     1                   Let's take a break.
     2                                   THE VIDEOGRAPHER:             We are
     3                   going off the record.                 The time now is
     4                   2:51.
     5                                   REPORTER'S NOTE:             Whereupon,
                                         a short recess is taken.
     6
     7                                   THE VIDEOGRAPHER:             We are
     8                   back on the record.              This is the start
     9                   of Media Number 5.             The time is 3:06.
    10
    11
    12                   By Mr. Cain:
    13           Q       Mr. Lindell, we've been at looking at
    14                   Exhibit 189 --
    15           A       (Indicating).
    16           Q       -- these text messages.                 Have those
    17                   been produced --
    18                                   MR. CAIN:            -- this may be
    19                   more for Mr. Malone, but have these
    20                   been produced in this case?                  I believe
    21                   these were produced in the Smartmatic
    22                   case.
    23                                   MR. MALONE:            Objection to
    24                   foundation.        Oh, are you asking me?
    25                                   MR. CAIN:            Yeah.

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     1                                   MR. MALONE:            I don't believe
     2                   these have been produced.                    I don't
     3                   believe they've been asked for either.
     4                   We can go back to confirm.
     5                                   MR. CAIN:            Okay.
     6
     7
     8                   By Mr. Cain:
     9           Q       Going back to the text exchange, Mr.
    10                   Lindell, the second part of the -- the
    11                   sentence that we were looking at, "He
    12                   got really upset when I picked up Conan
    13                   and I asked for the evidence."
    14           A       (Indicating).
    15           Q       And I think your testimony is that
    16                   Dennis Montgomery got upset because he
    17                   had not finished a piece of it that he
    18                   was going to be providing to you; is
    19                   that right?
    20           A       That's what -- because I -- I said to
    21                   Conan, "Do we have everything?"                    And he
    22                   said there's one piece.                 I said,
    23                   "Dennis I need all of it right now, I
    24                   got to go."        And he got upset.
    25                                   And I said, "Okay," I -- I

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     1                   said, "Okay.         Well, can you just give
     2                   me..."     "I need a little bit of time to
     3                   get it ready."
     4                                   And we went up to the
     5                   restaurant and I told Conan I had to
     6                   leave.     And I told you the rest.
     7           Q       Okay.    But how long -- what I was
     8                   trying to get in my prior question is
     9                   how long did Dennis Montgomery have to
    10                   compile this information that you were
    11                   going to be presenting at the Cyber
    12                   Symposium.
    13           A       I don't know.          Four weeks maybe at the
    14                   most, four, four and a half, five
    15                   weeks.     I was there when they worked
    16                   for about a few days when he worked on
    17                   the one part of it.
    18                                   And we had done with that
    19                   and I said, "Okay," -- because it was
    20                   like here's what I wanted -- I wanted
    21                   at least get some so we can present,
    22                   and bring all the -- bring all the
    23                   terabytes, I was gonna turn in the
    24                   cyber '15 act.
    25                                   And -- and he -- basically

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     1                   he was getting my cyber -- or my
     2                   terabytes ready, my copy too which took
     3                   -- which took quite a while.
     4           Q       Okay.
     5           A       Five weeks maybe.
     6           Q       But you go on to say, sir, he said to
     7                   go have breakfast, meaning Dennis
     8                   Montgomery, and we did, and he never
     9                   answered my text or calls after I
    10                   called him back.
    11                                   So you're -- you're trying
    12                   to get this data from Mr. Montgomery
    13                   and he's not even answering --
    14           A       -- no, no, no, he answered my calls.
    15           Q       Why do you say he never answered my
    16                   text or calls?
    17           A       This is probably after I left there.
    18                   So this, in the context of Mary
    19                   Fanning, I'm in a panic, I just got out
    20                   of that room with Josh Merit pulling
    21                   his stunt.
    22                                   I said, "He hasn't answered
    23                   my," -- means he hasn't answered after
    24                   -- when we called him, after I got to
    25                   -- from Texas, got to the Cyber

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     1                   Symposium, the day before, after Josh
     2                   said that, I called Dennis and stuff
     3                   first before reaching out to Mary, you
     4                   know.
     5                                   I called Dennis and he
     6                   wasn't answering.             He wasn't answering
     7                   my text.
     8           Q       That didn't concern you?
     9           A       It concerned me until I found out later
    10                   he had a stroke, yeah, it was
    11                   concerning going, "What happened to
    12                   him?"    I was worried.              I was concerned.
    13           Q       Who told you he had a stroke?
    14           A       Huh?
    15           Q       Who told you --
    16           A       -- this was during that thing.                    I don't
    17                   know some guys at the thing, or Mary
    18                   said that.        I don't know who said that.
    19                   I heard he had a stroke.
    20           Q       At what point did you start having some
    21                   red flags in your mind that Dennis
    22                   Montgomery was not who he claimed to
    23                   be?
    24           A       I never had that --
    25                                   MR. MALONE:           -- object to

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     1                   form.
     2                                   THE WITNESS:          I never had
     3                   that in my life.            Ever.     Ever.       So
     4                   that's not true at all.
     5
     6
     7                   By Mr. Cain:
     8           Q       Because he supports your narrative that
     9                   the election was rigged?
    10           A       No, he didn't support that at all.                     He
    11                   just -- he had evidence about here's --
    12                   here's the information -- here's the
    13                   data.
    14                                   This wasn't about turning
    15                   evidence over to Donald Trump.                    He had
    16                   evidence that had China intruded on our
    17                   elections.        It's critical
    18                   infrastructure.
    19                                   You can't put that on me
    20                   about -- about just making this a
    21                   Donald trump thing.              That's disgusting.
    22           Q       How many people have you, cyber
    23                   experts, have you heard either on
    24                   television or through reports that say
    25                   that Dennis Montgomery's so-called

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     1                   evidence is a hoax?              How many people
     2                   have you --
     3           A       -- nobody.        Nobody.
     4           Q       No one's told you that?
     5           A       No, only the ones that told me that
     6                   said -- Josh Merit said it was good and
     7                   then Josh Merit turned around and said
     8                   it wasn't at the -- or he state there
     9                   was nothing there -- it wasn't there,
    10                   that's -- that's right.
    11                                   So only Josh Merit.
    12                   Everyone else that's seen this evidence
    13                   that's been there has said, "It's 100
    14                   percent -- 100 percent real."                     Which
    15                   includes I can name them -- we've hired
    16                   people at our law firm and they've went
    17                   down there and validated at his house.
    18           Q       Zeidman got the award of the $5 million
    19                   dollars.      So he told you?
    20           A       He didn't get nothing.               Zeidman's not a
    21                   cyber expert.          I don't even -- he
    22                   couldn't even open Wire Shark.                     I don't
    23                   know that guy.
    24           Q       He got -- he got --
    25           A       -- I hired real cyber guys, not Zeidman

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     1                   who's a -- who's a complete hoax.                       That
     2                   will all come out, he's a criminal.
     3                   Whatever he is, I don't know what he
     4                   did this for.
     5                                   He's a -- it's a big lie.
     6                   He's with the guy that had blxware that
     7                   knew it was 100 percent evidence.
     8                                   MR. CAIN:            Objection;
     9                   non-responsive.
    10
    11
    12                   By Mr. Cain:
    13           Q       He's the one who got $5 million dollars
    14                   --
    15           A       -- he didn't get $5 million; it's in
    16                   court.     It goes to court next year.
    17                   What's wrong with you?                 You know that.
    18                   He didn't get any 5 million dollars.
    19           Q       You didn't read the arbitration award?
    20           A       He lost -- he lost the judgment; okay?
    21                   With the judges.            He lost it 3 to zip.
    22                   Then he took it to arbitration, they --
    23                   they made some mistakes there.                    And
    24                   then -- and now it's going to court.
    25           Q       Okay.

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     1           A       I had 30 days to bring it to court, and
     2                   I brought it to court.               And that will
     3                   be sometime next year.               A year from
     4                   now.     It's funny they pushed it off to
     5                   2024.     That's weird.
     6           Q       Are you saying to the jury that Mr.
     7                   Zeidman didn't receive an award from
     8                   the arbitrators -- you haven't paid it
     9                   yet, I understand that.
    10           A       It's in court.
    11           Q       Five million dollars.
    12           A       It's in court.
    13           Q       Did he get the award or not?
    14           A       No, he didn't get a reward because it's
    15                   in court.
    16           Q       That was the determination from the
    17                   panel.     I know it hasn't been
    18                   finalized, that's a different issue.
    19                   But he was given a $5 --
    20           A       -- it has to go through the courts.                     We
    21                   -- did they rule?             These judges saying,
    22                   "Yeah, we're gonna give you -- we're
    23                   gonna award 5 million dollars."                   Now
    24                   here, take it to court, that's where
    25                   we're going.         So yeah.

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     1           Q       Did he get the award of 5 million
     2                   dollars?
     3           A       No, it's in the court.                What's the
     4                   matter with you?            It's in court -- it's
     5                   maybe a year from now.                He did not get
     6                   an award of 5 million dollars.                    I'm not
     7                   gonna pay for something he's not
     8                   entitled to.
     9                                   It's going to court.               Do you
    10                   get that?
    11           Q       Yeah, I get exactly what's going on.
    12           A       (Laughing).
    13           Q       I don't think you do.                All right.      So
    14                   the arbitration panel that heard the
    15                   evidence determined that he was
    16                   entitled to 5 million dollars because
    17                   there wasn't evidence presented related
    18                   to the 2020 election --
    19           A       That's --
    20           Q       -- isn't that true?
    21           A       That's -- he -- they said he -- he has
    22                   an award, that's what the panel said.
    23                   Now what was presented, I have no idea
    24                   what -- what -- they did some very -- a
    25                   lot of things wrong there, that's what

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     1                   my lawyers have said.                 So it's going to
     2                   court.
     3           Q       Right.     But you're being evasive; you
     4                   know what I'm asking you.
     5           A       You're asking if he got an award.                   No.
     6                   I've not -- I've not paid him because
     7                   it's going to court.                 100 percent.
     8                                   I'm not paying him, is it's
     9                   going to court.           You think I'm gonna
    10                   pay him -- pay for something I didn't
    11                   -- he is not entitled to?
    12           Q       You're --
    13           A       -- ana a hundred other people say it's
    14                   from the 2020 election.                 And he's the
    15                   only one in the world -- and all of
    16                   sudden he shows up with some attorney
    17                   that would -- that knew all about
    18                   Dennis Montgomery and the evidence
    19                   because he was involved, and he got
    20                   money for it?          Unbelievable.
    21           Q       All right.
    22                                   MR. CAIN:            So object to all
    23                   of as evasive and non-responsive.
    24
    25

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     1                   By Mr. Cain:
     2           Q       Josh Merit told you the data was not
     3                   what it purported to be.                Mr. Zeidman
     4                   has an arbitration ruling for 5
     5                   million --
     6           A       -- that's not true.
     7           Q       Dollars --
     8           A       -- that's not true what you just said.
     9                   Josh Merit said 100 percent Dennis
    10                   Montgomery's stuff, 100 percent, he had
    11                   checked it all out, it was 100 percent
    12                   bonafide good evidence.
    13                                   And he said that to the
    14                   cyber guys down -- or I mean, to aids
    15                   off down there on a chalkboard.                   He
    16                   said it then.          We get up there, he said
    17                   -- he didn't say it was bad evidence,
    18                   he said there was nothing there.                   Then
    19                   when Conan Hayes said, "Oh, here's
    20                   where it is on the hard drive."
    21                                   Josh Merit said, "Yes, it's
    22                   from the 2020 election."                That's what
    23                   Josh Merit said.            So that's not true.
    24                                   And we have Josh Merit on
    25                   tape going, "We're going to steal this

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     1                   5 million dollars."              It was a set up,
     2                   we have him on tape -- do you know
     3                   that?     Him and his wife.
     4                                   Do you know that?             That he
     5                   was there to sabotage the event and we
     6                   have him on tape?
     7                                   THE WITNESS:          We have him on
     8                   tape, have you given him that evidence?
     9                                   MR. MALONE:          I'm -- I'm not
    10                   sure which evidence you're --
    11                                   THE WITNESS:          -- there's a
    12                   tape of Josh Merit, with a -- with a
    13                   radio host going, me and my wife, we're
    14                   sabotaging -- we're going after --
    15                   gonna get this 5 million.                It was all a
    16                   set up.
    17                                   And I have -- there's so
    18                   many swear words, we couldn't even play
    19                   it on the show.           We had edit it out,
    20                   beep, beep, beep, beep, beep.
    21
    22
    23                   By Mr. Cain:
    24           Q       Mr. Lindell, you've been yelling,
    25                   you're yelling more, you're being

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     1                   evasive.      We're spending a lot of time
     2                   going over --
     3           A       -- evasive what?            You keep saying lies.
     4                   Josh Merit didn't say the evidence was
     5                   no good.      He said --
     6           Q       -- you're interrupting.
     7           A       Well, you're the one that said that.
     8                   Don't put a lie there, I'm gonna call
     9                   you out on it.
    10           Q       Josh Merit did tell you that, that's
    11                   why your upset with --
    12           A       -- no, Josh Merit did not say that, he
    13                   said 100 percent it was good.                     I was
    14                   happy when I met the guy.
    15                                   He said, "100 percent, I
    16                   have checked out Dennis Montgomery's
    17                   evidence."        And he said it, and I have
    18                   four witnesses there that he said that.
    19                   So you are lying.
    20           Q       Okay.    So he confirmed that the
    21                   evidence was good throughout --
    22           A       -- 100 percent, 100 percent.                  He -- and
    23                   you could put him right here in this
    24                   room and he'd -- if under oath and he
    25                   would say the same thing.

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     1           Q       And he confirmed then and told you the
     2                   same thing at the symposium?
     3           A       No.   The day before the --
     4           Q       -- no, wait.         Did he --
     5           A       -- the day before the symposium -- the
     6                   before the symposium he said it wasn't
     7                   there.     Then we go, "Oh, here it is on
     8                   the file."
     9                                   Then he said, "Oh, yes, it
    10                   is from the 2020 election."                 So you're
    11                   lying.     He -- he changed his tune when
    12                   we had somebody that knew how to open
    13                   his thing.
    14                                   He was just trying to hide
    15                   it.   I'm going, of course it's there.
    16                   Conan showed him, the other guy said,
    17                   "Oh, here it is."             They all went in the
    18                   room and said okay, ding, ding, ding,
    19                   they went around to get their
    20                   presentations ready.
    21                                   What they were gonna drop
    22                   into the cyber room; I wasn't involved
    23                   in that.      Josh was.          And all of a
    24                   sudden he sabotages the thing, sends an
    25                   article to the Enquirer or some place

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     1                   in New York and Washington.
     2                                   Then he steals the hard
     3                   drive, and he left with the hard drive.
     4                   So we couldn't even go, "Hey, where's
     5                   the hard drive?"            And we took him to
     6                   court for that.
     7                                   He had no right to take that
     8                   evidence that wasn't his.                 That's a
     9                   fact.
    10                                   MR. CAIN:            Objection;
    11                   non-responsive.
    12                                   THE WITNESS:            Well, he'd
    13                   asked me, that's the answer.                  Josh
    14                   Merit was there -- he was there to
    15                   sabotage, and we got him on tape saying
    16                   that's what he was gonna do.
    17                                   Maybe -- you better give him
    18                   that evidence because that's a -- I'll
    19                   put that down, we have a tape where he
    20                   says exactly what he is gonna do.
    21                                   MR. CAIN:            There's --
    22                   there's not a question pending, sir.
    23                                   THE WITNESS:            Well, you need
    24                   to have the evidence anyway.                  So you
    25                   know what I know.             There's -- I -- I

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     1                   don't know why my lawyers withheld
     2                   that.
     3                                   MR. MALONE:            We didn't
     4                   withhold anything.
     5                                   THE WITNESS:            (Laughing).
     6                                   MR. MALONE:            Don't say that.
     7                                   THE WITNESS:            Well --
     8                                   MR. MALONE:            (Inaudible).
     9                                   THE WITNESS:            -- did you
    10                   ever see it.         Do you know the tape I'm
    11                   talking about?           Maybe, I've never given
    12                   you that tape.
    13                                   MR. MALONE:            Mike, we'll
    14                   talk about that after.                 Let's just wait
    15                   for the next question (inaudible) --
    16                                   THE WITNESS:            -- all right.
    17
    18                   By Mr. Cain:
    19           Q       Back to Exhibit 189.                 I want to cover a
    20                   few more topics and then I'm gonna
    21                   suspend this to file a motion.
    22           A       (Indicating).
    23           Q       But as it relates to this last exchange
    24                   on the page, you say, "He," -- we
    25                   covered this, "He said," meaning Dennis

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     1                   Montgomery, "To go have breakfast and
     2                   we did and he never answered my text or
     3                   calls.     After I called him back."
     4                                   And then the next sentence
     5                   you say, "No, I was there.                 He gave a
     6                   file that only contained a small amount
     7                   of hex data."
     8                                   So that's what you got from
     9                   Dennis Montgomery that day; right?
    10           A       No, that's what -- what -- what he --
    11                   what I'm saying there that the file,
    12                   that wasn't the hard drive that Conan
    13                   gave me.
    14                                   That Conan -- that he has
    15                   stuff -- he had whatever he had on that
    16                   file, there was a lot more than the hex
    17                   data, the hex data he gave me was those
    18                   rolling things on the -- on the front
    19                   of the thing.          There were two things I
    20                   had.     I had the hex data that I got
    21                   from Dennis directly.
    22                                   So that's what I'm talking
    23                   about there.         You know those spinning
    24                   files?     That's what I got from him.
    25                   Conan gave me the drive that he got

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     1                   from Dennis for the -- for the -- but
     2                   it wasn't in all the terabytes and he
     3                   said here that is what you need to
     4                   bring to -- to Texas.
     5           Q       That's the drive that was provided
     6                   to --
     7           A       Right.
     8           Q       -- Mr. Merit?
     9           A       Right.     But I had my Hex Data that I
    10                   had on to roll on the screens.                    That's
    11                   what I was saying.
    12                                   He gave me a file that Hex
    13                   Data that on the board -- and, in fact,
    14                   I'm even looking here it says, "Two of
    15                   them were rolling where frank," -- it
    16                   states, "Two of them are the same."
    17                                   Because I -- the Facebook
    18                   fact checker said just call me, it must
    19                   be when I gave this text.                In other
    20                   words, I was trying to telling Dennis
    21                   there's also -- there's a mistake, he
    22                   needs to flip the -- or there was a
    23                   duplicate mistake.
    24                                   But he just put up Wisconsin
    25                   and Pennsylvania.             There were two

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     1                   Wisconsin's instead of a one -- instead
     2                   of a Pennsylvania and a Wisconsin,
     3                   that's all.        And that was corrected.
     4                                   I don't -- Dennis couldn't
     5                   do it because he had all -- apparently
     6                   by then he had went and had a stroke.
     7                   So we couldn't even get that corrected
     8                   on the big screen.
     9                                   So you had two that were the
    10                   same, but we had enough up there anyway
    11                   that part didn't matter.
    12           Q       Was the hard drive --
    13                                   MR. CAIN:            -- and object
    14                   again to non-responsiveness.
    15
    16
    17                   By Mr. Cain:
    18           Q       Was the hard drive that you say you got
    19                   from Dennis Montgomery provided to the
    20                   people on the red team, as you
    21                   described it?
    22           A       Not -- there's two things we got.                    I
    23                   said what I got was the Hex Data thing,
    24                   the other hard drive, yes, that was
    25                   provided to the red team.

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     1                                   That's what we have brought
     2                   to Texas and then brought to the red
     3                   team.
     4           Q       Was the material that was on the hard
     5                   drive provided to the attendees, the
     6                   cyber experts -- other cyber experts,
     7                   at the symposium?
     8           A       It's everything except the third day,
     9                   which was the China stuff because of
    10                   what I was told by Phil Waldren and
    11                   because of the attack on the night of
    12                   the -- the second night of the
    13                   symposium.
    14           Q       But you don't say anything about Phil
    15                   Waldren or a poison pill in this text
    16                   exchange.
    17           A       Because this wasn't on here yet.                   That
    18                   was the third -- that was the night of
    19                   the second.
    20           Q       Where are you --
    21           A       -- these texts -- these texts that --
    22                   from Mary Fanning is the day before the
    23                   symposium.        This is the day before the
    24                   symposium, I believe.
    25           Q       Do you have texts with Ms. Fanning

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     1                   about the poison pill through the
     2                   symposium and afterwards?
     3           A       No, I don't see them here.                 No.
     4           Q       Who'd -- who'd you text with during the
     5                   symposium about this so called poison
     6                   pill?
     7           A       I didn't text anyone.                I was there.      I
     8                   lived it.       My gal and I got attacked up
     9                   above.     And Phil Waldren, they all knew
    10                   that, the whole red team or whatever.
    11                                   Phil Waldren, after we had
    12                   called the cops, he says again -- and
    13                   then he says -- he said -- because he
    14                   was worried, he was checking for
    15                   punctures, him and another military
    16                   guy, to check him for punctures.
    17                                   We had a picture of the guy,
    18                   we knew who they were, turned it into
    19                   police, and we even had put the
    20                   pictures out all over the country, but
    21                   they -- it's kind of weird, they
    22                   couldn't find him.             That's strange.
    23           Q       Sir --
    24           A       -- and then Phil Waldren said, "We
    25                   can't drop the China data because

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     1                   they're gonna put a poison pill in."
     2                                   And it's the same warning I
     3                   got back.       Back off, basically.              Don't
     4                   do what you think you're going to do
     5                   was the threat.
     6                                   MR. CAIN:            Objection.
     7                                   THE WITNESS:            It's a very --
     8                   you have no idea what you're -- what
     9                   you're doing.          That's what the guy
    10                   said.
    11                                   And the other two guys that
    12                   were standing there, that were in on
    13                   it, both of them -- well, you'd have to
    14                   read the report.            We -- whatever I said
    15                   in that report was quote.                 There were
    16                   -- there was three of them together.
    17                                   MR. CAIN:            Once again you're
    18                   not being responsive, and you're being
    19                   evasive.
    20
    21
    22                   By Mr. Cain:
    23           Q       The -- the reason that I'm asking about
    24                   the poison pill is that the truth is
    25                   that you didn't have the PCAPs and

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     1                   that's why you couldn't --
     2           A       -- no, Dennis -- or -- or Phil Waldren
     3                   said we couldn't drop -- this was the
     4                   China thing, the China intrusion, that
     5                   morning is when we were going to drop
     6                   that in the cyber room.
     7                                   That's what -- I -- I had --
     8                   I'd go into that red team, I wasn't in
     9                   there planning stuff everyday.                    What
    10                   they were gonna put on that stage.
    11                                   But I said, "We are putting
    12                   down the China intrusion tomorrow."
    13                   And then I got attacked that night.
    14                                   And Phil Walgren -- you can
    15                   ask him straight up, said, "We can't
    16                   put down the China stuff because
    17                   there's gonna be a poison pill put in."
    18                   That is period.
    19                                   That was a -- that's 100
    20                   percent fact.          Right out of his mouth.
    21           Q       The next -- very next sentence on your
    22                   text --
    23                                   MR. CAIN:            -- again, object
    24                   to non-responsiveness.
    25

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     1
     2                   By Mr. Cain:
     3           Q       You say, "Conan and I have been
     4                   stalling them and have no PCAPs."                   So
     5                   you were stalling your red team members
     6                   because you actually didn't have the
     7                   evidence that you were going to provide
     8                   to them?
     9           A       No.
    10           Q       And that's why --
    11           A       -- this is what I'm trying to tell you.
    12                   This is when Josh Merit said this.                    We
    13                   were sitting there going -- and we're
    14                   going -- I'm looking at Conan, "Can you
    15                   find," he's looking through the drive,
    16                   he finally found them and we brought
    17                   them in.
    18                                   This was in between going we
    19                   don't have the data -- because Josh
    20                   Merit we don't -- for all I know Josh
    21                   Merit tried to delete it.                And then
    22                   when Conan -- when he got it, we
    23                   brought it back to the red -- red -- or
    24                   to the red team and they went through
    25                   it all and said, "Okay."

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     1                                   It was a big relief to me
     2                   because I'm going, "What, do we have a
     3                   blank hard drive or something because
     4                   Josh Merit said that?"
     5                                   And then we find out later,
     6                   because we have the tape of him doing
     7                   exactly what he was gonna do.                     He tried
     8                   -- and then he took that hard drive
     9                   with him and stole it.
    10                                   So this was before -- before
    11                   -- this was before I knew that there
    12                   was still stuff on that hard drive
    13                   because Conan was able to get it off
    14                   even no matter what Josh Merit did in
    15                   that room with that, he should've never
    16                   been allowed to put that in his
    17                   computer.
    18                                   Because whatever he did --
    19                   and I don't know if he tried to delete
    20                   it or what.        But Conan found it, we
    21                   brought it back in there, and all the
    22                   red team looked at it and said, "Okay,
    23                   let's go.       Let's move forward."
    24                                   Otherwise, you wouldn't be
    25                   able to have a Cyber Symposium.

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     1           Q       Well you ended up having --
     2                                   MR. CAIN:            -- again,
     3                   non-responsive.
     4
     5
     6                   By Mr. Cain:
     7           Q       But you ended up having a Cyber
     8                   Symposium without PCAPs as promised;
     9                   isn't that true?
    10           A       No.     PCAP data -- to me it was all the
    11                   same.     PCAP, Hex Data brought cyber
    12                   data, I don't know what you're --
    13                   you're separating two different things
    14                   there.
    15                                   Everything that I had -- did
    16                   I have all the terabytes?                 No, I
    17                   couldn't have put them all down anyway.
    18                   All I wanted was to show the world,
    19                   here's part of them, here's China and,
    20                   you know what?           All the media would go,
    21                   "Wow, let's check and see if some -- if
    22                   there's a problem."
    23                                   You drop the stuff off in
    24                   Texas under the cyber '15 act, and we
    25                   all go home; we fix our election

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     1                   platform.       How hard is that to
     2                   understand?
     3           Q       Why were you stalling them then.
     4           A       Because Conan was trying to find this
     5                   on his hard drive that we took right
     6                   out of Josh Merit's hands after he had
     7                   it for two hours.
     8                                   And I'm going, "Conan is
     9                   there really..." because I didn't know
    10                   who to believe at that point.                     I'm
    11                   going, Josh Merit just validated and
    12                   said all of Dennis Montgomery's stuff
    13                   is good.
    14                                   Now we've got this guy I
    15                   don't even know saying that there's
    16                   nothing on the tape, that it was empty.
    17                   He didn't say it was bad, he said it
    18                   was empty.
    19                                   So Conan went on there and
    20                   he's stall -- I'm stalling, I'm going,
    21                   "He's getting it.             He's getting it.
    22                   He's getting it."
    23                                   So we're calling to see if
    24                   Dennis, you know, did he give us a
    25                   blank hard drive?             And Conan said, "I

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     1                   seen it before."
     2                                   Conan had it on his computer
     3                   -- or he had -- he had checked the hard
     4                   drive before I left.                 So we thought
     5                   maybe, you know, I don't know was it
     6                   hidden by some code?
     7                                   But Dennis got --             or Conan
     8                   found it then.           We didn't get the stuff
     9                   from Dennis because we couldn't reach
    10                   him because apparently he had a stroke.
    11                                   But Conan found it and when
    12                   I brought it back in the red room, but
    13                   this time I didn't give it to Josh, we
    14                   realized by that time -- there was a
    15                   guy name Todd Sanders there, too.
    16                                   And Todd was kind of going
    17                   back and forth between the rooms.                    And
    18                   Todd said -- I -- I go, "Don't give it
    19                   to Josh.      There's something wrong here.
    20                   There's something seriously wrong."
    21                                   So then Todd gave it to the
    22                   other cyber guys and I went in the room
    23                   to make sure he didn't touch it.                   And
    24                   all of them looked at it, we're all,
    25                   "There it is."           And that was it.

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     1                                   And realize the Cyber
     2                   Symposium wasn't going on.                 This was
     3                   either the day before, or two days
     4                   before.     I think it was one day before.
     5           Q       If you'll turn to the next page --
     6           A       (Indicating).          (Witness complying).
     7           Q       -- on this exhibit.              Some -- there's
     8                   some additional discussion from Mary
     9                   Fanning, you can read it if you care
    10                   to, I'm more concerned or interested in
    11                   your response to her.
    12                                   In the top third of the
    13                   page, you start, "I feel like I'm in
    14                   the Twilight Zone."
    15           A       All right.
    16           Q       "Dennis and Conan worked hard to get
    17                   the stuff ready for almost a month.
    18                   Mary, he told me I would get
    19                   everything."         I'll stop there.
    20                                   You mean there, Dennis
    21                   Montgomery told you you would get all
    22                   the of data you were expecting, the
    23                   full, as you call it, 32 terabytes,
    24                   relating to the 2020 election; right?
    25                   That's what you're referring to.

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     1           A       Right.     Which I did have a copy and --
     2                   and the source code.                 But I (inaudible)
     3                   got it with me -- I didn't bring it
     4                   with me because it was in -- in
     5                   storage.      That's correct.
     6           Q       Wait, it was in storage?
     7           A       It was in storage.             Conan and him had
     8                   bought it to a thing.                 When I went up
     9                   to the -- went up to the thing -- or
    10                   out to the restaurant and -- and -- by
    11                   then I said I got to leave, you bring
    12                   it with, Conan.
    13                                   Give me what you got, I had
    14                   to get -- I had to get going.                     But by
    15                   this time, after listening to Josh, I'm
    16                   going Mary, I bought -- you know,
    17                   what'd I say, I bought a house for $2
    18                   million or whatever.
    19                                   I didn't actually by him any
    20                   house.     But I bought -- you know he
    21                   used the money apparently to buy the
    22                   house.
    23                                   And I said so I got all this
    24                   money.     At that time I believed that
    25                   Josh Merit going -- what he -- he

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     1                   didn't -- he didn't even send anything
     2                   in this hard drive but I didn't know
     3                   he'd already had a stroke.
     4           Q       Well, you don't say the data is in
     5                   storage in Texas or anything like that.
     6                   You say to Mary Fanning, "He told me I
     7                   would get everything."
     8           A       Right.
     9           Q       You didn't get it --
    10           A       -- Conan was there and they made a copy
    11                   and put it in storage in a locker for
    12                   me when I got there.                 Okay?   Do you
    13                   understand that part?                 And my source
    14                   code.
    15                                   That was all there.               I
    16                   didn't bring it with me on the plane.
    17                   I didn't want -- you know, here's the
    18                   -- here's the thing what you need to
    19                   understand.
    20           Q       Well --
    21           A       -- he was making a copy to bring to the
    22                   symposium.        My copy was in storage, so
    23                   it didn't get taken or broke, you know
    24                   what I mean?         Mine was under lock and
    25                   key in storage.

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     1                                   I had these two big
     2                   computers, one was at the symposium
     3                   that I brought there, so the data could
     4                   just be put down through this hard
     5                   drive into -- into the cyber room.
     6                   That's the way it was set up.
     7           Q       You say though, that you didn't get
     8                   everything from Mr. Montgomery.
     9           A       I did not, because I left there without
    10                   my copy.      But, yeah, I wasn't bringing
    11                   my copy anyway.           That was in lock and
    12                   key which you now have a copy of.
    13                                   That was under lock and key.
    14                   Just because you have a -- a download
    15                   of that -- this stuff was set up to
    16                   just -- here we're gonna feed this into
    17                   the cyber symposium, we're gonna feed
    18                   this much in.
    19                                   You can't put all the -- all
    20                   the -- people didn't understand.                   It
    21                   was supposed to be here, cyber guys
    22                   look at this, and everybody was gonna,
    23                   "Wow, it's from 2020," and then the
    24                   media is gonna and everyone's gonna
    25                   say, "Wow, this is real.                We need to do

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     1                   something."
     2           Q       (Inaudible).
     3           A       That was the whole thing.                Think -- it
     4                   was a very planned, it wasn't like
     5                   here's the -- here's the 32 terabytes,
     6                   everybody have a ball.
     7                                   You realize there's still a
     8                   gag order, we had to show that it's
     9                   from 2020.        You know, that's -- you --
    10                   you still had a gag order there so you
    11                   could only put so much -- I couldn't
    12                   bring the source codes and say here you
    13                   go, Guys.
    14           Q       Mr. Lindell, you've told me that story
    15                   in response to other questions.
    16           A       Okay.    So I don't know what you want to
    17                   tell me.
    18           Q       Well, if you'd listen to my question
    19                   and answer it --
    20           A       (Indicating).
    21           Q       -- that would probably be a good place
    22                   to start.
    23                                   With respect to this
    24                   statement, I've heard what you've say,
    25                   I don't find it very credible.                    But

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     1                   I'll move on to the next part the
     2                   sentence.
     3                                   The next part of the
     4                   sentence is, "I bought him had a $2
     5                   million house," is that the $1.8
     6                   million dollar transaction we saw --
     7           A       -- this -- I didn't buy him the house.
     8                   This is this $1.8 that's in question
     9                   over here on the exhibit -- on this
    10                   exhibit.      Whatever this agreement is.
    11                   There's no --
    12           Q       -- then why did you say that you bought
    13                   him a $2 million house?                If you didn't
    14                   buy him a --
    15           A       To -- to Mary?
    16           Q       -- $2 million house?
    17           A       I didn't buy him the house.                 Now, did I
    18                   give him the -- did I do this money so
    19                   he could buy a house?                It's the way I
    20                   put it there.
    21                                   I didn't go buy him a house.
    22                   He used it to buy a house.
    23           Q       They're your words, sir.
    24           A       I -- I know that's my words.
    25           Q       Okay.

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     1           A       Did I give him $1.8 million for this
     2                   thing and he bought him a house?                   Yeah.
     3                   Did I say I bought him a house -- you
     4                   take it any way you want.                It's the
     5                   same thing.
     6           Q       And you bought him another -- well, it
     7                   depends on -- on who's looking at the
     8                   transaction, but you -- you go on to
     9                   say, "You bought -- or you gave him
    10                   another $1.1 million --
    11           A       -- that was for those two other
    12                   companies.
    13           Q       -- earlier.
    14           A       Yep.
    15           Q       "He signed everything over to me."
    16                   Meaning what?
    17           A       That this was -- whatever blxware is --
    18                   whatever you see here.               Right there,
    19                   blxware and the two other companies.
    20           Q       "I flew down there to pick it up and he
    21                   told me to leave and come back in an
    22                   hour."     That's what we talked about --
    23           A       Yeah.
    24           Q       -- you got to go.
    25           A       Yep.

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     1           Q       Because he said he didn't have it ready
     2                   for you?
     3           A       No.     Conan said we needed one more
     4                   thing and he say's I'll get it ready.
     5                   I said you knew I had to leave now.
     6                                   I was in a hurry; I had to
     7                   do a complete flip and head to Texas.
     8                   I was inpatient.            That was probably
     9                   more me than anything.
    10           Q       When did you receive the rest of the
    11                   data -- if -- if you didn't have it at
    12                   the time that you left Florida?
    13           A       That was right away it, it was in a
    14                   that storage I've -- I've had that for
    15                   since Day 1, or since that time.
    16           Q       Okay.
    17           A       A copy.
    18           Q       The next sentence says, "We have a
    19                   rolling of data," and I think you
    20                   referenced this earlier --
    21           A       Yep.
    22           Q       -- "...on frank..."              That means
    23                   Frankspeech; right?
    24           A       (Indicating).
    25           Q       "...of six states and two of them are

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     1                   the same."
     2           A       Right.     That's when -- that was when
     3                   Martin told me from Lead Stories, he
     4                   called me up, Facebook Fact Checker,
     5                   said, "Mike, what do you have rolling?
     6                   I just want to tell you, one of them
     7                   does -- that two are the same."
     8                                   And he said -- I said,
     9                   "Martin, it's it -- it's from 2020;
    10                   right?"     And he said, "Yes."               So that
    11                   was very -- I was very happy to hear
    12                   that from him.
    13           Q       Ms. Fanning on this exhibit goes on to
    14                   say that, "Dennis had a stroke and was
    15                   in the hospital."
    16           A       (Indicating).
    17           Q       And you've never independently verified
    18                   that he actually had -- well -- well,
    19                   let me -- let me ask it this way.                   Was
    20                   he supposed to be at the symposium?
    21           A       No.
    22           Q       Mr. Montgomery?
    23           A       No.
    24           Q       Okay.     Then the next --
    25           A       -- and, yeah, that has been validated

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     1                   by -- that's been validated.                   When you
     2                   said that -- what do you mean it's
     3                   never been validated?
     4           Q       (No response).
     5           A       Why -- why would you say something like
     6                   that?
     7           Q       I asked you if you had -- if you'd
     8                   listened.
     9           A       I've talked to his different people
    10                   down there.        His other -- his one
    11                   lawyer that validated, this guy named
    12                   Chris -- he's said -- I've -- I've
    13                   asked him.
    14                                   You know, "Was this ever
    15                   validated?"        Because, you know, in case
    16                   it was ever brought.                 He said
    17                   absolutely it was validated.
    18           Q       And you still weren't concerned that
    19                   you were being defrauded at this point;
    20                   right?
    21           A       No, I've never been concerned
    22                   defrauded.        Are you kidding me?
    23           Q       No, I'm not kidding you.
    24           A       (Laughing).        I've seen -- I've seen --
    25                   he's shown me -- he showed me his

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     1                   technology in compression.
     2                                   I've been to the mountain;
     3                   I've seen it.          I've had other cyber
     4                   guys in his house and look at it and
     5                   go, "Wow, there it all is.                 This
     6                   technology.        Here's this data."
     7                                   I've watched him take a
     8                   (indicating) you know, suck data out of
     9                   the sky, or this room and he can do
    10                   anything.
    11           Q       You're -- you're, as far as I know at
    12                   least, you're the only one in the
    13                   country that's -- that's still actively
    14                   promoting this.
    15                                   THE WITNESS:            Okay.
    16                                   MR. CAIN:            (Inaudible).
    17                                   THE WITNESS:            This is an
    18                   emergency call.           I'm sorry you guys --
    19                                   MR. CAIN: -- this is not an
    20                   agreed-upon break.             You've been on your
    21                   phone --
    22                                   THE WITNESS:            -- okay.     I've
    23                   got an emergency.             I don't care what
    24                   you say.      This is -- this is what you
    25                   guys have cost me.             This is my

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     1                   business, I have 1500 employees relying
     2                   on this, you jerk.
     3                                   MR. MALONE:            For the record,
     4                   I don't know what the emergency is.                    If
     5                   we're still on the record, I will look
     6                   into it.      What was the -- part the
     7                   question that was Mr. Cain read before
     8                   Mr. Lindell left?
     9                                   MR. CAIN:            It doesn't
    10                   matter.     It wasn't an agreed-upon
    11                   break.
    12                                   THE VIDEOGRAPHER:             Is it
    13                   okay to go off?
    14                                   MR. CAIN:            Unless you want
    15                   to say something else.
    16                                   MR. MALONE:            We're okay to
    17                   go off.
    18                                   THE VIDEOGRAPHER:             Going off
    19                   the record.        The time now is 3:37.
    20                                   REPORTER'S NOTE:            Whereupon,
                                         a short recess is taken.
    21
    22                                   THE VIDEOGRAPHER:             We are
    23                   back on the record.              This is the start
    24                   of Media Number 6.             The time is 3:40.
    25

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     1
     2                   By Mr. Cain:
     3           Q       Mr. Lindell, I understand you have a
     4                   15-minute window and then you need to
     5                   take --
     6           A       -- that's right.            Then I got to go with
     7                   my -- with this bank.                 And I got to get
     8                   on there, it's an emergency, or I can't
     9                   -- or I borrowed money and if this
    10                   stops it, I'm in a lot of trouble.
    11                   Won't make payroll.
    12                                   MR. CAIN:            So here's what
    13                   I'm going to do.            I'm gonna suspend
    14                   this deposition.
    15                                   The last thing you did just
    16                   before we broke is call me a jerk.                    And
    17                   I'm going to suspend it for the purpose
    18                   of filing a motion under Rule 30, and
    19                   any other pertinent rules.
    20                                   Because -- and the record
    21                   will reflect what it is.                 And I'm not
    22                   gonna make my arguments on the record.
    23                   I'll make them in a file with the
    24                   court.     So we're done here today.
    25                                   THE WITNESS:            Oh, good.

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     1                   Thank you.
     2                                   MR. CAIN:            All right.
     3                                   MR. MALONE:            Mike, before --
     4                   before you go.           We are going to reserve
     5                   all rights to oppose the motion.                   We'll
     6                   read and sign.           And Mike I did have one
     7                   question for you --
     8                                   THE WITNESS:            (Indicating).
     9                                   MR. MALONE:            -- before you
    10                   go.     Okay.
    11
    12                   By Mr. Malone:
    13           Q       To the extent that it was not made
    14                   clear earlier, today you testified
    15                   about a number of conversations that
    16                   you had with Christopher Ruddy; do you
    17                   remember those?
    18           A       (Indicating).
    19           Q       Mike, yes or no?
    20           A       Yes.
    21           Q       And Mr. Ruddy's the CEO of Newsmax;
    22                   correct?
    23           A       Yes.
    24           Q       Okay.
    25           A       He's the owner.

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     1           Q       And you described a number of telephone
     2                   conversations that you had with Mr.
     3                   Ruddy in early February of 2021; is
     4                   that correct?
     5           A       Yes.
     6           Q       And at any point, did Mr. Ruddy say to
     7                   you that your beliefs about the 2020
     8                   election, I believe the words were, did
     9                   not hold water?
    10           A       No, I did not say that.
    11           Q       All right.        Earlier against that, you
    12                   testified about some conversations you
    13                   had with Mr. Ruddy in May of 2021; do
    14                   you remember that?
    15           A       Correct.
    16           Q       Okay.    At any point during those
    17                   conversations, did Mr. Ruddy indicate
    18                   to you that Newsmax had found your
    19                   beliefs about the 2020 election didn't
    20                   hold water?
    21           A       No.
    22           Q       So as far as you know, as you sit here
    23                   today, Mr. Lindell, Newsmax has not
    24                   done an independent investigation about
    25                   the claims of fraud in the 2020

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     1                   election?
     2           A       That's correct.
     3           Q       Okay.     I think we clarified that.
     4                                   MR. MALONE:            And I have no
     5                   further questions for you.
     6                                   MR. CAIN:            All right.     I do
     7                   have one other thing.                 I apologize
     8                   Counsel, that I'd like to put on the
     9                   record.
    10                                   Because of Mr. Lindell's
    11                   conduct today...
    12                                   THE REPORTER:            Speak up for
    13                   me, Charlie.
    14                                   MR. CAIN:            Because of Mr.
    15                   Lindell's conduct today, there were a
    16                   number of areas of inquiry and exhibits
    17                   that I have in my folder that we
    18                   weren't able to cover.
    19                                   And would not be able to
    20                   cover especially with the additional
    21                   break for some business-related purpose
    22                   that Mr. Lindell has.
    23                                   Among other things, I
    24                   intended to go over Dennis Montgomery's
    25                   deposition testimony, which occurred

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     1                   over the last few days to discuss some
     2                   of his testimony.             And get Mr.
     3                   Lindell's response.
     4                                   I intended to show Mr.
     5                   Lindell the court order that was issued
     6                   that would allow, and did allowed, Mr.
     7                   Montgomery to give testimony and
     8                   address the so-called gag order that
     9                   allegedly has been preventing
    10                   disclosure from you, Mr. Lindell, among
    11                   others.
    12                                   I intended to go through
    13                   more questions regarding the Cyber
    14                   Symposium and the onstage
    15                   presentations, including those by Mr.
    16                   Oltmann.
    17                                   As well as discussion about
    18                   the use of My Pillow employees to
    19                   assist with the Cyber Symposium
    20                   directly, both through financial
    21                   transactions and through assistance
    22                   with attendee there.
    23                                   Further topics such as the
    24                   fact that there are no experts who
    25                   have, who are qualified, who have been

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     1                   identified by Mr. Lindell to support
     2                   his claim that the 2020 election was
     3                   compromised by Dominion or anyone else
     4                   for that matter have been provided in
     5                   this case.
     6                                   And, in fact, questions
     7                   about the technical possibility of Mr.
     8                   Lindell's theories.              I intended to
     9                   cover with him specifically since he
    10                   doesn't have an expert, to my
    11                   knowledge, that's going to validate
    12                   some of what he's talking about.
    13                                   Further, there are a number
    14                   of statements about Dr. Coomer that Mr.
    15                   Lindell made that we have not covered
    16                   at this point in time where Mr. Lindell
    17                   appeared in numerus areas and called --
    18                   or numerous venues and called Mr.
    19                   Coomer a criminal, accused him of
    20                   committing crimes against the United
    21                   States, both on and Steve Bannon's
    22                   podcast, on your capital tirade, and in
    23                   other venues including on Conservative
    24                   Daily.
    25                                   With respect to Conservative

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     1                   Daily, my intent was to go through a
     2                   discussion about Mr. Lindell's
     3                   relationship with Joe Oltmann as it
     4                   stands today -- today of personal to
     5                   the extent that there is one, and
     6                   financial through Pidoxa and
     7                   Frankspeech 2.0.
     8                                   I intended to discuss issues
     9                   regarding the various audits and
    10                   recounts that occurred that would
    11                   directly contradict Mr. Lindell's
    12                   claims of election interference.
    13                                   Further, discussion about
    14                   President Trump and the motivations
    15                   that Mr. Lindell has for bringing these
    16                   false allegations, election
    17                   interference, filing without
    18                   limitation.
    19                                   We were gonna talk about
    20                   your individual net wealth and the
    21                   value of My Pillow for purposes of
    22                   exemplary and punitive damages in this
    23                   case.    Obviously we're not gonna get to
    24                   that today.
    25                                   But I want to cover just a

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     1                   general outline to explain to Judge
     2                   Wang why we're suspending the
     3                   deposition, and what I am not gonna be
     4                   able to go into today at 3:47 p.m.
     5                   central time on this day, August 23.
     6                   And that's all I have for you, sir,
     7                   today.     Off the record.
     8                                   THE VIDEOGRAPHER:             This
     9                   concludes today's deposition.                     The time
    10                   now is 3:47 p.m.
    11                                   THE REPORTER:            What do you
    12                   like for a copy before we get carried
    13                   away, Ryan?
    14                                   MR. MALONE:            What's that?
    15                                   THE REPORTER:            What do you
    16                   like for a copy?
    17                                   MR. MALONE:            I would like
    18                   electronic, condensed copy.                 We will
    19                   take that rushed.
    20                                   THE REPORTER:            You do want
    21                   it rush?
    22                                   MR. MALONE:            I believe I do.
    23                                   THE REPORTER:            Okay.
    24                   Charlie?
    25                                   MR. CAIN:            I thought we

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     1                   agreed three days.
     2                                   MR. MALONE:            (Laughing).     Is
     3                   that rushed, or...
     4                                   THE REPORTER:            That's
     5                   rushed, take my word for it.
     6                                   MR. MALONE:            I mean, it's
     7                   your -- it's your -- it's your first
     8                   deposition.
     9                                   MR. CAIN:            Give me your --
    10                   give me your card.             Do you have a card?
    11                                   THE REPORTER:            I do.    Do you
    12                   want it rush?          I mean, I'm gonna do it
    13                   for him any ways.
    14                                   MR. CAIN:            Yeah, I guess so.
    15                                   THE REPORTER:            Okay.
    16                                   MR. CAIN:            I mean given the
    17                   time, we need it.
    18                                   (Whereupon, the deposition
                         terminated at 3:47 p.m.)
    19
    20
    21
    22
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    24
    25

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     1                                  ERRATA SHEET
     2
     3                  Page/Ln              Correction                    Reason
     4                  ----------------------------------------
     5                  ----------------------------------------
     6                  ----------------------------------------
     7                  ----------------------------------------
     8                  ----------------------------------------
     9                  ----------------------------------------
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     1                         I, Michael Lindell, have read this
     2                   deposition transcript and acknowledge
     3                   herein its accuracy except as noted on
     4                   the errata sheet.
     5
     6
     7
     8                                                    Signature
     9
    10
    11                                                 Notary Public
    12
    13
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     1    malone@parkerdk.com
     2                                  August 28, 2023
     3    RE: Coomer, Eric, Ph.D. v. Lindell, Michael J., Et Al
     4    DEPOSITION OF: Michael J. Lindell (# 6025415)
     5          The above-referenced witness transcript is
     6    available for read and sign.
     7          Within the applicable timeframe, the witness
     8    should read the testimony to verify its accuracy. If
     9    there are any changes, the witness should note those
    10    on the attached Errata Sheet.
    11          The witness should sign and notarize the
    12    attached Errata pages and return to Veritext at
    13    errata-tx@veritext.com.
    14          According to applicable rules or agreements, if
    15    the witness fails to do so within the time allotted,
    16    a certified copy of the transcript may be used as if
    17    signed.
    18                                     Yours,
    19                                     Veritext Legal Solutions
    20
    21
    22
    23
    24
    25

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                          Federal Rules of Civil Procedure

                                         Rule 30



             (e) Review By the Witness; Changes.

             (1) Review; Statement of Changes. On request by the

             deponent or a party before the deposition is

             completed, the deponent must be allowed 30 days

             after being notified by the officer that the

             transcript or recording is available in which:

             (A) to review the transcript or recording; and

             (B) if there are changes in form or substance, to

             sign a statement listing the changes and the

             reasons for making them.

             (2) Changes Indicated in the Officer's Certificate.

             The officer must note in the certificate prescribed

             by Rule 30(f)(1) whether a review was requested

             and, if so, must attach any changes the deponent

             makes during the 30-day period.




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             2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

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         transcript of the colloquies, questions and answers

         as submitted by the court reporter. Veritext Legal

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         exhibits, if any, are true, correct and complete

         documents as submitted by the court reporter and/or

         attorneys in relation to this deposition and that

         the documents were processed in accordance with

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         amended, with respect to Personally Identifiable

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